Case
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14         PageID.1619     Page 1 of 262



                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION



  In Re: AUTOMOTIVE PARTS ANTITRUST              12-md-02311
  LITIGATION                                     Honorable Marianne O. Battani


  In Re: OCCUPANT SAFETY SYSTEMS CASES

  THIS RELATES TO:
  ALL DEALERSHIP ACTIONS                         2:12-cv-00602




          ANSWER AND AFFIRMATIVE DEFENSES OF TAKATA
        CORPORATION AND TK HOLDINGS INC. TO DEALERSHIP
            SECOND CONSOLIDATED CLASS COMPLAINT


        Defendants Takata Corporation and TK Holdings Inc. (“Takata”), through

  undersigned counsel, hereby submit their Answer to the claims asserted against

  Takata in Plaintiffs Martens Cars of Washington, Inc. (“Plaintiff Martens”),

  Landers Auto Group No. 1, Inc., d/b/a Landers Toyota (“Plaintiff Landers”),

  Hammett Motor Company, Inc. (“Plaintiff Hammett”), Superstore Automotive,

  Inc. (“Plaintiff Superstore”), Lee Pontiac-Oldsmobile-GMC Truck, Inc. (“Plaintiff

  Lee”), Westfield Dodge City, Inc. (“Plaintiff Westfield”), V.I.P. Motor Cars Ltd.

  (“Plaintiff V.I.P.”), Desert European Motorcars, Ltd. (“Plaintiff Desert”), Landers

  McLarty Fayetteville TN, LLC (“Plaintiff Fayetteville”), Dale Martens Nissan

  Subaru, Inc. (“Plaintiff Dale Martens”), Green Team of Clay Center Inc. (“Plaintiff
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                      PageID.1620      Page 2 of 262



  Green Team”), McGrath Automotive Group, Inc. (“Plaintiff McGrath”), Table

  Rock Automotive, Inc., d/b/a Todd Archer Hyundai (“Plaintiff Table Rock”),

  Archer-Perdue, Inc., d/b/a/ Archer-Perdue Suzuki (“Plaintiff Archer-Perdue”),

  Landers McLarty Lee’s Summit Mo, LLC d/b/a Lee’s Summit Chrysler Dodge

  Jeep Ram and d/b/a Lee’s Summit Nissan (“Plaintiff Lee’s Summit”), Bonneville

  and Son, Inc. (“Plaintiff Bonneville”), Holzhauer Auto and Truck Sales, Inc.

  (“Plaintiff Holzhauer”), Pitre, Inc., d/b/a/ Pitre Buick GMC (“Plaintiff Pitre”),

  Patsy Lou Chevrolet, Inc. (“Plaintiff Patsy Lou”), John Greene Chrysler Dodge

  Jeep, LLC (“Plaintiff John Greene”), SLT Group II, Inc., d/b/a Planet Nissan

  Subaru of Flagstaff (“Plaintiff Planet Nissan”), Herb Hallman Chevrolet, Inc.,

  d/b/a/   Champion    Chevrolet    (“Plaintiff   Champion”),    Charles     Daher’s

  Commonwealth Motors, Inc., d/b/a Commonwealth Chevrolet, Commonwealth

  Kia, Commonwealth Honda (“Plaintiff Commonwealth Motors”), Commonwealth

  Volkswagen, Inc., d/b/a Commonwealth Volkswagen (“Plaintiff Commonwealth

  Volkswagen”), Commonwealth Nissan, Inc., d/b/a Commonwealth Nissan

  (“Plaintiff Commonwealth Nissan”), Ramey Motors, Inc. (“Plaintiff Ramey”),

  Thornhill Superstore, Inc., d/b/a Thornhill GM Superstore (“Plaintiff Thornhill”),

  Dave Heather Corporation, d/b/a Lakeland Toyota Honda Mazda Subaru

  (“Plaintiff Lakeland”), Central Salt Lake Valley GMC Enterprises, LLC, d/b/a Salt

  Lake Valley Buick GMC (“Plaintiff Salt Lake Valley”), Capitol Chevrolet
                                          2
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                      PageID.1621    Page 3 of 262



  Cadillac, Inc. (“Plaintiff Capitol Chevrolet”), Capitol Dealerships, Inc., d/b/a

  Capitol Toyota (“Plaintiff Capitol Toyota”), Beck Motors, Inc. (“Plaintiff Beck”),

  Stranger Investments d/b/a Stephen Wade Toyota (“Plaintiff Wade”), John O’Neil

  Johnson Toyota, LLC (“Plaintiff Johnson”), Hartley Buick GMC Truck, Inc.

  (“Plaintiff Hartley”), Lee Oldsmobile-Cadillac, Inc. d/b/a Lee Honda (“Plaintiff

  Lee Honda”), Lee Auto Malls-Topsham, Inc. d/b/a Lee Toyota of Topsham

  (“Plaintiff Topsham”), Landers of Hazelwood, LLC d/b/a Landers Toyota of

  Hazelwood (“Plaintiff Hazelwood”), Cannon Nissan of Jackson, LLC (“Plaintiff

  Cannon Nissan”), Hudson Charleston Acquisition, LLC d/b/a Hudson Nissan

  (“Plaintiff Hudson Nissan”), Shearer Automotive Enterprises III, Inc. (“Plaintiff

  Shearer”), Apex Motor Corporation (“Plaintiff Apex”), Rainbow Chevrolet, Inc.,

  d/b/a Cutter Chevrolet (“Plaintiff Rainbow”), Stoebner Holdings, Inc. d/b/a Honda

  Windward (“Plaintiff Windward”), Hudson Gastonia Acquisition, LLC d/b/a

  Gastonia Nissan (“Plaintiff Gastonia”), Hodges Imported Cars, Inc. d/b/a Hodges

  Subaru (“Plaintiff Hodges”), Reno Dodge Sales, Inc. d/b/a Don Weir’s Reno

  Dodge (“Plaintiff Don Weir”), Panama City Automotive Group, Inc. d/b/a John

  Lee Nissan (“Plaintiff John Lee”), Empire Nissan of Santa Rosa, LLC (“Plaintiff

  Empire Nissan”) (collectively “Plaintiffs”) Second Consolidated Class Complaint

  dated November 22, 2014 (“complaint”), and assert Affirmative and Other

  Defenses. By using the collective term “Takata,” the two above-named defendants
                                          3
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1622    Page 4 of 262



  do not admit that they constitute a single entity for purposes of the allegations in

  the complaint. Takata uses the term “Occupant Safety Restraint Systems” as

  defined in Paragraph 2 of the complaint solely for ease of reference; no agreement

  or waiver by such use is intended. By using the term “Occupant Safety Systems,”

  Takata does not admit that the diverse and distinct types of products that Plaintiffs

  refer to in their complaint may accurately be grouped together under the term

  “Occupant Safety Restraint Systems,” and expressly denies the same. Takata

  expressly denies that it engaged in the conspiracy or other wrongdoing pled in any

  of the averments contained in the complaint. Takata expressly denies that this

  action is appropriate for class certification. Takata denies all allegations contained

  in the complaint (including headings and the “Prayer for Relief”) not specifically

  admitted below and denies that Plaintiffs are entitled to any relief in this action.

  Takata answers the complaint as follows:


                      ANSWER TO DEALERSHIP SECOND
                     CONSOLIDATED CLASS COMPLAINT

        1.     Plaintiffs bring this lawsuit as a proposed class action against the

  Defendants (defined below), manufacturers, and suppliers of Occupant Safety

  Restraint Systems (defined below) globally and in the United States for engaging

  in a lengthy conspiracy to suppress and eliminate competition in the automotive

  parts industry by agreeing to rig bids for, and to fix, stabilize, and maintain the
                                            4
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                             PageID.1623   Page 5 of 262



  prices of these products, which were sold to automobile manufacturers in the

  United States and elsewhere. The Defendants’ conspiracy successfully targeted the

  United States automotive industry, raising prices for car manufacturers, car and

  truck dealers, and consumers.

         ANSWER: Paragraph 1 consists of Plaintiffs’ characterization of their

  purported claims to which no response is required. To the extent any response is

  required, Takata admits that it manufacturers various types of seat belts, airbags,

  steering wheels, and other products that may be encompassed in Plaintiffs’ term

  “Occupant Safety Restraint Systems,” and denies the allegations in the first

  sentence of Paragraph 1 to the extent directed at Takata in all other respects.

  Takata denies that it was involved in the conspiracy as alleged in Plaintiffs’

  complaint and denies the allegations in Paragraph 1 to the extent they are directed

  at Takata or intended to reference actions taken by or on behalf of Takata. Takata

  denies the allegations in Paragraph 1 for lack of knowledge or information

  sufficient to form a belief as to their truth in all other respects.



         2.     “Occupant Safety Restraint Systems” are generally comprised of the

  parts in an automotive vehicle that protect drivers and passengers from bodily

  harm. Types of different Occupant Safety Restraint Systems include seat belts,

  airbags, steering wheels, and steering systems.
                                               5
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                            PageID.1624     Page 6 of 262



        ANSWER:         Takata admits that Plaintiffs purport to define the term

  “Occupant Safety Restraint Systems” as stated in Paragraph 2 and denies the

  allegations in Paragraph 2 in all other respects. Solely for ease of reference, in this

  Answer Takata will use the term “Occupant Safety Restraint Systems” as defined

  in the complaint; no agreement or waiver by such use is intended.



        3.     The “Class Period” refers to January 2003 to the present.

        ANSWER: Takata admits that Plaintiffs purport to define the term “Class

  Period” as stated in Paragraph 3 and denies the allegations in Paragraph 3 in all

  other respects.



        4.     The Defendants manufacture, market, and sell Occupant Safety

  Restraint Systems throughout the United States and in other countries.

        ANSWER: Takata admits that it manufactures, markets, and sells seat

  belts, airbags, steering wheels, and other products that may be encompassed in

  Plaintiffs’ term “Occupant Safety Restraint Systems,” in the United States and

  other countries. Takata denies the allegations in Paragraph 4 for lack of knowledge

  or information sufficient to form a belief as to their truth in all other respects.



        5.     Vehicles containing Occupant Safety Restraint Systems, as well as
                                              6
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                            PageID.1625     Page 7 of 262



  Occupant Safety Restraint Systems themselves, made by Defendants, are sold in

  every state of the United States and the District of Columbia.

        ANSWER:         Takata denies the allegations in Paragraph 5 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        6.     The Defendants and other co-conspirators (as yet unknown) agreed,

  combined, and conspired to rig bids for, and to fix, stabilize, and maintain the

  prices of Occupant Safety Restraint Systems. They carried out their conspiracy by

  agreeing, during meetings and conversations, to allocate the supply of Occupant

  Safety Restraint Systems on a model-by-model basis. Defendants then sold

  Occupant Safety Restraint Systems at noncompetitive prices to automobile

  manufacturers in the United States and elsewhere, for sale in United States.

        ANSWER: Takata denies that it was involved in the conspiracy as alleged

  in Plaintiffs’ complaint and denies the allegations in Paragraph 6 to the extent they

  are directed at Takata or intended to reference actions taken by or on behalf of

  Takata. Takata denies the allegations in Paragraph 6 for lack of knowledge or

  information sufficient to form a belief as to their truth in all other respects.



        7.     Competition authorities in the United States and the European Union

  have been investigating a conspiracy in the market for Occupant Safety Restraint
                                              7
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                          PageID.1626      Page 8 of 262



  Systems. As part of its criminal investigation, the United States Department of

  Justice (“DOJ”) is seeking information about anticompetitive conduct in the

  market for Occupant Safety Restraint Systems, and the Federal Bureau of

  Investigation (“FBI”) has participated in raids, pursuant to search warrants, carried

  out in at least some of the Defendants’ offices. The European Commission

  Competition Authority (“EC”) has also conducted investigations at the European

  offices of several of the Defendants.

        ANSWER: Takata denies that there is a legally meaningful or cognizable

  “market for Occupant Safety Restraint Systems.” Takata admits that on February

  8, 2011, the FBI raided the Auburn Hills, Michigan offices of TK Holdings Inc.

  Takata denies the allegations of Paragraph 7 directed at other Defendants for lack

  of knowledge or information sufficient to form a belief as to their truth.



        8.     Defendant Autoliv, Inc. has agreed to plead guilty and pay a $14.5

  million fine for its unlawful conduct in conspiring with others to suppress and

  eliminate competition in the automotive parts industry by agreeing to rig bids for,

  and to fix, stabilize, and maintain the prices of, Occupant Safety Restraint Systems

  sold to certain automobile manufacturers in the United States and elsewhere at

  various times from at least as early as March 2006 and continuing until at least

  February 2011. The combination and conspiracy engaged in by Defendant Autoliv,
                                            8
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1627    Page 9 of 262



  Inc. and its co-conspirators was in unreasonable restraint of interstate and foreign

  trade and commerce in violation of the Sherman Antitrust Act, 15 U.S.C. § 1.

         ANSWER: Takata refers to the referenced document for its content and

  denies any characterization of it.     Takata denies that it was involved in the

  conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

  Paragraph 8 to the extent they are directed at Takata or intended to reference

  actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

  8 for lack of knowledge or information sufficient to form a belief as to their truth

  in all other respects.



         9.     Defendant TRW Deutschland Holding Gmbh has agreed to plead

  guilty and to pay a total of $5.1 million in criminal fines concerning a two-count

  criminal investigation for fixing the prices of seatbelts, steering wheels and

  airbags.

         ANSWER: Takata refers to the referenced document for its content and

  denies any characterization of it, and denies the allegations in Paragraph 9 for lack

  of knowledge or information sufficient to form a belief as to their truth in all other

  respects.



         10.    Defendant Toyoda Gosei Co. Ltd. has agreed to plead guilty and pay a
                                            9
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1628    Page 10 of 262



  $26 million fine for its unlawful conduct in conspiring with others to suppress and

  eliminate competition in the automotive parts industry by agreeing to allocate sales

  of, rig bids for, and to fix, stabilize and maintain the prices of, among other

  products, Occupant Safety Restraint Systems sold to certain automobile

  manufacturers in the United States and elsewhere at various times from at least as

  early as September 2003 and continuing until at least September 2010.             The

  combination and conspiracy engaged in by Defendant Toyoda Gosei Co. Ltd. and

  its coconspirators was in unreasonable restraint of interstate and foreign trade and

  commerce in violation of the Sherman Antitrust Act, 15 U.S.C. § 1.

         ANSWER: Takata refers to the referenced document for its content and

  denies any characterization of it.     Takata denies that it was involved in the

  conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

  Paragraph 10 to the extent they are directed at Takata or intended to reference

  actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

  10 for lack of knowledge or information sufficient to form a belief as to their truth

  in all other respects.



         11.    As a direct result of the anti-competitive and unlawful conduct alleged

  herein, Plaintiffs and the Class paid artificially inflated prices for Occupant Safety

  Restraint Systems or for vehicles containing Occupant Safety Restraint Systems.
                                           10
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                           PageID.1629     Page 11 of 262



  Plaintiffs and the members of the Classes have thereby suffered antitrust injury to

  their business or property.

        ANSWER: Takata denies the allegations in Paragraph 11 to the extent they

  are directed at Takata or intended to reference actions taken by or on behalf of

  Takata. Takata denies that this action is appropriate for class certification, and

  Takata therefore denies all allegations in Paragraph 11 regarding purported class

  members. Takata denies the allegations in Paragraph 11 for lack of knowledge or

  information sufficient to form a belief as to their truth in all other respects.



        12.    Plaintiffs bring this action under Section 16 of the Clayton Act (15

  U.S.C. § 26) to secure equitable and injunctive relief against Defendants for

  violating Section 1 of the Sherman Act (15 U.S.C. § 1). Plaintiffs also assert claims

  for actual and exemplary damages pursuant to state antitrust, unfair competition,

  and consumer protection laws, and seek to obtain restitution, recover damages, and

  secure other relief against Defendants for violation of those state laws. Plaintiffs

  and the Classes also seek attorneys’ fees, costs, and other expenses under federal

  and state law.

        ANSWER: Paragraph 12 consists of Plaintiffs’ characterizations of their

  purported claims, to which no response is required, and on that basis Takata denies

  these allegations.
                                             11
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1630    Page 12 of 262




         13.    This Court has jurisdiction over the subject matter of this action

  pursuant to Section 16 of the Clayton Act (15 U.S.C. § 26), Section 1 of the

  Sherman Act (15 U.S.C. § 1), and Title 28, United States Code, Sections 1331 and

  1337. This Court has subject matter jurisdiction over the state law claims in this

  action, pursuant to 28 U.S.C. §§ 1332(d) and 1367, because this is a class action in

  which the matter or controversy exceeds the sum of $5,000,000, exclusive of

  interests and costs, and in which some members of the proposed Classes are

  citizens of different states than some Defendants.

         ANSWER: The allegations in Paragraph 13 call for a legal conclusion to

  which no response is required, and on that basis Takata denies these allegations.



         14.    Venue is proper in this district pursuant to Section 12 of the Clayton

  Act (15 U.S.C. § 22), and 28 U.S.C. §§ 1391 (b), (c), and (d), because a substantial

  part of the events giving rise to Plaintiffs’ claims occurred in this district, a

  substantial portion of the affected interstate trade and commerce discussed below

  has been carried out in this district, and one or more of the Defendants reside, are

  licensed to do business in, are doing business in, had agents in, or are found or

  transact business in this district.

         ANSWER: The allegations in Paragraph 14 call for a legal conclusion to
                                           12
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                           PageID.1631        Page 13 of 262



  which no response is required, and on that basis Takata denies these allegations.



         15.     This Court has in personam jurisdiction over each of the Defendants

  because each Defendant, either directly or through the ownership and/or control of

  its United States subsidiaries, inter alia:

      (a) transacted business in the United States, including in this district;

      (b) directly or indirectly sold or marketed substantial quantities of Occupant

  Safety Restraint Systems throughout the United States that were specifically

  designed for vehicles that were intended to be sold in the United States, including

  in this district;

      (c) had substantial aggregate contacts with the United States as a whole,

  including in this district;

      (d) was through its own actions and through the actions of its co-conspirators,

  engaged in an illegal price-fixing conspiracy that was directed at, and had a direct,

  substantial, reasonably foreseeable and intended effect of causing injury to, the

  business or property of persons and entities residing in, located in, or doing

  business throughout the United States;

      (e) targeted customers in the United States, including this district, and/or

      (f) engaged in actions in furtherance of an illegal conspiracy in this district

  either itself or through its co-conspirators. Defendants also conduct business
                                                13
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1632   Page 14 of 262



  throughout the United States, including in this district, and they have purposefully

  availed themselves of the laws of the United States and this district.

         ANSWER: The allegations in Paragraph 15 call for a legal conclusion to

  which no response is required, and on that basis Takata denies these allegations.

  To the extent any response is required, Takata denies that it was involved in the

  conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

  Paragraph 15 to the extent they are directed at Takata or intended to reference

  actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

  15 for lack of knowledge or information sufficient to form a belief as to their truth

  in all other respects.



         16.    Defendants engaged in conduct both inside and outside of the United

  States that caused direct, substantial, reasonably foreseeable, and intended anti-

  competitive effects upon interstate commerce within the United States and upon

  import trade and commerce into the United States.

         ANSWER: The allegations in Paragraph 16 call for a legal conclusion to

  which no response is required, and on that basis Takata denies these allegations.

  To the extent any response is required, Takata denies that it was involved in the

  conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

  Paragraph 16 to the extent they are directed at Takata or intended to reference
                                            14
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1633    Page 15 of 262



  actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

  16 for lack of knowledge or information sufficient to form a belief as to their truth

  in all other respects.



         17.    The activities of Defendants and their co-conspirators were within the

  flow of, were intended to have, and did have, a substantial effect on interstate

  commerce of the United States. Defendants’ products are sold in the flow of

  interstate commerce.

         ANSWER: The allegations in Paragraph 17 call for a legal conclusion to

  which no response is required, and on that basis Takata denies these allegations.

  To the extent any response is required, Takata denies that it was involved in the

  conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

  Paragraph 17 to the extent they are directed at Takata or intended to reference

  actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

  17 for lack of knowledge or information sufficient to form a belief as to their truth

  in all other respects.



         18.    Occupant Safety Restraint Systems manufactured abroad by

  Defendants and sold for use in automobiles either manufactured in the United

  States or manufactured abroad and sold in the United States are goods brought into
                                           15
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                          PageID.1634     Page 16 of 262



  the United States for sale and, therefore, constitute import commerce. To the extent

  any Occupant Safety Restraint Systems are purchased in the United States, and

  such Occupant Safety Restraint Systems do not constitute import commerce,

  Defendants’ unlawful activities with respect thereto, as more fully alleged herein

  during the Class Period, had, and continue to have, a direct, substantial, and

  reasonably foreseeable effect on United States commerce. The anticompetitive

  conduct, and its effect on United States commerce described herein, proximately

  caused antitrust injury to Plaintiffs and members of the Classes in the United

  States.

         ANSWER: The allegations in Paragraph 18 call for a legal conclusion to

  which no response is required, and on that basis Takata denies these allegations.

  To the extent any response is required, Takata denies the allegations in Paragraph

  18 to the extent they are directed at Takata. Takata denies the allegations in

  Paragraph 18 for lack of knowledge or information sufficient to form a belief as to

  their truth in all other respects.



         19.    By reason of the unlawful activities hereinafter alleged, Defendants

  substantially affected commerce throughout the United States, causing injury to

  Plaintiffs and members of the Classes. Defendants, directly and through their

  agents, engaged in activities affecting all states, to fix or inflate prices of Occupant
                                            16
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1635    Page 17 of 262



  Safety Restraint Systems, and that conspiracy unreasonably restrained trade and

  adversely affected the market for Occupant Safety Restraint Systems.

         ANSWER: The allegations in Paragraph 19 call for a legal conclusion to

  which no response is required, and on that basis Takata denies these allegations.

  To the extent any response is required, Takata denies that there is a legally

  meaningful or cognizable “market for Occupant Safety Restraint Systems,” denies

  that it was involved in the conspiracy as alleged in Plaintiffs’ complaint and denies

  the allegations in Paragraph 19 to the extent they are directed at Takata or intended

  to reference actions taken by or on behalf of Takata. Takata denies the allegations

  in Paragraph 19 for lack of knowledge or information sufficient to form a belief as

  to their truth in all other respects.



         20.    Defendants’ conspiracy and wrongdoing described herein adversely

  affected persons in the United States who purchased Occupant Safety Restraint

  Systems, including Plaintiffs and the Classes.

         ANSWER: The allegations in Paragraph 20 call for a legal conclusion to

  which no response is required, and on that basis Takata denies these allegations.

  To the extent any response is required, Takata denies that it was involved in the

  conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

  Paragraph 20 to the extent they are directed at Takata or intended to reference
                                           17
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1636    Page 18 of 262



  actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

  20 for lack of knowledge or information sufficient to form a belief as to their truth

  in all other respects.



         21.    Plaintiff Hammett is a Mississippi corporation with its principal place

  of business in Durant, Mississippi. Plaintiff Hammett is an authorized Ford dealer

  who bought Ford-brand vehicles containing Occupant Safety Restraint Systems

  manufactured by one or more of the Defendants or their co-conspirators, as well as

  Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators, during the Class Period.

         ANSWER:           Takata denies the allegations in Paragraph 21 for lack of

  knowledge or information sufficient to form a belief as to their truth.



         22.    During the Class Period Plaintiff Hammett purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by Defendants or

  their co-conspirators. Plaintiff Hammett also purchased Occupant Safety Restraint

  Systems, manufactured by Defendants or their co-conspirators, for its repair and

  service business, during the Class Period.       Plaintiff Hammett purchased and

  received both the afore-mentioned vehicles and Occupant Safety Restraint Systems

  in Mississippi. Plaintiff Hammett has also displayed, sold, serviced, and advertised
                                             18
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1637    Page 19 of 262



  its vehicles in Mississippi during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 22 for lack of

  knowledge or information sufficient to form a belief as to their truth.



       23.     Plaintiff Landers is an Arkansas corporation with its principal place of

  business in Little Rock, Arkansas. Plaintiff Landers is an authorized Toyota dealer

  who bought Toyota-brand vehicles containing Occupant Safety Restraint Systems

  manufactured by one or more of the Defendants or their co-conspirators, as well as

  Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators, during the Class Period.

        ANSWER: Takata denies the allegations in Paragraph 23 for lack of

  knowledge or information sufficient to form a belief as to their truth.



       24.     During the Class Period Plaintiff Landers purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more

  Defendants or their co-conspirators. Plaintiff Landers also purchased Occupant

  Safety Restraint Systems, manufactured by one or more Defendants or their co-

  conspirators, for its repair and service business, during the Class Period. Plaintiff

  Landers purchased and received both the afore-mentioned vehicles and Occupant

  Safety Restraint Systems in Arkansas. Plaintiff Landers has also displayed, sold,
                                            19
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1638    Page 20 of 262



  serviced, and advertised its vehicles in Arkansas during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 24 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        25.    Plaintiff Superstore is a Minnesota company, with its principal place

  of business in White Bear Lake, Minnesota. Plaintiff Superstore is an authorized

  Buick/GMC dealer, doing business under the name White Bear Lake Superstore.

  Plaintiff Superstore bought Buick-and GMC-brand vehicles containing Occupant

  Safety Restraint Systems manufactured by one or more of the Defendants or their

  co-conspirators, as well as Occupant Safety Restraint Systems manufactured by

  one or more of the Defendants or their co-conspirators during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 25 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        26.    During the Class Period Plaintiff Superstore purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more

  Defendants or their coconspirators. Plaintiff Superstore also purchased Occupant

  Safety Restraint Systems, manufactured by one or more Defendants or their co-

  conspirators, for its repair and service business, during the Class Period. Plaintiff

  Superstore purchased and received both the aforementioned vehicles and Occupant
                                            20
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1639    Page 21 of 262



  Safety Restraint Systems in Minnesota. Plaintiff Superstore has also displayed,

  sold, serviced, and advertised its vehicles in Minnesota during the Class Period.

        ANSWER:          Takata denies the allegations in Paragraph 26 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        27.       Plaintiff Lee is a Florida corporation, with its principal place of

  business in Fort Walton Beach, Florida. Plaintiff Lee is presently an authorized

  GMC dealer. During the Class Period, Plaintiff Lee was also an authorized Pontiac,

  Oldsmobile and Jeep dealer. Plaintiff Lee buys GMC-brand vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators, as well as Occupant Safety Restraint Systems

  manufactured by one or more of the Defendants or their co-conspirators. During

  the Class Period, Plaintiff bought GMC- Pontiac-, Oldsmobile-, and Jeep-brand

  vehicles containing Occupant Safety Restraint Systems manufactured by one or

  more of the Defendants or their coconspirators, as well as Occupant Safety

  Restraint Systems manufactured by one or more of the Defendants or their co-

  conspirators.

        ANSWER: Takata denies the allegations in Paragraph 27 for lack of

  knowledge or information sufficient to form a belief as to their truth.



                                            21
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1640    Page 22 of 262



        28.    During the Class Period Plaintiff Lee purchased vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more Defendants or

  their co-conspirators.   Plaintiff Lee also purchased Occupant Safety Restraint

  Systems, manufactured by one or more Defendants or their co-conspirators, for its

  repair and service business, during the Class Period. Plaintiff Lee purchased and

  received both the afore-mentioned vehicles and Occupant Safety Restraint Systems

  in Florida. Plaintiff Lee has also displayed, sold, serviced, and advertised its

  vehicles in Florida during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 28 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        29.    Plaintiff Martens is a Maryland corporation that had its principal place

  of business in the District of Columbia during the Class Period. During the Class

  Period Plaintiff Martens was an authorized Volvo and Volkswagen dealer who sold

  Volvo- and Volkswagen-brand vehicles containing Occupant Safety Restraint

  Systems manufactured by one or more of the Defendants or their co-conspirators,

  as well as Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators.

        ANSWER:        Takata denies the allegations in Paragraph 29 for lack of

  knowledge or information sufficient to form a belief as to their truth.
                                            22
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1641    Page 23 of 262




        30.    During the Class Period Plaintiff Martens purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their coconspirators. Plaintiff Martens also purchased Occupant

  Safety Restraint Systems, manufactured by one or more of the Defendants or their

  co-conspirators, for its repair and service business, during the Class Period.

  Plaintiff Martens purchased and received both the afore-mentioned vehicles and

  Occupant Safety Restraint Systems in the District of Columbia. Plaintiff Martens

  has also displayed, sold, serviced, and advertised its vehicles in the District of

  Columbia during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 30 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        31.    Plaintiff Westfield is a New York company with its principal place of

  business in Westfield, New York. Plaintiff Westfield is an authorized Chrysler

  dealer, who bought Chrysler-, Dodge-, and Jeep-brand vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators, as well as Occupant Safety Restraint Systems

  manufactured by one or more of the Defendants or their coconspirators during the

  Class Period.
                                            23
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1642    Page 24 of 262



        ANSWER:        Takata denies the allegations in Paragraph 31 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        32.    During the Class Period Plaintiff Westfield purchased vehicles

  containing Occupant Safety Restraint Systems manufactured one or more

  Defendants or their coconspirators. Plaintiff Westfield also purchased Occupant

  Safety Restraint Systems, manufactured by one or more Defendants or their co-

  conspirators, for its repair and service business, during the Class Period. Plaintiff

  Westfield purchased and received both the aforementioned vehicles and Occupant

  Safety Restraint Systems in New York. Plaintiff Westfield has also displayed, sold,

  serviced, and advertised its vehicles in New York during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 32 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        33.    Plaintiff V.I.P. is a California company with its principal place of

  business in Palm Springs, California. Plaintiff VIP is an authorized Mercedes,

  BMW, Infiniti, and Hyundai dealer who bought Mercedes-, BMW-, Infiniti-, and

  Hyundai-brand     vehicles   containing    Occupant     Safety   Restraint   Systems

  manufactured by one or more of the Defendants or their coconspirators, as well as

  Occupant Safety Restraint Systems manufactured by one or more of the
                                            24
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1643    Page 25 of 262



  Defendants or their co-conspirators during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 33 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        34.    During the Class Period Plaintiff V.I.P. purchased vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more Defendants or

  their co-conspirators. Plaintiff V.I.P. also purchased Occupant Safety Restraint

  Systems, for its repair and service business, during the Class Period. Plaintiff

  V.I.P. purchased and received both the aforementioned vehicles and Occupant

  Safety Restraint Systems in California. Plaintiff V.I.P. has also displayed, sold,

  serviced, and advertised its vehicles in California during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 34 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        35.    Plaintiff Desert is a California company, with its principal place of

  business in Rancho Mirage, California. Plaintiff Desert is an authorized Rolls

  Royce, Bentley, Aston Martin, Maserati, Porsche, Jaguar, Land Rover, Audi,

  Lotus, and Spyker dealer who bought Rolls Royce-, Bentley-, Aston Martin-,

  Maserati-, Porsche-, Jaguar-, Land Rover-, Audi-, Lotus-, and Spyker-brand

  vehicles containing Occupant Safety Restraint Systems manufactured by one or
                                            25
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1644    Page 26 of 262



  more of the Defendants or their co-conspirators, as well as Occupant Safety

  Restraint Systems manufactured by one or more of the Defendants or their co-

  conspirators during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 35 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        36.    During the Class Period, Plaintiff Desert purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more

  Defendants or their co-conspirators. Plaintiff Desert also purchased Occupant

  Safety Restraint Systems, manufactured by one or more Defendants or their co-

  conspirators, for its repair and service business, during the Class Period. Plaintiff

  Desert purchased and received both the afore-mentioned vehicles and Occupant

  Safety Restraint Systems in California. Plaintiff Desert has also displayed, sold,

  serviced, and advertised its vehicles in California during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 36 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        37.    Plaintiff Fayetteville is an Arkansas corporation, with its principal

  place of business in Fayetteville, Tennessee. Plaintiff Fayetteville is an authorized

  Toyota dealer, who bought Toyota-brand cars containing Occupant Safety
                                            26
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1645     Page 27 of 262



  Restraint Systems manufactured by one or more of the Defendants or their co-

  conspirators, as well as Occupant Safety Restraint Systems manufactured by one or

  more of the Defendants or their co-conspirators during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 37 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        38.    During the Class Period Plaintiff Fayetteville purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more

  Defendants or their coconspirators. Plaintiff Fayetteville also purchased Occupant

  Safety Restraint Systems, manufactured by one or more Defendants or their co-

  conspirators, for its repair and service business, during the Class Period. Plaintiff

  Fayetteville purchased and received both the aforementioned vehicles and

  Occupant Safety Restraint Systems in Tennessee. Plaintiff Fayetteville has also

  displayed, sold, serviced, and advertised its vehicles in Tennessee during the Class

  Period.

        ANSWER:        Takata denies the allegations in Paragraph 38 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        39.    Plaintiff Dale Martens was a Kansas corporation, with its principal

  place of business in Lawrence, Kansas during the Class Period. Plaintiff Dale
                                            27
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1646    Page 28 of 262



  Martens was an authorized Nissan and Subaru dealer during the Class Period, who,

  during the Class Period, bought Nissan-and Subaru-brand vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators, as well as Occupant Safety Restraint Systems

  manufactured by one or more of the Defendants or their co-conspirators.

        ANSWER:        Takata denies the allegations in Paragraph 39 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        40.    During the Class Period Plaintiff Dale Martens purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more

  Defendants or their coconspirators.       Plaintiff Dale Martens also purchased

  Occupant Safety Restraint Systems, manufactured by one or more Defendants or

  their co-conspirators, for its repair and service business, during the Class Period.

  Plaintiff Dale Martens purchased and received both the aforementioned vehicles

  and Occupant Safety Restraint Systems in Kansas. Plaintiff Dale Martens has also

  displayed, sold, serviced, and advertised its vehicles in Kansas during the Class

  Period.

        ANSWER:        Takata denies the allegations in Paragraph 40 for lack of

  knowledge or information sufficient to form a belief as to their truth.



                                            28
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1647    Page 29 of 262



        41.    Plaintiff Green Team is a Kansas corporation, with its principal place

  of business in Clay Center, Kansas. Plaintiff Green Team is an authorized

  Chrysler, Jeep, Dodge, and Ram dealer, who bought Chrysler-, Jeep-, Dodge-, and

  Ram-brand vehicles containing Occupant Safety Restraint Systems manufactured

  by one or more of the Defendants or their coconspirators, as well as Occupant

  Safety Restraint Systems manufactured by one or more of the Defendants or their

  co-conspirators, during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 41 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        42.    During the Class Period Plaintiff Green Team purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more

  Defendants or their coconspirators. Plaintiff Green Team also purchased Occupant

  Safety Restraint Systems, manufactured by one or more Defendants or their co-

  conspirators, for its repair and service business, during the Class Period. Plaintiff

  Green Team purchased and received both the aforementioned vehicles and

  Occupant Safety Restraint Systems in Kansas. Plaintiff Green Team has also

  displayed, sold, serviced, and advertised its vehicles in Kansas during the Class

  Period.

        ANSWER:        Takata denies the allegations in Paragraph 42 for lack of
                                              29
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1648    Page 30 of 262



  knowledge or information sufficient to form a belief as to their truth.



        43.    Plaintiff McGrath is a Delaware corporation, with its principal place

  of business in Cedar Rapids, Iowa. Plaintiff McGrath is an authorized Buick,

  GMC, Chevrolet, Chrysler, Dodge, Jeep, Ram, Kia, and Cadillac dealer, who

  bought Buick-, GMC-, Chevrolet-, Chrysler-, Dodge-, Jeep-, Ram-, Kia-, and

  Cadillac-brand cars containing Occupant Safety Restraint Systems manufactured

  by one or more of the Defendants or their co-conspirators, as well as Occupant

  Safety Restraint Systems manufactured by one or more of the Defendants or their

  coconspirators during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 43 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        44.    During the Class Period Plaintiff McGrath purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more

  Defendants or their coconspirators. Plaintiff McGrath also purchased Occupant

  Safety Restraint Systems, manufactured by one or more Defendants or their co-

  conspirators, for its repair and service business, during the Class Period. Plaintiff

  McGrath purchased and received both the aforementioned vehicles and Occupant

  Safety Restraint Systems in Iowa. Plaintiff McGrath has also displayed, sold,
                                            30
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1649    Page 31 of 262



  serviced, and advertised its vehicles in Iowa during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 44 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        45.    Plaintiff Table Rock is a Nebraska corporation, with its principal

  place of business in Bellevue, Nebraska. Plaintiff Table Rock is an authorized

  Hyundai dealer, who bought Hyundai-brand cars containing Occupant Safety

  Restraint Systems manufactured by one or more of the Defendants or their co-

  conspirators, as well as Occupant Safety Restraint Systems manufactured by one or

  more of the Defendants or their co-conspirators, during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 45 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        46.    During the Class Period Plaintiff Table Rock purchased vehicles

  containing Occupant Safety Restraint Systems manufactured one or more

  Defendants or their coconspirators. Plaintiff Table Rock also purchased Occupant

  Safety Restraint Systems, manufactured by one or more Defendants or their co-

  conspirators, for its repair and service business, during the Class Period. Plaintiff

  Table Rock purchased and received both the aforementioned vehicles and

  Occupant Safety Restraint Systems in Nebraska. Plaintiff Table Rock has also
                                            31
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1650    Page 32 of 262



  displayed, sold, serviced, and advertised its vehicles in Nebraska during the Class

  Period.

        ANSWER:        Takata denies the allegations in Paragraph 46 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        47.    Plaintiff Archer-Perdue is a Nebraska corporation, with its principal

  place of business in Omaha, Nebraska. Plaintiff Archer-Perdue is an authorized

  Suzuki dealer, who, during the Class Period, has bought Suzuki-brand cars

  containing Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators, as well as Occupant Safety Restraint Systems

  manufactured by one or more of the Defendants or their coconspirators.

        ANSWER:        Takata denies the allegations in Paragraph 47 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        48.    During the Class Period Plaintiff Archer-Perdue purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more

  Defendants or their coconspirators.       Plaintiff Archer-Perdue also purchased

  Occupant Safety Restraint Systems, manufactured by one or more Defendants or

  their co-conspirators, for its repair and service business, during the Class Period.

  Plaintiff Archer-Perdue purchased and received both the afore-mentioned vehicles
                                            32
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1651    Page 33 of 262



  and Occupant Safety Restraint Systems in Nebraska. Plaintiff Archer-Perdue has

  also displayed, sold, serviced, and advertised its vehicles in Nebraska during the

  Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 48 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        49.    Plaintiff Lee’s Summit is a Missouri corporation, with its principal

  place of business in Lee’s Summit, Missouri. Plaintiff Lee’s Summit is an

  authorized Chrysler, Dodge, Jeep, Nissan, and Ram dealer, who bought Chrysler-,

  Dodge-, Jeep-, Nissan-, and Ram-brand vehicles containing Occupant Safety

  Restraint Systems manufactured by one or more of the Defendants or their co-

  conspirators, as well as Occupant Safety Restraint Systems manufactured by one or

  more of the Defendants or their co-conspirators, during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 49 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        50.    During the Class Period Plaintiff Lee’s Summit purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more

  Defendants or their coconspirators.       Plaintiff Lee’s Summit also purchased

  Occupant Safety Restraint Systems, manufactured by one or more Defendants or
                                            33
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1652    Page 34 of 262



  their co-conspirators, for its repair and service business, during the Class Period.

  Plaintiff Lee’s Summit purchased and received both the aforementioned vehicles

  and Occupant Safety Restraint Systems in Missouri. Plaintiff Lee’s Summit has

  also displayed, sold, serviced and advertised its vehicles in Missouri during the

  Class Period.

        ANSWER:         Takata denies the allegations in Paragraph 50 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        51.    Plaintiff Bonneville is a New Hampshire corporation, with its

  principal place of business in Manchester, New Hampshire. Plaintiff Bonneville is

  an authorized Dodge, Chrysler, Jeep, and Ram dealer, who bought Chrysler-,

  Dodge-, Jeep-, and Ram-brand vehicles containing Occupant Safety Restraint

  Systems manufactured by one or more of the Defendants or their coconspirators, as

  well as Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 51 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        52.    During the Class Period Plaintiff Bonneville purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more
                                            34
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1653    Page 35 of 262



  Defendants or their coconspirators. Plaintiff Bonneville also purchased Occupant

  Safety Restraint Systems, manufactured by one or more Defendants or their co-

  conspirators, for its repair and service business, during the Class Period. Plaintiff

  Bonneville purchased and received both the aforementioned vehicles and Occupant

  Safety Restraint Systems in New Hampshire. Plaintiff Bonneville has also

  displayed, sold, serviced, and advertised its vehicles in New Hampshire during the

  Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 52 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        53.    Plaintiff Holzhauer is a Delaware corporation, with its principal place

  of business in Nashville, Illinois. Plaintiff Holzhauer is an authorized Dodge,

  Chrysler, and Jeep dealer, who bought Dodge-, Chrysler-, and Jeep-brand vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators, as well as Occupant Safety Restraint Systems

  manufactured by one or more of the Defendants or their coconspirators during the

  Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 53 for lack of

  knowledge or information sufficient to form a belief as to their truth.



                                            35
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1654       Page 36 of 262



        54.    During the Class Period Plaintiff Holzhauer purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more

  Defendants or their coconspirators. Plaintiff Holzhauer also purchased Occupant

  Safety Restraint Systems, manufactured by one or more Defendants or their co-

  conspirators, for its repair and service business, during the Class Period. Plaintiff

  Holzhauer purchased and received both the aforementioned vehicles and Occupant

  Safety Restraint Systems in Illinois. Plaintiff Holzhauer has also displayed, sold,

  serviced, and advertised its vehicles in Illinois during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 54 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        55.    Plaintiff Pitre is a New Mexico corporation, with its principal place of

  business in Albuquerque, New Mexico. Plaintiff Pitre is an authorized Buick and

  GMC dealer, who bought Buick- and GMC-brand vehicles containing Occupant

  Safety Restraint Systems manufactured by one or more of the Defendants or their

  co-conspirators, as well as Occupant Safety Restraint Systems manufactured by

  one or more of the Defendants or their co-conspirators, during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 55 for lack of

  knowledge or information sufficient to form a belief as to their truth.



                                            36
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1655    Page 37 of 262



        56.    During the Class Period Plaintiff Pitre purchased vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more Defendants or

  their co-conspirators. Plaintiff Pitre also purchased Occupant Safety Restraint

  Systems, manufactured by one or more Defendants or their co-conspirators, for its

  repair and service business, during the Class Period. Plaintiff Pitre purchased and

  received both the afore-mentioned vehicles and Occupant Safety Restraint Systems

  in New Mexico. Plaintiff Pitre has also displayed, sold, serviced, and advertised its

  vehicles in New Mexico during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 56 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        57.    Plaintiff Patsy Lou is a Michigan corporation, with its principal place

  of business in Flint, Michigan. Plaintiff Patsy Lou is an authorized Chevrolet

  dealer, who bought Chevrolet-brand vehicles containing Occupant Safety Restraint

  Systems manufactured by one or more of the Defendants or their co-conspirators,

  as well as Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators, during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 57 for lack of

  knowledge or information sufficient to form a belief as to their truth.



                                            37
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1656    Page 38 of 262



        58.    During the Class Period Plaintiff Patsy Lou purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more

  Defendants or their coconspirators. Plaintiff Patsy Lou also purchased Occupant

  Safety Restraint Systems, manufactured by one or more Defendants or their co-

  conspirators, for its repair and service business, during the Class Period. Plaintiff

  Patsy Lou purchased and received both the aforementioned vehicles and Occupant

  Safety Restraint Systems in Michigan. Plaintiff Patsy Lou has also displayed, sold,

  serviced, and advertised its vehicles in Michigan during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 58 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        59.    Plaintiff John Greene is a North Carolina corporation, with its

  principal place of business in Morganton, North Carolina. Plaintiff John Greene is

  an authorized Chrysler, Dodge, Jeep, and Ram dealer, who bought Chrysler-,

  Dodge-, Jeep-, and Ram-brand vehicles containing Occupant Safety Restraint

  Systems manufactured by one or more of the Defendants or their coconspirators, as

  well as Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 59 for lack of

  knowledge or information sufficient to form a belief as to their truth.
                                            38
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1657    Page 39 of 262




        60.    During the Class Period Plaintiff John Greene purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more

  Defendants or their co-conspirators. Plaintiff John Greene also purchased

  Occupant Safety Restraint Systems, manufactured by one or more Defendants or

  their co-conspirators, for its repair and service business, during the Class Period.

  Plaintiff John Greene purchased and received both the aforementioned vehicles

  and Occupant Safety Restraint Systems in North Carolina. Plaintiff John Greene

  has also displayed, sold, serviced, and advertised its vehicles in North Carolina

  during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 60 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        61.    Plaintiff Planet Nissan is an Arizona corporation, with its principal

  place of business in Flagstaff, Arizona. Plaintiff Planet Nissan is an authorized

  Nissan and Subaru dealer, who bought Nissan- and Subaru-brand vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators, as well as Occupant Safety Restraint Systems

  manufactured by one or more of the Defendants or their coconspirators during the

  Class Period.
                                            39
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1658    Page 40 of 262



        ANSWER:        Takata denies the allegations in Paragraph 61 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        62.    During the Class Period Plaintiff Planet Nissan purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more

  Defendants or their coconspirators.       Plaintiff Planet Nissan also purchased

  Occupant Safety Restraint Systems, manufactured by one or more Defendants or

  their co-conspirators, for its repair and service business, during the Class Period.

  Plaintiff Planet Nissan purchased and received both the aforementioned vehicles

  and Occupant Safety Restraint Systems in Arizona. Plaintiff Planet Nissan has also

  displayed, sold, serviced, and advertised its vehicles in Arizona during the Class

  Period.

        ANSWER:        Takata denies the allegations in Paragraph 62 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        63.    Plaintiff Champion is a Nevada corporation, with its principal place of

  business in Reno, Nevada. Plaintiff Champion is an authorized Chevrolet dealer,

  who bought Chevrolet-brand vehicles containing Occupant Safety Restraint

  Systems manufactured by one or more of the Defendants or their co-conspirators,

  as well as Occupant Safety Restraint Systems manufactured by one or more of the
                                            40
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1659     Page 41 of 262



  Defendants or their co-conspirators during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 63 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        64.    During the Class Period Plaintiff Champion purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more

  Defendants or their coconspirators. Plaintiff Champion also purchased Occupant

  Safety Restraint Systems, manufactured by one or more Defendants or their co-

  conspirators, for its repair and service business, during the Class Period. Plaintiff

  Champion purchased and received both the aforementioned vehicles and Occupant

  Safety Restraint Systems in Nevada. Plaintiff Champion has also displayed, sold,

  serviced, and advertised its vehicles in Nevada during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 64 for lack of

  knowledge or information sufficient to form a belief as to their truth.



       65.     Plaintiff Commonwealth Motors is a Delaware corporation, with its

  principal place of business in Lawrence, Massachusetts. Plaintiff Commonwealth

  Motors is an authorized Chevrolet, Honda, and Kia dealer, who bought Chevrolet-,

  Honda-, and Kia-brand vehicles containing Occupant Safety Restraint Systems

  manufactured by one or more of the Defendants or their co-conspirators, as well as
                                            41
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1660     Page 42 of 262



  Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 65 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        66.    During the Class Period Plaintiff Commonwealth Motors purchased

  vehicles containing Occupant Safety Restraint Systems manufactured by one or

  more Defendants or their co-conspirators. Plaintiff Commonwealth Motors also

  purchased Occupant Safety Restraint Systems, manufactured by one or more

  Defendants or their co-conspirators, for its repair and service business, during the

  Class Period. Plaintiff Commonwealth Motors purchased and received both the

  afore-mentioned     vehicles   and    Occupant    Safety    Restraint     Systems   in

  Massachusetts. Plaintiff Commonwealth Motors has also displayed, sold, serviced,

  and advertised its vehicles in Massachusetts during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 66 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        67.    Plaintiff Commonwealth Volkswagen is a Massachusetts corporation

  with its principal place of business in Lawrence, Massachusetts. Plaintiff

  Commonwealth Volkswagen is an authorized Volkswagen dealer, who bought
                                            42
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1661    Page 43 of 262



  Volkswagen-brand vehicles containing Occupant Safety Restraint Systems

  manufactured by one or more of the Defendants or their coconspirators, as well as

  Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 67 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        68.    During the Class Period Plaintiff Commonwealth Volkswagen

  purchased vehicles containing Occupant Safety Restraint Systems manufactured by

  one or more Defendants or their co-conspirators. Plaintiff Commonwealth

  Volkswagen also purchased Occupant Safety Restraint Systems, manufactured by

  one or more Defendants or their co-conspirators, for its repair and service business,

  during the Class Period. Plaintiff Commonwealth Volkswagen purchased and

  received both the afore-mentioned vehicles and Occupant Safety Restraint Systems

  in Massachusetts. Plaintiff Commonwealth Volkswagen has also displayed, sold,

  serviced and advertised its vehicles in Massachusetts during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 68 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        69.    Plaintiff Commonwealth Nissan is a Massachusetts corporation with
                                            43
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                          PageID.1662    Page 44 of 262



  its principal place of business in the Lawrence, Massachusetts. Plaintiff

  Commonwealth Nissan is an authorized Nissan dealer, who bought Nissan-brand

  vehicles containing Occupant Safety Restraint Systems manufactured by one or

  more of the Defendants or their co-conspirators, as well as Occupant Safety

  Restraint Systems manufactured by one or more of the Defendants or their co-

  conspirators during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 69 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        70.    During the Class Period Plaintiff Commonwealth Nissan purchased

  vehicles containing Occupant Safety Restraint Systems manufactured by one or

  more Defendants or their co-conspirators. Plaintiff Commonwealth Nissan also

  purchased Occupant Safety Restraint Systems, manufactured by one or more

  Defendants or their co-conspirators, for its repair and service business, during the

  Class Period. Plaintiff Commonwealth Nissan purchased and received both the

  afore-mentioned     vehicles   and      Occupant   Safety    Restraint    Systems   in

  Massachusetts. Plaintiff Commonwealth Nissan has also displayed, sold, serviced,

  and advertised its vehicles in Massachusetts during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 70 for lack of

  knowledge or information sufficient to form a belief as to their truth.
                                             44
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1663    Page 45 of 262




        71.    Plaintiff Ramey is a West Virginia company with its principal place of

  business in Princeton, West Virginia. Plaintiff Ramey is an authorized Toyota,

  Chrysler, Dodge, Jeep, and Ram dealer, who bought Toyota-, Chrysler-, Dodge-,

  Jeep-, and Ram-brand vehicles containing Occupant Safety Restraint Systems

  manufactured by one or more of the Defendants or their coconspirators, as well as

  Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 71 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        72.    During the Class Period Plaintiff Ramey purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more

  Defendants or their co-conspirators. Plaintiff Ramey also purchased Occupant

  Safety Restraint Systems, manufactured by one or more Defendants or their co-

  conspirators, for its repair and service business, during the Class Period. Plaintiff

  Ramey purchased and received both the afore-mentioned vehicles and Occupant

  Safety Restraint Systems in West Virginia. Plaintiff Ramey has also displayed,

  sold, serviced, and advertised its vehicles in West Virginia during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 72 for lack of
                                            45
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1664    Page 46 of 262



  knowledge or information sufficient to form a belief as to their truth.



        73.    Plaintiff Thornhill is a West Virginia corporation, with its principal

  place of business in Chapmanville, West Virginia. Plaintiff Thornhill is an

  authorized Chevrolet, Buick, and GMC dealer, who bought Chevrolet-, Buick-, and

  GMC-brand vehicles containing Occupant Safety Restraint Systems manufactured

  by one or more of the Defendants or their co-conspirators, as well as Occupant

  Safety Restraint Systems manufactured by one or more of the Defendants or their

  co-conspirators during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 73 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        74.    During the Class Period Plaintiff Thornhill purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more

  Defendants or their coconspirators.    Plaintiff Thornhill also purchased Occupant

  Safety Restraint Systems, manufactured by one or more Defendants or their co-

  conspirators, for its repair and service business, during the Class Period. Plaintiff

  Thornhill purchased and received both the aforementioned vehicles and Occupant

  Safety Restraint Systems in West Virginia. Plaintiff Thornhill has also displayed,

  sold, serviced, and advertised its vehicles in West Virginia during the Class Period.
                                             46
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1665    Page 47 of 262



        ANSWER:        Takata denies the allegations in Paragraph 74 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        75.    Plaintiff Lakeland is a Wisconsin corporation with its principal place

  of business in Sheboygan, Wisconsin. Plaintiff Lakeland is an authorized Toyota,

  Honda, Mazda, and Subaru dealer who bought Toyota- Honda-, Mazda-, and

  Subaru-brand     vehicles   containing    Occupant     Safety    Restraint   Systems

  manufactured by one or more of the Defendants or their coconspirators, as well as

  Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 75 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        76.    During the Class Period Plaintiff Lakeland purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more

  Defendants or their coconspirators. Plaintiff Lakeland also purchased Occupant

  Safety Restraint Systems, manufactured by one or more Defendants or their co-

  conspirators, for its repair and service business, during the Class Period. Plaintiff

  Lakeland purchased and received both the aforementioned vehicles and Occupant

  Safety Restraint Systems in Wisconsin. Plaintiff Lakeland has also displayed, sold,
                                            47
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1666    Page 48 of 262



  serviced, and advertised its vehicles in Wisconsin during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 76 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        77.    Plaintiff Salt Lake Valley is a Utah company, with its principal place

  of business in Salt Lake City, Utah. Plaintiff Salt Lake Valley is an authorized

  Buick and GMC dealer, who bought Buick- and GMC-brand vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators, as well as Occupant Safety Restraint Systems

  manufactured by one or more of the Defendants or their coconspirators during the

  Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 77 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        78.    During the Class Period Plaintiff Salt Lake Valley purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more

  Defendants or their coconspirators. Plaintiff Salt Lake Valley also purchased

  Occupant Safety Restraint Systems, manufactured by one or more Defendants or

  their co-conspirators, for its repair and service business, during the Class Period.

  Plaintiff Salt Lake Valley purchased and received both the afore-mentioned
                                            48
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1667    Page 49 of 262



  vehicles and Occupant Safety Restraint Systems in Utah. Plaintiff Salt Lake Valley

  has also displayed, sold, serviced, and advertised its vehicles in Utah during the

  Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 78 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        79.    Plaintiff Capitol Chevrolet is an Oregon corporation, with its principal

  place of business in Salem, Oregon. Plaintiff Capitol Chevrolet is an authorized

  Chevrolet, Cadillac, and Subaru dealer, who bought Chevrolet-, Cadillac-, and

  Subaru-brand     vehicles   containing    Occupant     Safety    Restraint   Systems

  manufactured by one or more of the Defendants or their coconspirators, as well as

  Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 79 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        80.    During the Class Period Plaintiff Capitol Chevrolet purchased

  vehicles containing Occupant Safety Restraint Systems manufactured by one or

  more Defendants or their coconspirators.          Plaintiff Capitol Chevrolet also

  purchased Occupant Safety Restraint Systems, manufactured by one or more
                                            49
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1668     Page 50 of 262



  Defendants or their co-conspirators, for its repair and service business, during the

  Class Period. Plaintiff Capitol Chevrolet purchased and received both the afore-

  mentioned vehicles and Occupant Safety Restraint Systems in Oregon. Plaintiff

  Capitol Chevrolet has also displayed, sold, serviced, and advertised its vehicles in

  Oregon during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 80 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        81.    Plaintiff Capitol Toyota is an Oregon corporation with its principal

  place of business in Salem, Oregon. Plaintiff Capitol Toyota is an authorized

  Toyota dealer, who bought Toyota-brand vehicles containing Occupant Safety

  Restraint Systems manufactured by one or more of the Defendants or their co-

  conspirators, as well as Occupant Safety Restraint Systems manufactured by one or

  more of the Defendants or their co-conspirators during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 81 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        82.    During the Class Period Plaintiff Capitol Toyota purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more

  Defendants or their coconspirators.       Plaintiff Capitol Toyota also purchased
                                            50
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1669    Page 51 of 262



  Occupant Safety Restraint Systems, manufactured by one or more Defendants or

  their co-conspirators, for its repair and service business, during the Class Period.

  Plaintiff Capitol Toyota purchased and received both the afore-mentioned vehicles

  and Occupant Safety Restraint Systems in Oregon. Plaintiff Capitol Toyota has

  also displayed, sold, serviced, and advertised its vehicles in Oregon during the

  Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 82 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        83.    Plaintiff Beck is a South Dakota corporation, with its principal place

  of business in Pierre, South Dakota. Plaintiff Beck is an authorized Chevrolet and

  Cadillac dealer, who bought Chevrolet- and Cadillac-brand vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators, as well as Occupant Safety Restraint Systems

  manufactured by one or more of the Defendants or their coconspirators during the

  Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 83 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        84.    During the Class Period Plaintiff Beck purchased vehicles containing
                                            51
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1670    Page 52 of 262



  Occupant Safety Restraint Systems manufactured by one or more Defendants or

  their co-conspirators. Plaintiff Beck also purchased Occupant Safety Restraint

  Systems, manufactured by one or more Defendants or their co-conspirators, for its

  repair and service business, during the Class Period. Plaintiff Beck purchased and

  received both the afore-mentioned vehicles and Occupant Safety Restraint Systems

  in South Dakota. Plaintiff Beck has also displayed, sold, serviced, and advertised

  its vehicles in South Dakota during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 84 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        85.    Plaintiff Wade is a Utah corporation, with its principal place of

  business in St. George, Utah. Plaintiff Wade is an authorized Toyota dealer, who

  bought Toyota-brand cars containing Occupant Safety Restraint Systems

  manufactured by the Defendants or their coconspirators, as well as Occupant

  Safety Restraint Systems manufactured by the Defendants or their co-conspirators

  during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 85 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        86.    During the Class Period Plaintiff Wade purchased vehicles containing
                                            52
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1671    Page 53 of 262



  Occupant Safety Restraint Systems manufactured by one or more Defendants or

  their co-conspirators. Plaintiff Wade also purchased Occupant Safety Restraint

  Systems, manufactured by one or more Defendants or their co-conspirators, for its

  repair and service business, during the Class Period. Plaintiff Wade purchased and

  received both the afore-mentioned vehicles and Occupant Safety Restraint Systems

  in Utah. Plaintiff Wade has also displayed, sold, serviced, and advertised its

  vehicles in Utah during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 86 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        87.    Plaintiff Johnson is a Mississippi limited liability company, with its

  principal place of business in Meridian, Mississippi. Plaintiff Johnson is an

  authorized Toyota dealer, who bought Toyota-brand cars containing Occupant

  Safety Restraint Systems manufactured by the Defendants or their co-conspirators,

  as well as Occupant Safety Restraint Systems manufactured by the Defendants or

  their co-conspirators during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 87 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        88.    During the Class Period Plaintiff Johnson purchased vehicles
                                            53
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                           PageID.1672    Page 54 of 262



  containing Occupant Safety Restraint Systems manufactured by one or more

  Defendants or their coconspirators. Plaintiff Johnson also purchased Occupant

  Safety Restraint Systems manufactured by one or more Defendants or their co-

  conspirators, for its repair and service business, during the Class Period. Plaintiff

  Johnson purchased and received both the afore-mentioned vehicles and Occupant

  Safety Restraint Systems in Mississippi. Plaintiff Johnson has also displayed, sold,

  serviced, and advertised its vehicles in Mississippi during the Class Period.

        ANSWER:           Takata denies the allegations in Paragraph 88 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        89.       Plaintiff Hartley is a New York corporation, with its principal place of

  business in Jamestown, New York. During the Class Period, Plaintiff Hartley has

  been an authorized Honda, Buick, Pontiac, and GM dealer, who bought Honda-,

  Buick-, Pontiac-, and GM-brand cars containing Occupant Safety Restraint

  Systems manufactured by the Defendants or their coconspirators, as well as

  Occupant Safety Restraint Systems manufactured by the Defendants or their co-

  conspirators.

        ANSWER:           Takata denies the allegations in Paragraph 89 for lack of

  knowledge or information sufficient to form a belief as to their truth.



                                              54
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1673    Page 55 of 262



        90.    During the Class Period Plaintiff Hartley purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more

  Defendants or their co-conspirators. Plaintiff Hartley also purchased Occupant

  Safety Restraint Systems manufactured by one or more Defendants or their co-

  conspirators, for its repair and service business, during the Class Period. Plaintiff

  Hartley purchased and received both the afore-mentioned vehicles and Occupant

  Safety Restraint Systems in New York. Plaintiff Hartley has also displayed, sold,

  serviced, and advertised its vehicles in New York during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 90 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        91.    Plaintiff Lee Honda is a Maine corporation, with its principal place of

  business in Auburn, Maine. Plaintiff Lee Honda is an authorized Honda dealer,

  who bought Honda-brand cars containing Occupant Safety Restraint Systems

  manufactured by the Defendants or their coconspirators, as well as Occupant

  Safety Restraint Systems manufactured by the Defendants or their co-conspirators

  during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 91 for lack of

  knowledge or information sufficient to form a belief as to their truth.



                                            55
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1674    Page 56 of 262



        92.    During the Class Period Plaintiff Lee Honda purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more

  Defendants or their coconspirators. Plaintiff Lee Honda also purchased Occupant

  Safety Restraint Systems manufactured by one or more Defendants or their co-

  conspirators, for its repair and service business, during the Class Period. Plaintiff

  Lee Honda purchased and received both the aforementioned vehicles and Occupant

  Safety Restraint Systems in Maine. Plaintiff Lee Honda has also displayed, sold,

  serviced, and advertised its vehicles in Maine during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 92 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        93.    Plaintiff Topsham is a Maine corporation, with its principal place of

  business in Topsham, Maine. Plaintiff Topsham is an authorized Toyota dealer,

  who bought Toyota-brand cars containing Occupant Safety Restraint Systems

  manufactured by the Defendants or their coconspirators, as well as Occupant

  Safety Restraint Systems manufactured by the Defendants or their co-conspirators

  during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 93 for lack of

  knowledge or information sufficient to form a belief as to their truth.



                                            56
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1675    Page 57 of 262



        94.    During the Class Period Plaintiff Topsham purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more

  Defendants or their coconspirators. Plaintiff Topsham also purchased Occupant

  Safety Restraint Systems manufactured by one or more Defendants or their co-

  conspirators, for its repair and service business, during the Class Period. Plaintiff

  Topsham purchased and received both the afore-mentioned vehicles and Occupant

  Safety Restraint Systems in Maine. Plaintiff Topsham has also displayed, sold,

  serviced, and advertised its vehicles in Maine during the Class Period.

        ANSWER: Takata denies the allegations in Paragraph 94 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        95.    Plaintiff Hazelwood is an Arkansas corporation, with its principal

  place of business in Hazelwood, Missouri. Plaintiff Hazelwood is an authorized

  Toyota dealer, who bought Toyota-brand cars containing Occupant Safety

  Restraint Systems manufactured by the Defendants or their co-conspirators, as well

  as Occupant Safety Restraint Systems manufactured by the Defendants or their co-

  conspirators during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 95 for lack of

  knowledge or information sufficient to form a belief as to their truth.



                                            57
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1676    Page 58 of 262



        96.    During the Class Period Plaintiff Hazelwood purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more

  Defendants or their coconspirators. Plaintiff Hazelwood also purchased Occupant

  Safety Restraint Systems manufactured by one or more Defendants or their co-

  conspirators, for its repair and service business, during the Class Period. Plaintiff

  Hazelwood purchased and received both the aforementioned vehicles and

  Occupant Safety Restraint Systems in Missouri. Plaintiff Hazelwood has also

  displayed, sold, serviced, and advertised its vehicles in Missouri during the Class

  Period.

        ANSWER:        Takata denies the allegations in Paragraph 96 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        97.    Plaintiff Cannon Nissan is a Mississippi limited liability company

  with its principal place of business in Jackson, Mississippi. Plaintiff Cannon is an

  authorized Nissan dealer, who bought Nissan-brand cars containing Occupant

  Safety Restraint Systems manufactured by the Defendants or their co-conspirators,

  as well as Occupant Safety Restraint Systems manufactured by the Defendants or

  their co-conspirators during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 97 for lack of

  knowledge or information sufficient to form a belief as to their truth.
                                            58
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1677    Page 59 of 262




        98.    During the Class Period Plaintiff Cannon Nissan purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more

  Defendants or their coconspirators.       Plaintiff Cannon Nissan also purchased

  Occupant Safety Restraint Systems, manufactured by one or more Defendants or

  their co-conspirators, for its repair and service business, during the Class Period.

  Plaintiff Cannon purchased and received both the aforementioned vehicles and

  Occupant Safety Restraint Systems in Mississippi. Plaintiff Cannon has also

  displayed, sold, serviced, and advertised its vehicles in Mississippi during the

  Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 98 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        99.    Plaintiff Hudson Nissan is a South Carolina limited liability company

  with its principal place of business in North Charleston, South Carolina. Plaintiff

  Hudson Nissan is an authorized Nissan dealer, who bought Nissan-brand cars

  containing Occupant Safety Restraint Systems manufactured by the Defendants or

  their co-conspirators, as well as Occupant Safety Restraint Systems manufactured

  by the Defendants or their co-conspirators during the Class Period.

        ANSWER:        Takata denies the allegations in Paragraph 99 for lack of
                                            59
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1678    Page 60 of 262



  knowledge or information sufficient to form a belief as to their truth.



        100.      During the Class Period Plaintiff Hudson Nissan purchased

  vehicles containing Occupant Safety Restraint Systems manufactured by one or

  more Defendants or their coconspirators. Plaintiff Hudson Nissan also purchased

  Occupant Safety Restraint Systems, manufactured by one or more Defendants or

  their co-conspirators, for its repair and service business, during the Class Period.

  Plaintiff Hudson Nissan purchased and received both the afore-mentioned vehicles

  and Occupant Safety Restraint Systems in South Carolina. Plaintiff Hudson Nissan

  has also displayed, sold, serviced, and advertised its vehicles in South Carolina

  during the Class Period.

        ANSWER: Takata denies the allegations in Paragraph 100 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        101.      Plaintiff Shearer is a Vermont corporation with its principal place

  of business in Rutland, Vermont. Plaintiff Shearer is an authorized Honda dealer,

  who bought Honda-brand vehicles containing Occupant Safety Restraint Systems

  manufactured by one or more of the Defendants or their co-conspirators, as well as

  Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators during the Class Period.
                                            60
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1679     Page 61 of 262



        ANSWER: Takata denies the allegations in Paragraph 101 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        102.      During the Class Period Plaintiff Shearer purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more

  Defendants or their co-conspirators. Plaintiff Shearer also purchased Occupant

  Safety Restraint Systems manufactured by one or more Defendants or their co-

  conspirators, for its repair and service business, during the Class Period. Plaintiff

  Shearer purchased and received both the afore-mentioned vehicles and Occupant

  Safety Restraint Systems in Vermont. Plaintiff Shearer has also displayed, sold,

  serviced and advertised its vehicles in Vermont during the Class Period.

        ANSWER: Takata denies the allegations in Paragraph 102 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        103.      Plaintiff Apex is a Vermont corporation with its principal place of

  business in South Burlington, Vermont. Plaintiff Apex is an authorized Acura

  dealer, who bought Acura-brand vehicles containing Occupant Safety Restraint

  Systems manufactured by one or more of the Defendants or their co-conspirators,

  as well as Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators during the Class Period.
                                            61
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1680     Page 62 of 262



        ANSWER: Takata denies the allegations in Paragraph 103 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        104.      During the Class Period Plaintiff Apex purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more

  Defendants or their co-conspirators.      Plaintiff Apex also purchased Occupant

  Safety Restraint Systems, manufactured by one or more Defendants or their co-

  conspirators, for its repair and service business, during the Class Period. Plaintiff

  Apex purchased and received both the afore-mentioned vehicles and Occupant

  Safety Restraint Systems in Vermont. Plaintiff Apex has also displayed, sold,

  serviced and advertised its vehicles in Vermont during the Class Period.

        ANSWER: Takata denies the allegations in Paragraph 104 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        105.      Plaintiff Rainbow is a Hawaii corporation, with its principal place

  of business in Honolulu, Hawaii. Plaintiff Rainbow is an authorized Chevrolet

  dealer who bought Chevrolet-brand vehicles containing Occupant Safety Restraint

  Systems manufactured by one or more of the Defendants or their co-conspirators,

  as well as Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators during the Class Period.
                                            62
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1681    Page 63 of 262



        ANSWER: Takata denies the allegations in Paragraph 105 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        106.      During the Class Period Plaintiff Rainbow purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more

  Defendants or their coconspirators. Plaintiff Rainbow also purchased Occupant

  Safety Restraint Systems manufactured by one or more of the Defendants or their

  co-conspirators, for its repair and service business, during the Class Period.

  Plaintiff Rainbow purchased and received both the aforementioned vehicles and

  Occupant Safety Restraint Systems in Hawaii. Plaintiff Rainbow has also

  displayed, sold, serviced and advertised its vehicles in Hawaii during the Class

  Period.

        ANSWER: Takata denies the allegations in Paragraph 106 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        107.      Plaintiff Windward is a Hawaii corporation, with its principal place

  of business in Kaneohe, Hawaii. Plaintiff Windward is an authorized Honda dealer,

  who bought Honda-brand vehicles containing Occupant Safety Restraint Systems

  manufactured by one or more of the Defendants or their co-conspirators, as well as

  Occupant Safety Restraint Systems manufactured by one or more of the
                                            63
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                          PageID.1682     Page 64 of 262



  Defendants or their co-conspirators during the Class Period.

        ANSWER: Takata denies the allegations in Paragraph 107 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        108.      During the Class Period Plaintiff Windward purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more

  Defendants or their coconspirators. Plaintiff Rainbow also purchased Occupant

  Safety Restraint Systems manufactured by one or more of the Defendants or their

  co-conspirators, for its repair and service business, during the class period. Plaintiff

  Windward purchased and received both the aforementioned vehicles and Occupant

  Safety Restraint Systems in Hawaii. Plaintiff Windward has also displayed, sold,

  serviced and advertised its vehicles in Hawaii during the Class Period.

        ANSWER: Takata denies the allegations in Paragraph 108 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        109.      Plaintiff Gastonia is a North Carolina limited liability company

  with its principal place of business in Gastonia, North Carolina. Plaintiff Gastonia

  is an authorized Nissan dealer, who bought Nissan-brand vehicles containing

  Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators, as well as Occupant Safety Restraint Systems
                                            64
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                          PageID.1683     Page 65 of 262



  manufactured by one or more of the Defendants or their co-conspirators during the

  Class Period.

        ANSWER: Takata denies the allegations in Paragraph 109 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        110.      During the Class Period, Plaintiff Gastonia purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their coconspirators. Plaintiff Gastonia also purchased Occupant

  Safety Restraint Systems, manufactured by one or more of the Defendants or their

  co-conspirators, for its repair and service business, during the class period. Plaintiff

  Gastonia purchased and received both the aforementioned vehicles and Occupant

  Safety Restraint Systems in North Carolina. Plaintiff Gastonia has also displayed,

  sold, serviced, and advertised its vehicles in North Carolina during the Class

  Period.

        ANSWER: Takata denies the allegations in Paragraph 110 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        111.      Plaintiff Hodges is a Michigan corporation with its principal place

  of business in Ferndale, Michigan. Plaintiff Hodges is an authorized Subaru dealer,

  who bought Subaru-brand vehicles containing Occupant Safety Restraint Systems
                                            65
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1684    Page 66 of 262



  manufactured by one or more of the Defendants or their co-conspirators, as well as

  Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators during the Class Period.

      ANSWER:       Takata denies the allegations in Paragraph 111 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        112.      During the Class Period, Plaintiff Hodges purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more

  Defendants or their coconspirators. Plaintiff Hodges also purchased Occupant

  Safety Restraint Systems manufactured by one or more Defendants or their co-

  conspirators, for its repair and service business, during the class period. Plaintiff

  Hodges purchased and received both the afore-mentioned vehicles and Occupant

  Safety Restraint Systems in Michigan. Plaintiff Hodges has also displayed, sold,

  serviced, and advertised its vehicles in Michigan during the Class Period.

        ANSWER: Takata denies the allegations in Paragraph 112 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        113.      Plaintiff Don Weir is a Nevada corporation with its principal place

  of business in Reno, Nevada. Plaintiff Weir is an authorized Chrysler, Dodge and

  Jeep dealer, who bought Chrysler-, Dodge- and Jeep-brand vehicles containing
                                            66
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1685     Page 67 of 262



  Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators, as well as Occupant Safety Restraint Systems

  manufactured by one or more of the Defendants or their coconspirators during the

  Class Period.

        ANSWER: Takata denies the allegations in Paragraph 113 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        114.      During the Class Period, Plaintiff Don Weir purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more

  Defendants or their coconspirators. Plaintiff Don Weir also purchased Occupant

  Safety Restraint Systems manufactured by one or more Defendants or their co-

  conspirators, for its repair and service business, during the class period. Plaintiff

  Don Weir purchased and received both the aforementioned vehicles and Occupant

  Safety Restraint Systems in Nevada. Plaintiff Weir has also displayed, sold,

  serviced, and advertised its vehicles in Nevada during the Class Period.

        ANSWER: Takata denies the allegations in Paragraph 114 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        115.      Plaintiff John Lee is a Florida corporation with its principal place

  of business in Panama City, Florida. Plaintiff John Lee is an authorized Nissan
                                            67
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1686      Page 68 of 262



  dealer, who bought Nissan-brand vehicles containing Occupant Safety Restraint

  Systems manufactured by one or more of the Defendants or their co-conspirators,

  as well as Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators during the Class Period.

        ANSWER: Takata denies the allegations in Paragraph 115 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        116.      During the Class Period, Plaintiff John Lee purchased vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more

  Defendants or their coconspirators. Plaintiff John Lee also purchased Occupant

  Safety Restraint Systems manufactured by one or more Defendants or their co-

  conspirators, for its repair and service business, during the class period. Plaintiff

  John Lee purchased and received both the aforementioned vehicles and Occupant

  Safety Restraint Systems in Florida. Plaintiff John Lee has also displayed, sold,

  serviced, and advertised its vehicles in Florida during the Class Period.

        ANSWER: Takata denies the allegations in Paragraph 116 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        117.      Plaintiff Empire Nissan is a California limited liability company

  with its principal place of business in Santa Rosa, California. Plaintiff Empire
                                            68
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1687    Page 69 of 262



  Nissan is an authorized Nissan dealer, who bought Nissan-brand vehicles

  containing Occupant Safety Restraint Systems manufactured by one or more of the

  Defendants or their co-conspirators, as wells as Occupant Safety Restraint Systems

  manufactured by one or more of the Defendants or their coconspirators during the

  Class Period.

        ANSWER: Takata denies the allegations in Paragraph 117 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        118.      During the Class Period, Plaintiff Empire Nissan purchased

  vehicles containing Occupant Safety Restraint Systems manufactured by one or

  more Defendants or their coconspirators. Plaintiff Empire Nissan also purchased

  Occupant Safety Restraint Systems manufactured by one or more Defendants or

  their co-conspirators, for its repair and service business, during the class period.

  Plaintiff Empire Nissan purchased and received both the aforementioned vehicles

  and Occupant Safety Restraint Systems in California. Plaintiff Empire Nissan has

  also displayed, sold, serviced, and advertised its vehicles in California during the

  Class Period.

        ANSWER: Takata denies the allegations in Paragraph 118 for lack of

  knowledge or information sufficient to form a belief as to their truth.



                                            69
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1688    Page 70 of 262



        119.      Defendant TRW Automotive Holdings Corp. (“TRW U.S.”) is a

  Delaware corporation with its principal place of business in Livonia, Michigan.

  TRW U.S., directly or through its wholly-owned and/or controlled subsidiaries,

  manufactured, marketed, and/or sold Occupant Safety Restraint Systems that were

  purchased throughout the United States, including in this district, during the Class

  Period, including by firms that sold such Occupant Safety Restraint Systems to

  Plaintiffs and class members.

        ANSWER: Takata denies the allegations in Paragraph 119 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        120.      Defendant TRW Deutschland Holding Gmbh (“TRW Germany”)

  is a German corporation with its principal place of business in Koblenz, Germany.

  Defendant TRW Germany is a subsidiary of and wholly-owned and/or controlled

  by Defendant TRW U.S. Defendant TRW Germany, directly and/or through its

  subsidiaries which it wholly owned and/or controlled, manufactured, marketed

  and/or sold Occupant Safety Restraint Systems that were purchased throughout the

  United States, including in this district, during the Class Period, including by firms

  that sold such Occupant Safety Restraint Systems to Plaintiffs and class members.

  At all times during the Class Period, its activities were under the control and

  direction of TRW U.S., which controlled its policies, sales, and finances.
                                            70
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1689    Page 71 of 262



        ANSWER: Takata denies the allegations in Paragraph 120 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        121.      TRW Germany and TRW U.S. are collectively referred to as

  “TRW.”

        ANSWER: Takata admits that Plaintiffs purport to define the term “TRW”

  as stated in Paragraph 121 and denies the allegations in Paragraph 121 in all other

  respects.



        122.      Defendant Takata Corp. is a Japanese corporation with its principal

  place of business in Tokyo, Japan. Defendant Takata Corp. directly and/or through

  its subsidiaries, which it wholly owned and/or controlled, manufactured, marketed,

  and/or sold Occupant Safety Restraint Systems that were purchased throughout the

  United States, including in this district, during the Class Period, including by firms

  that sold such Occupant Safety Restraint Systems to Plaintiffs and class members.

        ANSWER:         Takata admits that Takata Corporation is a Japanese

  corporation with its principal place of business located in Tokyo, Japan and denies

  the allegations in Paragraph 122 in all other respects.



        123.      Defendant TK Holdings, Inc. (“TK”), is a Delaware corporation
                                            71
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1690    Page 72 of 262



  with its principal place of business in Auburn Hills, Michigan. It is a subsidiary of

  and wholly owned and/or controlled by its Japanese parent, Takata. Defendant TK

  manufactured, marketed, and/or sold Occupant Safety Restraint Systems that were

  purchased throughout the United States, including in this district, during the Class

  Period including by firms that sold such Occupant Safety Restraint Systems to

  Plaintiffs and class members. At all times during the Class Period, its activities in

  the United States were under the control and direction of its Japanese parent, which

  controlled its policies, sales, and finances.

        ANSWER: Takata admits that TK Holdings Inc. is a Delaware corporation

  with its principal place of business located in Auburn Hills, Michigan, that it is a

  subsidiary of its ultimate parent Takata Corporation, and that it sold seat belts,

  airbags, steering wheels, and other products that may be encompassed in Plaintiffs’

  term “Occupant Safety Restraint Systems” that were purchased in the United States

  during the alleged Class Period. Takata denies the allegations in Paragraph 123 in

  all other respects.



        124.       Executives who have worked at Takata Corp., in Japan, have also

  worked at TK, in the U.S. Yoshiyasu Kikuchi, an executive officer at Takata Corp.

  is a director at TK. Yoichiro Nomura, the Chief Financial Officer at Takata Corp.

  is a director at TK. Juichiro Takada, the former Chairman and CEO of Takata
                                             72
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                      PageID.1691   Page 73 of 262



  Corp. was also a director at TK. Shunkichi Shimizu, a former executive officer at

  Takata Corp., in charge of “America Operations” was also the president and

  secretary of TK Holdings. Takata Corporation also refers to TK Holdings as its

  American headquarters, stating “Takata’s regional headquarters for the Americas is

  in Auburn Hills, Michigan.”

       ANSWER: Takata admits that some executives who have worked at Takata

  Corporation, in Japan, have also held positions at TK Holdings, Inc. Takata admits

  that Yoshiyasu Kikuchi is an Executive Director and Executive Officer at Takata

  Corporation and a Director at TK Holdings Inc. and denies the allegations in the

  second sentence of Paragraph 124 in all other respects.       Takata admits that

  Yoichiro Nomura is the Chief Financial Officer at Takata Corporation and is a

  Director at TK Holdings Inc. Takata admits that Juichiro Takada is a former

  Chairman and CEO of Takata Corporation and was also a Director at TK Holdings

  Inc. Takata admits that Shunkichi Shimizu is a former executive officer at Takata

  Corporation in charge of America Operations and was also a President and

  Secretary of TK Holdings Inc. Takata refers to the referenced document for its

  content and denies any characterization of it. Takata denies the allegations in

  Paragraph 124 in all other respects.



        125.      Takata has targeted the U.S. and U.S. customers in myriad ways.
                                         73
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                             PageID.1692       Page 74 of 262



  Takata’s annual report states that “Takata and GM jointly developed a front center

  airbag,    which       will    be    installed     in     GM’s        2013         models.”

  http://www.takata.com/ir/pdf/material05/120831ar_en.pdf at 36.

  Takata’s 2011 report states that “auto industry in North America is expected to

  continue its recovery, and we will tap growing demand for high value added safety

  products    such      as   curtain   airbags     and    side     airbags     .     .   .   ”

  http://www.takata.com/ir/pdf/material05/110829ar_en.pdf at 11.             Takata’s 2011

  report reviewed new U.S. regulations regarding automotive restraints, which it

  deemed “driver[s] of growth,” for its business. Id. at 20. Takata’s report also

  announces that “[i]n April 2010, Takata Corporation was chosen by Ford Motor

  Company to be one of 13 suppliers newly added to Ford’s Aligned Business

  Framework (ABF) for closer collaboration and long-term partnership.” It also

  states that “[t]he close proximity of Ford and Takata’s North American

  headquarters in southeast Michigan has enabled synergies that in recent years have

  strengthened the partnership between the two companies.” Id. at 22. Takata’s

  report also mentions specific initiatives aimed at the U.S. market including

  “buckle-up campaigns, child restraint training sessions at maternity classes, anti

  drunk driving campaigns, and skill improvement courses such as those we run in

  the United States.”

        ANSWER: Takata refers to the referenced documents for their content and
                                            74
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1693    Page 75 of 262



  denies any characterization of them, and denies the allegations in Paragraph 125 in

  all other respects.



        126.       Defendants Takata Corp. and TK are collectively referred to as

  “Takata.”

        ANSWER:         Takata admits that Plaintiffs purport to define the term

  “Takata” as stated in Paragraph 126 and denies the allegations in Paragraph 126 in

  all other respects.



        127.       Defendant Autoliv, Inc. (“Autoliv”) is a Delaware corporation with

  its principal place of business in Stockholm, Sweden. Defendant Autoliv, Inc.—

  directly and/or through its subsidiaries, which it wholly owned and/or controlled—

  manufactured, marketed, and/or sold Occupant Safety Restraint Systems that were

  purchased throughout the United States, including in this district, during the Class

  Period including by firms that sold such Occupant Safety Restraint Systems to

  Plaintiffs and class members.

        ANSWER: Takata denies the allegations in Paragraph 127 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        128.       Defendant Autoliv ASP, Inc. is an Indiana corporation with its
                                            75
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1694       Page 76 of 262



  principal place of business in Ogden, Utah. It is a subsidiary of and wholly owned

  and/or controlled by its Swedish parent, Autoliv, Inc. Defendant Autoliv ASP, Inc.

  manufactured, marketed, and/or sold Occupant Safety Restraint Systems that were

  purchased throughout the United States, including in this district, during the Class

  Period, including by firms that sold such Occupant Safety Restraint Systems to

  Plaintiffs and class members. At all times during the Class Period, its activities in

  the United States were under the control and direction of its Swedish parent, which

  controlled its policies, sales, and finances.

        ANSWER: Takata denies the allegations in Paragraph 128 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        129.       Defendant Autoliv B.V. & Co. KG is a German corporation with

  its principal place of business in Elmshorn, Germany. It is a subsidiary of and

  wholly owned and/or controlled by its Swedish parent, Autoliv, Inc. Defendant

  Autoliv B.V. & Co. KG manufactured, marketed, and/or sold Occupant Safety

  Restraint Systems that were purchased throughout the United States, including in

  this district, during the Class Period including by firms that sold such Occupant

  Safety Restraint Systems to Plaintiffs and class members. At all times during the

  Class Period, its activities in the United States were under the control and direction

  of its Swedish parent, which controlled its policies, sales, and finances.
                                             76
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1695     Page 77 of 262



        ANSWER: Takata denies the allegations in Paragraph 129 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        130.       Autoliv Japan Ltd. is a Japanese corporation with its principal

  place of business in Yokohama, Japan. It is a wholly owned and/or controlled

  subsidiary of Autoliv, Inc. Autoliv Japan Ltd. manufactured, marketed, and/or sold

  Automobile Occupant Safety Systems that were purchased throughout the United

  States, including in this district, the Class Period, including by firms that sold such

  Occupant Safety Restraint Systems to Plaintiffs and class members. At all times

  during the Class Period, its activities in the United States were under the control

  and direction of its Swedish parent, which controlled its policies, sales, and

  finances.

        ANSWER: Takata denies the allegations in Paragraph 130 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        131.       Defendants Autoliv, Inc., Autoliv ASP, Inc., Autoliv B.V. & Co.

  KG and Autoliv Japan Ltd. are collectively referred to as “Autoliv.”

        ANSWER:         Takata admits that Plaintiffs purport to define the term

  “Autoliv” as stated in Paragraph 131 and denies the allegations in Paragraph 131 in

  all other respects.
                                            77
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1696    Page 78 of 262




        132.      Defendant Tokai Rika Co., Ltd. is a Japanese corporation with its

  principal place of business in Aichi, Japan. Defendant Tokai Rika Co., Ltd.—

  directly and/or through its subsidiaries, which it wholly owned and/or controlled—

  manufactured, marketed, and/or sold Occupant Safety Restraint Systems that were

  purchased throughout the United States, including in this district, during the Class

  Period, including by firms that sold such Occupant Safety Restraint Systems to

  Plaintiffs and class members.

        ANSWER: Takata denies the allegations in Paragraph 132 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        133.      Defendant TRAM, Inc. d/b/a Tokai Rika U.S.A. Inc. is a Michigan

  corporation with its principal place of business in Plymouth, Michigan. It is a

  subsidiary of and wholly owned and/or controlled by its Japanese parent, Tokai

  Rika Co., Ltd. Defendant TRAM, Inc. d/b/a Tokai Rika U.S.A. Inc. manufactured,

  marketed, and/or sold Occupant Safety Restraint Systems that were purchased

  throughout the United States, including in this district, during the Class Period,

  including by firms that sold such Occupant Safety Restraint Systems to Plaintiffs

  and class members. At all times during the Class Period, its activities in the United

  States were under the control and direction of its Japanese parent, which controlled
                                            78
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1697    Page 79 of 262



  its policies, sales, and finances.

        ANSWER: Takata denies the allegations in Paragraph 133 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        134.       Executives who have worked at Tokai Rika Co. Ltd. have also

  worked at TRAM, Inc. For instance, Masayuki Morita, the President and Chief

  Operating Officer at TRAM, Inc. previously served as a Managing Director and

  Director at Tokai Rika Co., Ltd. Yoshihei Iida, the former Chairman of Tokai Rika

  Co. Ltd., is a Board member at TRAM, Inc. Kiyoshi Kinoshita, the former

  Chairman of the Board and Representative Director, at Tokai Rika Co. Ltd., was

  also previously the President of TRAM, Inc.

        ANSWER: Takata denies the allegations in Paragraph 134 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        135.       The same year that TRAM was established in the U.S., Tokai Rika

  received its “QS9000 certification,” a quality standard the possession of which was

  required by the three major U.S. manufacturers: Ford, GM and Chrysler.

        ANSWER: Takata denies the allegations in Paragraph 135 for lack of

  knowledge or information sufficient to form a belief as to their truth.



                                            79
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1698    Page 80 of 262



        136.        Defendants Tokai Rika Co., Ltd. and TRAM, Inc. are collectively

  referred to as “Tokai Rika.”

        ANSWER: Takata admits that Plaintiffs purport to define the term “Tokai

  Rika” as stated in Paragraph 136 and denies the allegations in Paragraph 136 in all

  other respects.



        137.        Toyoda Gosei Co., Ltd. (“Toyoda Gosei”) is a Japanese

  corporation with its principal place of business in Aichi, Japan. Toyoda Gosei—

  directly and/or through its subsidiaries, which it wholly owned and/or controlled—

  manufactured, marketed and/or sold Occupant Safety Restraint Systems that were

  purchased throughout the United States, including in this district, during the Class

  Period including by firms that sold such Occupant Safety Restraint Systems to

  Plaintiffs and class members.

        ANSWER: Takata denies the allegations in Paragraph 137 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        138.        Toyoda Gosei North America Corp. is a Michigan corporation with

  its principal place of business in Troy, Michigan. It is a subsidiary of and wholly

  owned and/or controlled by its Japanese parent, Toyoda Gosei. Toyoda Gosei

  North America Corp. manufactured, marketed and/or sold Occupant Safety
                                            80
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                          PageID.1699       Page 81 of 262



  Restraint Systems that were purchased throughout the United States, including in

  this district, during the Class Period including by firms that sold such Occupant

  Safety Restraint Systems to Plaintiffs and class members. At all times during the

  Class Period, its activities in the United States were under the control and direction

  of its Japanese parent, which controlled its policies, sales, and finances.

        ANSWER: Takata denies the allegations in Paragraph 138 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        139.       TG Missouri Corp. is a Missouri corporation with its principal

  place of business in Perryville, Missouri. It is a subsidiary of and wholly owned

  and/or controlled by its Japanese parent, Toyoda Gosei. TG Missouri Corp.

  manufactured, marketed and/or sold Occupant Safety Restraint Systems that were

  purchased throughout the United States, including in this district, during the Class

  Period including by firms that sold such Occupant Safety Restraint Systems to

  Plaintiffs and class members. At all times during the Class Period, its activities in

  the United States were under the control and direction of its Japanese parent, which

  controlled its policies, sales, and finances.

        ANSWER: Takata denies the allegations in Paragraph 139 for lack of

  knowledge or information sufficient to form a belief as to their truth.



                                             81
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1700    Page 82 of 262



         140.      Each Defendant acted as the principal of or agent for the other

  Defendant with respect to the acts, violations, and common course of conduct

  alleged.

         ANSWER: The allegations in Paragraph 140 call for a legal conclusion to

  which no response is required, and on that basis Takata denies these allegations.

  To the extent any response is required, Takata denies that it was involved in the

  conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

  Paragraph 140 to the extent they are directed at Takata or intended to reference

  actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

  140 for lack of knowledge or information sufficient to form a belief as to their truth

  in all other respects.



         141.      Various persons, partnerships, sole proprietors, firms, corporations,

  and individuals not named as Defendants in this lawsuit, the identities of which are

  presently unknown, have participated as co-conspirators with Defendants in the

  offenses alleged in this complaints, and have performed acts and made statements

  in furtherance of the conspiracy or in furtherance of the anti-competitive conduct.

         ANSWER: The allegations in Paragraph 141 call for a legal conclusion to

  which no response is required, and on that basis Takata denies these allegations.

  To the extent any response is required, Takata denies that it was involved in the
                                            82
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                           PageID.1701     Page 83 of 262



  conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

  Paragraph 141 to the extent they are directed at Takata or intended to reference

  actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

  141 for lack of knowledge or information sufficient to form a belief as to their truth

  in all other respects.



         142.      Whenever in this Complaint reference is made to any act, deed, or

  transaction of any corporation or limited liability entity, the allegation means that

  the corporation or limited liability entity engaged in the act, deed, or transaction by

  or through its officers, directors, agents, employees, or representatives while they

  were actively engaged in the management, direction, control, or transaction of the

  corporation’s or limited liability entity’s business or affairs.

         ANSWER: Takata denies that it was involved in the conspiracy as alleged

  in Plaintiffs’ complaint and denies the allegations in Paragraph 142 to the extent

  they are directed at Takata or intended to reference actions taken by or on behalf of

  Takata. Takata denies the allegations in Paragraph 142 for lack of knowledge or

  information sufficient to form a belief as to their truth in all other respects.



         143.      Occupant Safety Restraint Systems are generally comprised of the

  parts in an automotive vehicle that protect drivers and passengers from bodily
                                             83
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                           PageID.1702     Page 84 of 262



  harm. Occupant Safety Restraint Systems include seat belts, air bags, steering

  wheels (or steering systems), and safety electronic systems.

        ANSWER: Takata admits that seat belts, airbags, steering wheels, and

  other products that may be encompassed in Plaintiffs’ term “Occupant Safety

  Restraint Systems” are automotive parts with specific functions, some of which

  relate to occupant safety, and denies the allegations in Paragraph 143 in all other

  respects.



        144.       Occupant Safety Restraint Systems are installed by automobile

  original equipment manufacturers (“OEMs”) in new cars as part of the automotive

  manufacturing process. They are also installed in cars to replace worn out,

  defective, or damaged Occupant Safety Restraint Systems.

        ANSWER: Takata admits that seat belts, air bags, steering wheels, and

  other products that may be encompassed in Plaintiffs’ term “Occupant Safety

  Restraint Systems” are installed by automobile original equipment manufacturers

  (“OEMs”) in new cars as part of the automotive manufacturing process and may be

  later replaced, and denies the allegations in Paragraph 144 for lack of knowledge

  or information sufficient to form a belief as to their truth in all other respects.



        145.       When purchasing Occupant Safety Restraint Systems, OEMs issue
                                             84
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                       PageID.1703    Page 85 of 262



  Requests for Quotation (“RFQs”) to automotive parts suppliers—Occupant Safety

  Restraint Systems are not commodity items. Automotive parts suppliers submit

  quotations, or bids, to OEMs in response to RFQs and the OEMs usually award the

  business to the selected automotive parts supplier for four to six years. Typically,

  the bidding process begins approximately three years prior to the start of

  production of a new model.

         ANSWER:         Takata admits that, from time to time, some automobile

  manufacturers use requests for quotations to procure certain products that may be

  encompassed in Plaintiffs’ term “Occupant Safety Restraint Systems” for certain

  US-manufactured motor vehicles. Takata admits that OEMs often issue RFQs for

  some products that may be encompassed in Plaintiffs’ term “Occupant Safety

  Restraint Systems” several years in advance of vehicle production. Takata denies

  the allegations in Paragraph 145 for lack of knowledge or information sufficient to

  form a belief as to their truth in all other respects.



         146.      Suppliers, including Defendants, supply OEMs with both

  Occupant Safety Restraint Systems to be installed in vehicles and Occupant Safety

  Restraint Systems to be used for replacement purposes.

         ANSWER: Takata admits that Takata sometimes supplies some OEMs

  with seat belts, air bags, steering wheels, and other products that may be
                                              85
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                           PageID.1704     Page 86 of 262



  encompassed in Plaintiffs’ term Occupant Safety Restraint Systems to be installed

  in certain new vehicles as part of the manufacturing process and for replacement

  purposes. Takata denies the allegations in Paragraph 146 for lack of knowledge or

  information sufficient to form a belief as to their truth in all other respects.



        147.       The Defendants and their co-conspirators supplied Occupant

  Safety Restraint Systems to OEMs for installation in vehicles manufactured and

  sold in the United States and elsewhere. The Defendants and their co-conspirators

  manufactured Occupant Safety Restraint Systems (a) in the United States for

  installation in vehicles manufactured and sold in the United States, (b) abroad for

  export to the United States and installation in vehicles manufactured and sold in

  the United States, and (c) abroad for installation in vehicles manufactured abroad

  for export to and sale in the United States.

        ANSWER: Takata admits that Takata Corporation manufactured certain

  seat belts, airbags, steering wheels, and/or other products that may be encompassed

  in Plaintiffs’ term “Occupant Safety Restraint Systems” abroad for installation in

  certain vehicles manufactured abroad for export to and sale in the United States.

  Takata admits that TK Holdings Inc. manufactured certain seat belts, airbags,

  steering wheels, and/or other products that may be encompassed in Plaintiffs’ term

  “Occupant Safety Restraint Systems” for certain motor vehicles (a) in the United
                                             86
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                           PageID.1705   Page 87 of 262



  States for installation in certain vehicles manufactured and sold in the United

  States, (b) abroad for export to the United States and installation in certain vehicles

  manufactured and sold in the United States, and (c) abroad for installation in

  certain vehicles manufactured abroad for export to and sale in the United States.

  Takata denies the remaining allegations in Paragraph 147 for lack of knowledge or

  information sufficient to form a belief as to their truth.



        148.       TRW’s main customers include: GM, Chrysler, Ford, Mercedes,

  Renault, Nissan, Fiat, Toyota, BMW, Honda, Hyundai and Volkswagen.

        ANSWER: Takata denies the allegations in Paragraph 148 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        149.       Takata’s main customers include: Toyota, Honda, BMW, Mazda,

  Nissan, GM, Chrysler and Ford.

        ANSWER: Takata admits Toyota, Honda, BMW, Mazda, Nissan, GM,

  Chrysler and Ford are Takata customers and denies the allegations in Paragraph

  149 in all other respects.



        150.       Autoliv’s main customers include: GM, Ford, Nissan, Renault,

  Hyundai, Kia, VW, Chrysler, Fiat, Honda, Toyota, BMW, Mercedes, Daimler and
                                             87
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1706    Page 88 of 262



  Volvo.

        ANSWER: Takata denies the allegations in Paragraph 150 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        151.      Tokai Rika’s main customers include: Toyota, Subaru, SAAB,

  Volvo, Nissan, Subaru, Isuzu, GM, Ford, Suzuki, Mazda, Isuzu, Mitsubishi and

  Chrysler.

        ANSWER: Takata denies the allegations in Paragraph 151 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        152.      Plaintiffs and members of the proposed Classes purchased

  Occupant Safety Restraint Systems indirectly from the Defendants and their co-

  conspirators. By way of example, automobile dealers indirectly purchase Occupant

  Safety Restraint Systems from the Defendants when they purchase new vehicles to

  sell or lease to consumers. Likewise, when repairing a damaged vehicle or when

  the vehicle’s Occupant Safety Restraint Systems are defective, Plaintiffs and other

  automobile dealers indirectly purchase replacement Occupant Safety Restraint

  Systems from Defendants.

        ANSWER:         Takata denies that this action is appropriate for class

  certification, and Takata therefore denies all allegations in Paragraph 152 regarding
                                            88
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                           PageID.1707     Page 89 of 262



  purported class members. Takata denies the allegations in Paragraph 152 for lack

  of knowledge or information sufficient to form a belief as to their truth in all other

  respects.



        153.       Replacement Occupant Safety Restraint Systems sold by OEMs to

  dealerships are the same as the Occupant Safety Restraint Systems installed in

  vehicles and are made by the same manufacturer who made the Occupant Safety

  Restraint Systems originally installed—that is the purpose of an OEM part, made

  by the OEM supplier. Such replacement parts are not the same as aftermarket parts,

  which are made by different manufacturers than those who manufactured the

  original parts. The prices of replacement Occupant Safety Restraint Systems were

  inflated by Defendants’ collusion.

        ANSWER: Takata denies that it was involved in the conspiracy as alleged

  in Plaintiffs’ complaint and denies the allegations in Paragraph 153 to the extent

  they are directed at Takata or intended to reference actions taken by or on behalf of

  Takata. Takata denies the allegations in Paragraph 153 for lack of knowledge or

  information sufficient to form a belief as to their truth in all other respects.



        154.       According to Autoliv’s 2011 Annual Report, the global market for

  Occupant Safety Restraint Systems in 2010 was $18.1 billion and the North
                                             89
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                             PageID.1708   Page 90 of 262



  American market for Occupant Safety Restraint Systems was $4.2 billion.

         ANSWER: Takata denies that there is a legally meaningful or cognizable

  “market for Occupant Safety Restraint Systems.” Takata refers to the referenced

  document for its content and denies any characterization of it. Takata denies the

  allegations in Paragraph 154 for lack of knowledge or information sufficient to

  form a belief as to their truth in all other respects.



         155.      The global Occupant Safety Restraint Systems market is

  dominated and controlled by large manufacturers, the top three of which are

  Defendants who control almost 75% of the market. The Autoliv Defendants

  account for more than 33% of the global market for Occupant Safety Restraint

  Systems; as Autoliv states in its 2011 Annual Report, it is “the world’s largest

  automotive safety supplier with sales to all the leading car manufacturers in the

  world.” TRW accounts for approximately 20% of the global market for Occupant

  Safety Restraint Systems. And the Takata Defendants account for approximately

  20% of the Occupant Safety Restraint Systems global market.

         ANSWER: Takata denies that there is a legally meaningful or cognizable

  “Occupant Safety Restraint Systems market.”              Takata refers to the referenced

  document Paragraph 155 for its content and denies any characterization of it.

  Takata denies the allegations in Paragraph 155 for lack of knowledge or
                                              90
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                           PageID.1709     Page 91 of 262



  information sufficient to form a belief as to their truth in all other respects.



         156.       By virtue of their market shares, Defendants are the dominant

  manufacturers and suppliers of Occupant Safety Restraint Systems in the United

  States and the world.

         ANSWER: Takata denies that there is a legally meaningful or cognizable

  “market for Occupant Safety Restraint Systems.” Takata denies the allegations in

  Paragraph 156 for lack of knowledge or information sufficient to form a belief as

  to their truth in all other respects.



         157.       Airbags are a type of Occupant Safety Restraint System. Airbags

  are occupant restraints designed to control the movement of an occupant inside a

  vehicle in the event of a collision. An Airbag consists of a light fabric air bag, an

  inflator, which, through use of pressurized gas (typically generated by pyrotechnic

  materials), rapidly inflates the Airbag upon deployment, and an initiator to initiate

  the deployment. It may also include, depending on the requirements of the vehicle

  manufacturer, an injection molded plastic decorative cover or other devices

  associated with the Airbag. According to the National Highway Traffic Safety

  Administration, a typical new Airbag retailed for approximately $1,000 from a car

  dealer in 2011.
                                             91
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1710    Page 92 of 262



        ANSWER: Takata admits air bags are encompassed in Plaintiffs’ term

  “Occupant Safety Restraint Systems.” Takata admits that airbags are designed to

  soften the impact of collisions by keeping passengers from contacting the steering

  wheel, dashboard, front glass, and other parts of the automobile. Takata admits

  that an airbag typically consists of fabric, an inflator, which rapidly inflates the

  airbag upon deployment, and an initiator to start the deployment. Takata admits

  that certain airbags may also include an injection molded plastic cover or other

  devices associated with the airbag. Takata refers to the referenced document for its

  content and denies any characterization of it. Takata denies the allegations in

  Paragraph 157 in all other respects.



        158.      In 2012, the total dollar-value of Airbags sold in the U.S. reached

  $6.7 billion.

        ANSWER: Takata denies the allegations in Paragraph 158 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        159.      According to Autoliv’s website, it manufactures more than one-

  third of the Airbags sold in North America, and according to its 2011 10-K,

  Autoliv manufactures more than 40% of the side Airbags and almost 30% of the

  frontal Airbags sold in the world. TRW, Takata and Toyoda Gosei are also major
                                            92
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                            PageID.1711   Page 93 of 262



  manufacturers of Airbags.

         ANSWER: Takata admits it manufactures airbags. Takata refers to the

  referenced document for its content and denies any characterization of it. Takata

  denies the allegations in Paragraph 159 for lack of knowledge or information

  sufficient to form a belief as to their truth in all other respects.



         160.       Seatbelts are another type of Occupant Safety Restraint System.

  Seatbelts are safety strap restraints designed to secure an occupant in position in a

  vehicle in the event of a collision. A Seatbelt includes belt webbing, a buckle, a

  retractor, and hardware for installation in a vehicle. It may also include, depending

  on the requirements of the vehicle manufacturer, a height adjuster, a pretensioner,

  or other devices associated with the Seatbelt. In 2012, the total dollar-value of

  Seatbelts sold in the U.S. reached over $900 million.

         ANSWER: Takata admits seat belts are encompassed in Plaintiffs’ term

  “Occupant Safety Restraint Systems.” Takata admits that seat belts are designed to

  secure a person in a motor vehicle in order to mitigate the results of any accident.

  Takata admits that a seat belt typically includes belt webbing, a buckle, and a

  retractor.    Takata admits that a seat belt may also include a height adjuster,

  pretensioner, or other devices associated with the seat belt. Takata denies the

  allegations in Paragraph 160 in all other respects.
                                              93
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                            PageID.1712   Page 94 of 262




         161.      According to Autoliv’s website, it manufactures almost one-third

  of the Seatbelts sold in North America, and according to its 2011 10-K, Autoliv

  manufactures 40% of the Seatbelts sold in the world. TRW and Takata are also

  major manufacturers of Seatbelts.

         ANSWER: Takata admits it manufactures seat belts. Takata refers to the

  referenced documents for its content and denies any characterization of it. Takata

  denies the allegations in Paragraph 161 for lack of knowledge or information

  sufficient to form a belief as to their truth in all other respects.



         162.      Steering Wheels are another type of Occupant Safety Restraint

  System. Steering Wheels consist of a die-cast armature (frame) covered by molded

  polyurethane. Steering Wheels are then finished with leather, wood trim, or plastic,

  and may include various electronic features and controls, depending on the

  requirements of a vehicle manufacturer.

         ANSWER: Takata admits steering wheels are encompassed in Plaintiffs’

  term “Occupant Safety Restraint Systems.” Takata admits that some steering

  wheels may consist of a die-cast armature (frame) covered by molded polyurethane

  and finished with leather, wood trim, or plastic. Takata admits that steering wheels

  may also include various electronic features and controls. Takata denies the
                                              94
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                           PageID.1713     Page 95 of 262



  allegations in Paragraph 162 in all other respects.



        163.       In 2012, the dollar-value for Steering Wheels and related

  components sold in the U.S. reached $2.24 billion.

        ANSWER: Takata denies the allegations in Paragraph 163 for lack of

  knowledge or information sufficient to form a belief as to their truth.



        164.       According to its website, Autoliv manufactures more than 15% of

  the Steering Wheels sold in North America, and in its 2011 10-K, Autoliv states

  that it manufactures almost 30% of the Steering Wheels sold in the world. TRW,

  Takata and Toyoda Gosei are also major manufacturers of Steering Wheels.

        ANSWER: Takata admits it manufactures steering wheels. Takata refers to

  the referenced documents for their content and denies any characterization of them.

  Takata denies the allegations in Paragraph 164 for lack of knowledge or

  information sufficient to form a belief as to their truth in all other respects.



        165.       The structure and other characteristics of the Occupant Safety

  Restraint Systems market in the United States are conducive to a price-fixing

  agreement, and have made collusion particularly attractive in these markets.

  Specifically, the Occupant Safety Restraint Systems market: (1) has high barriers
                                             95
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                           PageID.1714     Page 96 of 262



  to entry; (2) has inelasticity of demand; (3) is highly concentrated; and (4) is rife

  with opportunities to conspire.

         ANSWER: Takata denies that there is a legally meaningful or cognizable

  “Occupant Safety Restraint Systems market,” denies that it was involved in the

  conspiracy as alleged in Plaintiffs’ complaint, and denies the allegations in

  Paragraph 165 to the extent they are directed at Takata or intended to reference

  actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

  165 for lack of knowledge or information sufficient to form a belief as to their truth

  in all other respects.



         166.      A collusive arrangement that raises product prices above

  competitive levels would, under basic economic principles, attract new entrants

  seeking to benefit from the supracompetitive pricing. Where, however, there are

  significant barriers to entry, new entrants are less likely. Thus, barriers to entry

  help facilitate the formation and maintenance of a cartel.

         ANSWER: Takata denies that it was involved in the conspiracy as alleged

  in Plaintiffs’ complaint and denies the allegations in Paragraph 166 to the extent

  they are directed at Takata or intended to reference actions taken by or on behalf of

  Takata. Takata denies the allegations in Paragraph 166 for lack of knowledge or

  information sufficient to form a belief as to their truth in all other respects.
                                             96
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1715    Page 97 of 262




         167.      There are substantial barriers that preclude, reduce, or make more

  difficult entry into the Occupant Safety Restraint Systems market. A new entrant

  into the business would face costly and lengthy start-up costs, including multi-

  million dollar costs associated with manufacturing plants and equipment, energy,

  transportation, distribution infrastructure, skilled labor, and long-standing customer

  relationships.

         ANSWER: Takata denies that there is a legally meaningful or cognizable

  “Occupant Safety Restraint Systems market.” Takata denies the allegations in

  Paragraph 167 for lack of knowledge or information sufficient to form a belief as

  to their truth in all other respects.



         168.      In addition, an OEM cannot freely change its suppliers of

  Occupant Safety Restraint Systems because OEMs design the features of their

  vehicles, including the electronics, mechanics, thermal distribution, and other

  features, so that they may be integrated with a selected Occupant Safety Restraint

  System. Thus, it would be difficult for a new competitor to enter the market after a

  vehicle has been specifically designed to be integrated with a particular Occupant

  Safety Restraint System.

         ANSWER: Takata denies that there is a legally meaningful or cognizable
                                           97
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1716    Page 98 of 262



  “market for Occupant Safety Restraint Systems.” Takata denies the allegations in

  Paragraph 168 for lack of knowledge or information sufficient to form a belief as

  to their truth in all other respects.



         169.      Research and development costs are also significant for Occupant

  Safety Restraint Systems, creating an additional barrier to entry. Airbags are

  constantly researched for better deployment speeds, Seatbelts are constantly

  researched for better functionality and quality, and Steering Wheels are constantly

  researched for better precision and rotation.

         ANSWER: Takata denies the allegations in Paragraph 169 for lack of

  knowledge or information sufficient to form a belief as to their truth.



         170.      Defendants also own several patents for Occupant Safety Restraint

  Systems. For example, TRW owns Airbag, Steering Wheel and Seatbelt patents.

  These patents place a significant and costly burden on potential new entrants, who

  must avoid infringing on the patents when entering the market with a new product.

  ANSWER:          Takata admits that it owns patents for products that may be

  encompassed in Plaintiffs’ definition of Occupant Safety Restraint Systems.

  Takata denies that there is a legally meaningful or cognizable “market for

  Occupant Safety Restraint Systems.” Takata denies the allegations in Paragraph
                                            98
   
    2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1717     Page 99 of 262



  170 for lack of knowledge or information sufficient to form a belief as to their truth

  in all other respects.



         171.      “Elasticity” is a term used to describe the sensitivity of supply and

  demand to changes in one or the other. For example, demand is said to be

  “inelastic” if an increase in the price of a product results in only a small decline in

  the quantity sold of that product, if any. In other words, customers have nowhere to

  turn for alternative, cheaper products of similar quality, and so continue to

  purchase despite a price increase.

         ANSWER: Takata denies the allegations in Paragraph 171 for lack of

  knowledge or information sufficient to form a belief as to their truth.



         172.      For a cartel to profit from raising prices above competitive levels,

  demand must be relatively inelastic at competitive prices. Otherwise, increased

  prices would result in declining sales, revenues, and profits, as customers

  purchased substitute products or declined to buy altogether. Inelastic demand is a

  market characteristic that facilitates collusion, allowing producers to raise their

  prices without triggering customer substitution and lost sales revenue.

         ANSWER: Takata denies the allegations in Paragraph 172 for lack of

  knowledge or information sufficient to form a belief as to their truth.
                                            99
   
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1718     Page 100 of 262




          173.      Demand for Occupant Safety Restraint Systems is highly inelastic.

   This is because there are no close substitutes for these products. Additionally,

   customers must purchase Occupant Safety Restraint Systems as essential parts of a

   vehicle, regardless of whether prices are kept at supra-competitive levels.

   Customers wanting to purchase a car simply have no choice but to purchase

   Occupant Safety Restraint Systems.

          ANSWER: Takata denies the allegations in Paragraph 173 for lack of

   knowledge or information sufficient to form a belief as to their truth.



          174.      Defendants dominate the Occupant Safety Restraint Systems

   market. Three of the Defendants control almost 75% of the global market.

          ANSWER: Takata denies that there is a legally meaningful or cognizable

   “Occupant Safety Restraint Systems market.” Takata denies the allegations in

   Paragraph 174 for lack of knowledge or information sufficient to form a belief as

   to their truth in all other respects.



          175.      Defendants attended industry events where they had the

   opportunity to meet, have improper discussions under the guise of legitimate

   business contacts, and perform acts necessary for the operation and furtherance of
                                            100
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1719    Page 101 of 262



   the conspiracy. In a June 6, 2012, press release, the DOJ explained that Defendant

   Autoliv and its co-conspirators met in secret and agreed to allocate the supply of

   various automotive parts. According to the Autoliv information, Autoliv and its

   coconspirators participated in meetings, conversations and communications to

   discuss and agree on the bids and price quotations to be submitted to certain

   automobile manufacturers for Occupant Safety Restraint Systems, and agreed,

   during meetings, conversations and communications, to allocate the supply of

   Occupant Safety Restraint Systems sold to certain automobile manufacturers on a

   model-by-model basis.

         ANSWER: Takata denies that it was involved in the conspiracy as alleged

   in Plaintiffs’ complaint and denies the allegations in Paragraph 175 to the extent

   they are directed at Takata or intended to reference actions taken by or on behalf of

   Takata. Takata refers to the referenced document for its content and denies any

   characterization of it. Takata denies the allegations in Paragraph 175 for lack of

   knowledge or information sufficient to form a belief as to their truth in all other

   respects.



         176.      A globally coordinated antitrust investigation is taking place in the

   United States, Europe, Canada, and Japan, aimed at suppliers of automotive parts

   in general and Occupant Safety Restraint Systems in particular. The DOJ has
                                           101
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                            PageID.1720   Page 102 of 262



   confirmed that its auto parts investigation is the largest criminal investigation that

   the Antitrust Division has ever pursued, both in terms of its scope and the potential

   volume of commerce affected by the illegal conduct. Almost $1 billion in criminal

   fines have already been levied against various automotive parts manufacturers.

         ANSWER: Takata denies the allegations in Paragraph 176 for lack of

   knowledge or information sufficient to form a belief as to their truth.



         177.       The probe originated in Europe as the result of several European

   OEMs coming together to bring a complaint to the EC. The EC and the FBI have

   executed surprise raids at the European and U.S. offices of several auto parts

   manufacturers, including certain Defendants, as part of an investigation into

   anticompetitive conduct related to the manufacturing and sale of automotive parts.

         ANSWER: Takata admits that on February 8, 2011, the FBI raided the

   Auburn Hills, Michigan offices of TK Holdings Inc. Takata denies the allegations

   directed at other Defendants in Paragraph 177 for lack of knowledge or

   information sufficient to form a belief as to their truth.



         178.       Defendants Autoliv, TRW, and Takata have admitted that they are

   cooperating with the antitrust investigators. Autoliv, Inc. stated in its 2011 Annual

   Report that its subsidiary, Autoliv ASP, Inc., received a grand jury subpoena from
                                             102
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                       PageID.1721    Page 103 of 262



   the Antitrust Division of the United States Department of Justice on February 8,

   2011. “The subpoena requested documents and information as part of a long-

   running investigation into possible anticompetitive behavior among certain

   suppliers to the automotive vehicle industry, including Autoliv.” Autoliv, Inc.’s

   2011 Annual Report also stated that, on June 7-9, 2011, representatives of the EC

   visited two facilities of Autoliv B.V. & Co. KG to gather information for a similar

   inquiry.

          ANSWER: Takata admits that Takata Corporation pleaded guilty per a plea

   agreement. Takata refers to the referenced documents for their content and denies

   any characterization of them, and denies the allegations in Paragraph 178 to the

   extent directed at Takata in all other respects. Takata denies the allegations in

   Paragraph 178 for lack of knowledge or information sufficient to form a belief as

   to their truth in all other respects.



          179.      TRW stated in its 2011 Annual Report that “in June 2011,

   European antitrust authorities visited certain of our Occupant Safety Systems

   business unit locations in Germany to gather information. We also received a

   subpoena related to the Antitrust Investigations in the United States from the U.S.

   Department of Justice.”

          ANSWER: Takata refers to the referenced document for its content and
                                           103
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1722     Page 104 of 262



   denies any characterization of it, and denies the allegations in Paragraph 179 in all

   other respects.



           180.      On February 23, 2010, investigators from the FBI raided the

   Plymouth, Michigan, offices of Tokai Rika as part of a federal antitrust

   investigation. Special Agent Sandra Berchtold stated that the affidavits that contain

   facts supporting issuance of the search warrants were filed in federal court under

   seal.

           ANSWER: Takata denies the allegations in Paragraph 180 for lack of

   knowledge or information sufficient to form a belief as to their truth.



           181.      Takata Corp. stated in its 2011 Annual Report that TK Holdings,

   Inc., a U.S. subsidiary, “became the subject to an investigation conducted by the

   Federal Bureau of Investigation on February 8, 2011.          TK Holdings, Inc. is

   cooperating fully with the investigation.” Alby Berman, vice-president of

   marketing and public relations for TK Holdings, Inc., said the subpoena “targeted

   safety system suppliers – seat belts, air bags, steering wheels and safety electronics

   – any communications with competitors, and specifically mentioned Tokai Rika”

   and that the subpoena targeted communications dating back to January 1, 2005.

       Special Agent Sandra Berchtold, media coordinator for the FBI, confirmed that
                                            104
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1723     Page 105 of 262



   the FBI raided TK Holdings, Inc.’s offices in Auburn Hills, Michigan.

         ANSWER: Takata admits that on February 8, 2011, the FBI raided the

   Auburn Hills, Michigan offices of TK Holdings Inc.             Takata refers to the

   referenced document in the first and second sentences of Paragraph 181 for their

   content and denies any characterization of them. Takata admits that Alby Berman

   is TK Holdings Inc.’s vice president of marketing and public relations. Takata

   refers to the referenced document in the third sentence of Paragraph 181 for its

   content and denies any characterization of it. Takata denies the allegations in the

   fourth sentence of Paragraph 181 for lack of knowledge or information sufficient

   to form a belief as to their truth. Takata denies the allegations in Paragraph 181 in

   all other respects.



         182.       The DOJ has stated that it is conducting an investigation of

   potential antitrust activity and coordinating its investigation with antitrust

   regulators in Europe.

         ANSWER: Takata denies the allegations in Paragraph 182 for lack of

   knowledge or information sufficient to form a belief as to their truth.



         183.       To obtain the search warrant to raid TK Holdings, Inc., the FBI

   was legally required to have probable cause, accepted by a magistrate, to believe
                                            105
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1724    Page 106 of 262



   that it would obtain evidence of an antitrust violation as a result of executing the

   search warrant—that is, the United States had to have evidence sufficient to

   warrant a person of reasonable caution to believe that raiding the offices of a

   seemingly lawful business would uncover evidence of antitrust violations and that

   claimed evidence must have been examined and accepted by a magistrate. That

   belief, which was recounted in sworn affidavits or testimony, must be grounded on

   reasonably trustworthy information.

          ANSWER: The allegations in Paragraph 183 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies the allegations in Paragraph

   183 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          184.      Defendant Autoliv has pleaded guilty and agreed to pay a total of

   $14.5 million in criminal fines concerning a two-count criminal investigation for

   fixing the prices of seatbelts, steering wheels, and airbags. Autoliv has admitted to

   conspiring with others to suppress and eliminate competition in the automotive

   parts industry by agreeing to rig bids for, and to fix, stabilize, and maintain the

   prices of, Occupant Safety Restraint Systems sold to certain automobile

   manufacturers in the United States and elsewhere at various times from at least as
                                            106
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1725    Page 107 of 262



   early as March 2006 and continuing until at least February 2011 in violation of the

   Sherman Act, 15 U.S.C. § 1. Among other things, Autoliv admitted to: (a)

   participating in meetings, conversations, and communications to discuss the bids

   and price quotations to be submitted to certain automobile manufacturers for

   Occupant Safety Restraint Systems; (b) agreeing, during those meetings,

   conversations, and communications, on bids and price quotations to be submitted

   to certain automobile manufacturers for Occupant Safety Restraint Systems; (c)

   agreeing, during those meetings, conversations, and communications, to allocate

   the supply of Occupant Safety Restraint Systems sold to certain automobile

   manufacturers on a model-by-model basis; (d) submitting bids and price quotations

   to certain automobile manufacturers in accordance with the agreements reached;

   (e) selling Occupant Safety Restraint Systems to certain automobile manufacturers

   at collusive and noncompetitive prices; and (f) accepting payment for Occupant

   Safety Restraint Systems sold to certain automobile manufacturers at collusive and

   noncompetitive prices.

         ANSWER: Takata refers to the referenced document for its content and

   denies any characterization of it, and denies the allegations in Paragraph 184 for

   lack of knowledge or information sufficient to form a belief as to their truth in all

   other respects.



                                           107
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                          PageID.1726       Page 108 of 262



         185.        The plea agreement requires it and its subsidiaries to cooperate

   with the DOJ, including producing documents in their control and providing their

   “directors, officers and employees” for interviews and the provision of testimony

   in grand jury, trial and other judicial proceedings.

         ANSWER: Takata refers to the referenced document for its content and

   denies any characterization of it, and denies the allegations in Paragraph 185 for

   lack of knowledge or information sufficient to form a belief as to their truth in all

   other respects.



         186.        The plea agreement further provides that upon acceptance of the

   agreement, the United States will not bring further criminal charges against, among

   other entities, Autoliv Inc.’s subsidiaries arising out of the conspiracy.

         ANSWER: Takata refers to the referenced document for its content and

   denies any characterization of it, and denies the allegations in Paragraph 186 for

   lack of knowledge or information sufficient to form a belief as to their truth in all

   other respects.



         187.        Pursuant to the plea agreement, Autoliv Inc. agreed that if the

   United States determines that it or its subsidiaries fail to provide truthful and

   continuing cooperation, the United States could elect to subject Autoliv Inc. or its
                                             108
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                            PageID.1727     Page 109 of 262



   subsidiaries to criminal prosecution and that the United States would have the

   right, among other things, to prosecute both Autoliv Inc. and its subsidiaries for the

   conspiracy set forth in the plea agreement.

         ANSWER: Takata refers to the referenced document for its content and

   denies any characterization of it, and denies the allegations in Paragraph 187 for

   lack of knowledge or information sufficient to form a belief as to their truth in all

   other respects.



         188.        In addition to Autoliv, Takayoshi Matsunaga, the former Vice

   President of the Toyota Global Business Unit at Autoliv Japan, pleaded guilty to a

   one count Criminal Information charging him with participating in a conspiracy to

   suppress and eliminate competition in the automotive parts industry by agreeing to

   rig bids for, and to fix, stabilize, and maintain the prices of certain seat belts sold to

   Toyota in the United States and elsewhere in violation of the Sherman Act, 15

   U.S.C. § 1. In connection with his guilty, plea, Matsunaga was criminally fined

   $20,000 and sentence to serve one year and one day in a U.S. prison.

         ANSWER: Takata refers to the referenced document for its content and

   denies any characterization of it, and denies the allegations in Paragraph 188 for

   lack of knowledge or information sufficient to form a belief as to their truth in all

   other respects.
                                              109
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1728    Page 110 of 262




         189.      On October 9, 2013, Defendant Takata Corporation announced that

   it agreed to pay a $71.3 million criminal fine and plead guilty to a one-count

   criminal Information charging it with participating in a conspiracy to rig bids for,

   and to fix, stabilize, and maintain the prices of seatbelts sold to automobile

   manufacturers, including, Toyota, Honda, Nissan, Fuji Heavy Industries, Ltd.

   (Subaru), and Mazda, in the United States and elsewhere from at least as early as

   January 1, 2003 and continuing until at least February 2011 in violation of the

   Sherman Act, 15 U.S.C. § 1. According to the Information filed, Defendant Takata

   Corporation and its coconspirators carried out the Occupant Safety Restraint

   Systems conspiracy by: (a) participating in meetings, conversations, and

   communications to discuss the bids and price quotations to be submitted to

   automobile manufacturers for Occupant Safety Restraint Systems; (b) agreeing,

   during those meetings, conversations, and communications, on bids and price

   quotations to be submitted to automobile manufacturers for Occupant Safety

   Restraint Systems; (c) agreeing, during those meetings, conversations, and

   communications, to allocate the supply of Occupant Safety Restraint Systems sold

   to automobile manufacturers on a model-by-model basis; (d) submitting bids and

   price quotations to automobile manufacturers in accordance with the agreements

   reached; (e) selling Occupant Safety Restraint Systems to automobile
                                           110
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                       PageID.1729    Page 111 of 262



   manufacturers.

         ANSWER: Takata admits that Takata Corporation pleaded guilty per a plea

   agreement, and refers to the referenced documents for their content and denies any

   characterization of them, and denies the allegations in Paragraph 189 in all other

   respects.



         190.       On November 21, 2013, the DOJ announced that three high-level

   Takata executives, Yasuhiko Ueno, Saburo Imamiya, and, Yoshinobu Fujino

   pleaded guilty to three separate one-count criminal Informations charging them

   with participating in a conspiracy to suppress and eliminate competition in the

   automotive parts industry by agreeing to rig bids for, and to fix, stabilize, and

   maintain the prices of seatbelts sold to Toyota, Honda, Nissan, Fuji Heavy

   Industries, Ltd. (Subaru), and Mazda in the United States and elsewhere in

   violation of the Sherman Act, 15 U.S.C. § 1. In connection with their guilty pleas,

   the Takata executives were criminally fined $20,000 each and sentenced to serve

   between 14 and 19 months in U.S. prison. Ueno’s criminal Information notes that

   was employed by Defendant TK Holdings Inc., in the United States as senior vice

   president for sales for Japanese manufacturers from at least January 2006 through

   December 2007.

         ANSWER: Takata admits that Takata Corporation and/or TK Holdings Inc.
                                          111
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1730   Page 112 of 262



   has employed Yasuhiko Ueno, Saburo Imamiya, and Yoshinobu Fujino. Takata

   admits that Mr. Ueno, Mr. Imamiya, and Mr. Fujino pleaded guilty pursuant to

   plea agreements and refers to the referenced documents for their content and

   denies any characterization of them. Takata admits that Mr. Ueno was employed

   by TK Holdings Inc. as Senior Vice President of Sales for the Transplant Sales

   Department from at least January 2006 through December 2007. Takata denies the

   allegations in Paragraph 190 for lack of knowledge or information sufficient to

   form a belief as to their truth in all other respects.



          191.      A fourth Takata executive, Gary Walker – employed by Defendant

   TK Holdings, Inc. – pleaded guilty to a one-count criminal Information charging

   him with participating in a conspiracy to suppress and eliminate competition in the

   automotive parts industry by agreeing to rig bids for, and to fix, stabilize, and

   maintain the prices of certain seatbelts sold to Toyota, Honda, Nissan, Fuji Heavy

   Industries (Subaru) and Mazda in the United States and elsewhere in violation of

   the Sherman Act, 15 U.S.C. § 1. In connection with his guilty plea, Walker was

   criminally fined $20,000 and sentenced to serve 14 months in a U.S. prison. A fifth

   Takata executive, Gikou Nakajima, was indicted on June 5, 2014 for his

   participation in a conspiracy to suppress and eliminate competition in the

   automotive parts industry by agreeing to rig bids for, and to fix, stabilize, and
                                              112
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1731    Page 113 of 262



   maintain the prices of seatbelts sold to Honda, Nissan, Fuji Heavy Industries

   (Subaru) and Mazda in the United States and elsewhere in violation of the Sherman

   Act, 15 U.S.C. § 1.

         ANSWER: Takata admits that Gary Walker was employed by TK Holdings

   Inc. Takata admits that Mr. Walker pleaded guilty pursuant to a plea agreement

   and refers to that document for its content and denies any characterization of it.

   Takata admits that a former Takata Corporation executive, Gikou Nakajima, was

   indicted on June 5, 2014 and refers to the indictment for its content and denies any

   characterization of it. Takata denies the allegations in Paragraph 191 for lack of

   knowledge or information sufficient to form a belief as to their truth in all other

   respects.



         192.      Defendant TRW Germany has agreed to plead guilty and agreed to

   pay a total of $5.1 million in criminal fines concerning a two-count criminal

   investigation for fixing the prices of seatbelts, steering wheels and airbags. TRW

   Germany has admitted to conspiring with others to suppress and eliminate

   competition in the automotive parts industry by agreeing to rig bids for, and to fix,

   stabilize, and maintain the prices of, Occupant Safety Restraint Systems sold to

   certain automobile manufacturers in the United States and elsewhere at various

   times from at least as early as January 2008 to until at least June 2011 in violation
                                           113
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                       PageID.1732    Page 114 of 262



   of the Sherman Act, 15 U.S.C. § 1. Among other things, TRW Germany admitted

   to: (a) participating in meetings, conversations, and communications to discuss the

   bids and price quotations to be submitted to certain automobile manufacturers for

   Occupant Safety Restraint Systems; (b) agreeing, during those meetings,

   conversations, and communications, on bids and price quotations to be submitted

   to certain automobile manufacturers for Occupant Safety Restraint Systems; (c)

   agreeing, during those meetings, conversations, and communications, to allocate

   the supply of Occupant Safety Restraint Systems sold to certain automobile

   manufacturers on a model-by-model basis; (d) agreeing, during those meetings,

   conversations, and communications, to coordinate price adjustments requested by

   certain automobile manufacturers; (e) submitting bids and price quotations to

   certain automobile manufacturers in accordance with the agreements reached; (f)

   selling Occupant Safety Restraint Systems to certain automobile manufacturers at

   collusive and noncompetitive prices; (g) accepting payment for Occupant Safety

   Restraint Systems sold to certain automobile manufacturers at collusive and

   noncompetitive prices; and (h) engaging inmeetings, conversations and

   communications for the purpose of monitoring and enforcing adherence to the

   agreed upon bid rigging and price-fixing scheme.

         ANSWER: Takata refers to the referenced document for its content and

   denies any characterization of it, and denies the allegations in Paragraph 192 for
                                          114
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1733    Page 115 of 262



   lack of knowledge or information sufficient to form a belief as to their truth in all

   other respects.



         193.        The plea agreement requires it and its subsidiaries to cooperate

   with the DOJ, including producing documents in their control and providing their

   “directors, officers and employees” for interviews and the provision of testimony

   in grand jury, trial and other judicial proceedings.

         ANSWER: Takata refers to the referenced document for its content and

   denies any characterization of it, and denies the allegations in Paragraph 193 for

   lack of knowledge or information sufficient to form a belief as to their truth in all

   other respects.



         194.        The plea agreement further provides that upon acceptance of the

   agreement, the United States will not bring further criminal charges against, among

   other entities, TRW Germany’s subsidiaries arising out of the conspiracy.

         ANSWER: Takata refers to the referenced document for its content and

   denies any characterization of it, and denies the allegations in Paragraph 194 for

   lack of knowledge or information sufficient to form a belief as to their truth in all

   other respects.



                                             115
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1734    Page 116 of 262



         195.        Pursuant to the plea agreement, TRW Germany agreed that if the

   United States determines that it or its subsidiaries fail to provide truthful and

   continuing cooperation, the United could elect to subject TRW Germany or its

   subsidiaries to criminal prosecution and that the United States would have the

   right, among other things, to prosecute both TRW Germany and its subsidiaries for

   the conspiracy set forth in the plea agreement.

         ANSWER: Takata refers to the referenced document for its content and

   denies any characterization of it, and denies the allegations in Paragraph 195 for

   lack of knowledge or information sufficient to form a belief as to their truth in all

   other respects.



         196.        On December 12, 2012, Tokai Rika agreed to pay a $17.7 million

   fine and plead guilty to a two-count criminal information charging Tokai Rika with

   participating in a combination and conspiracy with its co-conspirators to suppress

   and eliminate competition in the automotive parts industry by agreeing to rig bids

   for, and to fix, stabilize, and maintain the prices of Heater Control Panels sold to

   an automobile manufacturer from at least September 2003 until at least February

   2010 in violation of the Sherman Act, 15 U.S.C. § 1.

         ANSWER: Takata refers to the referenced document for its content and

   denies any characterization of it, and denies the allegations in Paragraph 196 for
                                           116
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1735    Page 117 of 262



   lack of knowledge or information sufficient to form a belief as to their truth in all

   other respects.



         197.        The information also charged Tokai Rika and one of its executives

   with obstruction of justice for directing employees to delete electronic data and

   destroy paper documents, which destroyed evidence relevant to the government’s

   investigation into Tokai Rika’s antitrust violations in violation of 15 U.S.C. §

   1512(b)(2)(B). Tokai Rika’s plea agreement states “[a]fter becoming aware of the

   FBI search of the defendant’s United States subsidiary, an executive of the

   defendant directed employees to delete electronic data and destroy paper

   documents likely to contain evidence of antitrust crimes. As a result, electronic

   data were deleted and paper documents were destroyed, including data and

   documents evidencing antitrust crimes, and some of the deleted electronic data and

   destroyed paper documents were non-recoverable.”

         ANSWER: Takata refers to the referenced document for its content and

   denies any characterization of it, and denies the allegations in Paragraph 197 for

   lack of knowledge or information sufficient to form a belief as to their truth in all

   other respects.



         198.        Tokai Rika’s plea agreement requires it and its subsidiaries to
                                            117
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                           PageID.1736    Page 118 of 262



   cooperate with the DOJ, including producing documents in their control and

   providing their “directors, officers and employees . . .” for “interviews and the

   provision of testimony in grand jury, trial and other judicial proceedings . . . .”

         ANSWER: Takata refers to the referenced document for its content and

   denies any characterization of it, and denies the allegations in Paragraph 198 for

   lack of knowledge or information sufficient to form a belief as to their truth in all

   other respects.



         199.        According to the criminal information filed against Tokai Rika,

   Tokai Rika and its co-conspirators carried out the conspiracy by: (a) participating

   in meetings, conversations, and communications in the United States and Japan to

   discuss the bids and price quotations; (b)agreeing, during those meetings,

   conversations, and communications, on bids and price quotations to be submitted;

   (c) agreeing, during those meetings, conversations, and communications, to

   allocate the supply of [Heater Control Panels]; (d) agreeing, during those meetings,

   conversations, and communications, to coordinate price adjustments; (e)

   submitting bids, price quotations, and price adjustments in accordance with the

   agreements reached; (f)selling [Heater Control Panels] in the United States and

   elsewhere at collusive and noncompetitive prices; (g) accepting payment for

   [Heater Control Panels] sold at collusive and noncompetitive prices; (h) engaging
                                             118
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1737    Page 119 of 262



   in meetings, conversations, and communications in the United States and

   elsewhere for the purpose of monitoring and enforcing adherence to the agreed-

   upon bid-rigging and price-fixing scheme; and (i) employing measures to keep

   their conduct secret, including using code names and choosing meeting places and

   times to avoid detection.

         ANSWER: Takata refers to the referenced document for its content and

   denies any characterization of it, and denies the allegations in Paragraph 199 for

   lack of knowledge or information sufficient to form a belief as to their truth in all

   other respects.



         200.        Tokai Rika’s plea agreement states that during a period from at

   least as early as September 2003 until at least February 2010 Tokai Rika’s sales of

   Heater Control Panels subject to the conspiracy totaled approximately $73.6

   million.

         ANSWER: Takata refers to the referenced document for its content and

   denies any characterization of it, and denies the allegations in Paragraph 200 for

   lack of knowledge or information sufficient to form a belief as to their truth in all

   other respects.



         201.        On September 29, 2014, the DOJ announced that Defendant
                                           119
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                            PageID.1738     Page 120 of 262



   Toyoda Gosei Co., Ltd. agreed to pay a $26 million criminal fine and plead guilty

   to a two-count criminal Information charging it with participating in conspiracies

   to: (1) allocate sales of, to rig bids for, and to fix, stabilize, and maintain the prices

   of certain automotive hoses sold in the United States and elsewhere from at least as

   early as February 2004 and continuing until at least September 2010 in violation of

   the Sherman Act, 15 U.S.C. § 1; and (2) allocate sales of, to rig bids for, and to fix,

   stabilize, and maintain the prices of, automotive airbags and steering wheels sold

   in the United States and elsewhere from at least as early as September 2003 and

   continuing until at least September 2010 in violation of the Sherman Act, 15

   U.S.C. §

         ANSWER: Takata refers to the referenced document for its content and

   denies any characterization of it, and denies the allegations in Paragraph 201 for

   lack of knowledge or information sufficient to form a belief as to their truth in all

   other respects.



         202.        According to the Information filed, Defendant Toyoda Gosei Co.,

   Ltd. and its co-conspirators carried out the Occupant Safety Restraint Systems

   conspiracy by: (a) participating in meetings, conversations, and communications to

   discuss the bids and price quotations to be submitted for Occupant Safety Restraint

   Systems; (b) agreeing, during those meetings, conversations, and communications,
                                              120
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1739    Page 121 of 262



   to allocate among the companies sales of Occupant Safety Restraint Systems; (c)

   agreeing, during those meetings, conversations, and communications, on bids and

   price quotations to be submitted; (d) exchanging information on bids and price

   quotations to be submitted; (e) submitting bids and price quotations in accordance

   with the agreements; (f) selling Occupant Safety Restraint Systems at collusive and

   noncompetitive prices; and (g) accepting payment for Occupant Safety Restraint

   Systems at collusive and noncompetitive prices.

         ANSWER: Takata refers to the referenced document for its content and

   denies any characterization of it, and denies the allegations in Paragraph 202 for

   lack of knowledge or information sufficient to form a belief as to their truth in all

   other respects.



         203.        In addition to Autoliv, Inc., Toyoda, Takata and TRW Germany, a

   number of other manufacturers of automotive parts have pleaded guilty, or agreed

   to plead guilty, to price fixing and bid rigging in the automotive parts industry,

   including: Furukawa Electric Co., Ltd.; Yazaki Corp.; G.S. Electech, Inc.; Fujikura

   Ltd.; Denso Corporation; and Nippon Seiki Co. Ltd. These companies have

   pleaded guilty to engaging in the same conduct as Autoliv, Inc. with regard to

   Automotive Wire Harness Systems, Instrument Panel Clusters, Fuel Senders and

   Heater Control Panels. The majority of these violators pleaded guilty to engaging
                                           121
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1740    Page 122 of 262



   in bid-rigging, price-fixing, and market allocation during the same time period as

   Autoliv, Inc. with multiple OEMs as their targets.

         ANSWER: Takata admits that Takata Corporation pleaded guilty per a plea

   agreement. Takata refers to the referenced documents for their content and denies

   any characterization of them, and denies the allegations in Paragraph 203 for lack

   of knowledge or information sufficient to form a belief as to their truth in all other

   respects.



         204.      The Antitrust Criminal Penalty Enhancement and Reform Act

   (“ACPERA”) provides leniency benefits for a participant in a price-fixing

   conspiracy that voluntarily discloses its conduct to the Department of Justice. In

   most recent cases in which guilty pleas for pricefixing conduct have been obtained,

   there has been a cooperating party who has been accepted into the DOJ’s ACPERA

   program as an amnesty applicant. One of the leniency benefits for a conspirator

   that is accepted into the ACPERA program is that the applicant is not charged with

   a criminal offense and is not required to plead guilty to criminal charges.

         ANSWER: Takata refers to the referenced statute for its content and denies

   any characterization of it, and denies the allegations in Paragraph 204 for lack of

   knowledge or information sufficient to form a belief as to their truth in all other

   respects.
                                            122
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1741     Page 123 of 262




         205.       In light of the multiple guilty pleas in this case, in related

   automotive parts antitrust cases and the DOJ’s ongoing investigation into the

   industry, it is reasonable for this Court to infer that there is an ACPERA “amnesty

   applicant” in this case.

         ANSWER: Takata denies the allegations in Paragraph 205 for lack of

   knowledge or information sufficient to form a belief as to their truth.



         206.       Deputy Assistant Attorney General Scott Hammond, recently

   stated that the automotive parts cartel is “the biggest [cartel] with respect to the

   impact on U.S. business and consumers.”

         ANSWER: Takata refers to the referenced document for its content and

   denies any characterization of it. Takata denies the allegations in Paragraph 206

   for lack of knowledge or information sufficient to form a belief as to their truth in

   all other respects.



         207.       Defendants’ conspiracy resulted in Defendants charging inflated

   prices to firms who directly purchased Occupant Safety Restraint Systems from

   them and in those purchasers raising their prices to subsequent purchasers.

         ANSWER: Takata denies that it was involved in the conspiracy as alleged
                                            123
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                           PageID.1742     Page 124 of 262



   in Plaintiffs’ complaint and denies the allegations in Paragraph 207 to the extent

   they are directed at Takata or intended to reference actions taken by or on behalf of

   Takata. Takata denies the allegations in Paragraph 207 for lack of knowledge or

   information sufficient to form a belief as to their truth in all other respects.



         208.       Having paid higher prices for components of the cars they sold to

   Plaintiffs and the Classes and the Occupant Safety Restraint Systems they sold to

   Plaintiffs and the Classes, firms who sold such Occupant Safety Restraint Systems

   and vehicles passed Defendants’ overcharges on to Plaintiffs and the Classes.

         ANSWER: Takata the allegations in Paragraph 208 to the extent they are

   directed at Takata or intended to reference actions taken by or on behalf of Takata.

   Takata denies that this action is appropriate for class certification, and Takata

   therefore denies all allegations in Paragraph 208 regarding purported class

   members. Takata denies the allegations in Paragraph 208 for lack of knowledge or

   information sufficient to form a belief as to their truth in all other respects.



         209.       Plaintiffs and the Classes are entitled to the overcharges they paid

   for Occupant Safety Restraint Systems.

         ANSWER: The allegations in Paragraph 209 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.
                                              124
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                           PageID.1743     Page 125 of 262



   To the extent any response is required, Takata denies the allegations in Paragraph

   209 to the extent they are directed at Takata or intended to reference actions taken

   by or on behalf of Takata. Takata denies that this action is appropriate for class

   certification, and Takata therefore denies all allegations in Paragraph 209 regarding

   purported class members. Takata denies the allegations in Paragraph 209 for lack

   of knowledge or information sufficient to form a belief as to their truth in all other

   respects.



          210.      Plaintiffs and the Classes had to and did absorb, at the very least, a

   significant portion of the overcharges that they paid due to Defendants’ illegal

   activities.

          ANSWER: Takata denies the allegations in Paragraph 210 to the extent

   they are directed at Takata or intended to reference actions taken by or on behalf of

   Takata. Takata denies that this action is appropriate for class certification, and

   Takata therefore denies all allegations in Paragraph 210 regarding purported class

   members. Takata denies the allegations in Paragraph 210 for lack of knowledge or

   information sufficient to form a belief as to their truth in all other respects.



          211.      Plaintiffs have standing and have suffered damage compensable by

   indirect purchaser laws and they and members of the classes they seek to represent
                                              125
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1744    Page 126 of 262



   have sustained significant damage and injury as a result of Defendants’ conspiracy.

         ANSWER: The allegations in Paragraph 211 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies the allegations in Paragraph

   211 to the extent they are directed at Takata or intended to reference actions taken

   by or on behalf of Takata. Takata denies that this action is appropriate for class

   certification, and Takata therefore denies all allegations in Paragraph 211 regarding

   purported class members. Takata denies the allegations in Paragraph 211 for lack

   of knowledge or information sufficient to form a belief as to their truth in all other

   respects.



         212.      Plaintiffs bring this action on behalf of themselves and as a class

   action under Rule 23(a) and (b)(2) of the Federal Rules of Civil Procedure, seeking

   equitable and injunctive relief on behalf of the following class (the “Nationwide

   Class”): All automobile dealers that during the Class Period, (a) indirectly

   purchased Occupant Safety Restraint Systems manufactured by the Defendants or

   any current or former subsidiary or affiliate thereof or any co-conspirator, or (b)

   purchased vehicles containing Occupant Safety Restraint Systems manufactured by

   the Defendants or any current or former subsidiary, affiliate thereof or co-

   conspirator.
                                            126
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1745    Page 127 of 262



         ANSWER: The allegations in Paragraph 212 call for a legal conclusion and

   characterize Plaintiffs’ purported claims and the putative “Nationwide Class,” to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata admits that Paragraph 212 purports

   to state Plaintiffs’ definition of the “Nationwide Class,” but denies the remaining

   allegations in Paragraph 212, denies that this action is appropriate for class

   certification, and Takata therefore denies all allegations in Paragraph 212 regarding

   purported class members.



         213.      Plaintiffs also bring this action on behalf of themselves and as a

   class action under Rule 23(a) and (b)(3) of the Federal Rules of Civil Procedure

   seeking damages pursuant to the antitrust, unfair competition, unjust enrichment

   and consumer protection laws of the states whose laws are set forth in the Second

   and Third Claims below, (except California as to unjust enrichment claims), as

   well as unjust enrichment laws of Missouri, Massachusetts, Illinois, and South

   Carolina. The states whose laws are set forth in the Second and Third Claims

   below, as well as Missouri, Massachusetts, Illinois, and South Carolina are

   collectively referred to as the “Indirect Purchaser States.” These claims are brought

   by Plaintiffs on behalf of themselves and entities in the Indirect Purchaser States

   listed in the Second, Third and Fourth Claims as follows (the “Damages Class”):
                                           127
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1746    Page 128 of 262



   All automobile dealers, in the Indirect Purchaser States, that, during the Class

   Period (a) indirectly purchased Occupant Safety Restraint Systems manufactured

   by one of the Defendants or any current or former subsidiary or affiliate thereof, or

   any coconspirator or (b) purchased vehicles containing Occupant Safety Restraint

   Systems manufactured by one of the Defendants or any current or former

   subsidiary, affiliate or co-conspirator thereof.

         ANSWER: The allegations in Paragraph 213 call for a legal conclusion and

   characterize Plaintiffs’ purported claims and the putative “Nationwide Class,” to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata admits that Paragraph 213 purports

   to state Plaintiffs’ definitions of “Indirect Purchaser States” and the “Damages

   Class,” but denies the remaining allegations in Paragraph 213, denies that this

   action is appropriate for class certification, and Takata therefore denies all

   allegations in Paragraph 213 regarding purported class members.



         214.      The Nationwide Class and the Damages Class are referred to

   herein as the “Classes.” Excluded from the Classes are Defendants, their parent

   companies, subsidiaries and affiliates, any co-conspirators, federal governmental

   entities, and instrumentalities of the federal government, states, and their

   subdivisions, agencies, and instrumentalities.
                                             128
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1747    Page 129 of 262



            ANSWER: Takata admits that the allegations contained in Paragraph 214

   purport to state Plaintiffs’ definition of the “Classes” and description of persons

   excluded from Plaintiffs’ purported class definitions, denies that any class properly

   may be certified, and denies the allegations in Paragraph 214 for lack of

   knowledge or information sufficient to form a belief as to their truth in all other

   respects.



            215.    Although Plaintiffs do not know the exact number of the members

   of the Classes, Plaintiffs believe there are at least thousands of members in each

   Class.

            ANSWER:      Takata denies that this action is appropriate for class

   certification, and Takata therefore denies all allegations in Paragraph 215 regarding

   purported class members. Takata denies the allegations in Paragraph 215 for lack

   of knowledge or information sufficient to form a belief as to their truth in all other

   respects.



            216.    Common questions of law and fact exist as to all members of the

   Classes. This is particularly true given the nature of Defendants’ conspiracy, which

   was generally applicable to all the members of both Classes, thereby making

   appropriate relief with respect to the Classes as a whole. Such questions of law and
                                            129
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1748    Page 130 of 262



   fact common to the Classes include, but are not limited to: (a) Whether Defendants

   and their co-conspirators engaged in a combination and conspiracy among

   themselves to fix, raise, maintain or stabilize the prices of Occupant Safety

   Restraint Systems sold in the United States; (b) The identity of the participants of

   the alleged conspiracy; (c) The duration of the alleged conspiracy and the acts

   carried out by Defendants and their co-conspirators in furtherance of the

   conspiracy; (d) Whether the alleged conspiracy violated the Sherman Act, as

   alleged in the First Claim for Relief; (e) Whether the alleged conspiracy violated

   state antitrust and unfair competition law, and/or state consumer protection law, as

   alleged in the Second and Third Claims for Relief; (f) Whether Defendants

   unjustly enriched themselves to the detriment of the Plaintiffs and the members of

   the Classes, thereby entitling Plaintiffs and the members of the Classes to

   disgorgement of all benefits derived by Defendants, as alleged in the Fourth Claim

   for Relief; (g) Whether the conduct of Defendants and their co-conspirators, as

   alleged in this Complaint, caused injury to the business or property of Plaintiffs

   and the members of the Classes; (h) The effect of the alleged conspiracy on the

   prices of Occupant Safety Restraint Systems sold in the United States during the

   Class Period; (i) Whether the Defendants and their co-conspirators fraudulently

   concealed the conspiracy’s existence from the Plaintiffs and the members of the

   Classes; (j) The appropriate injunctive and related equitable relief for the
                                           130
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1749    Page 131 of 262



   Nationwide Class; and (k) The appropriate class-wide measure of damages for the

   Damages Class.

         ANSWER: The allegations in Paragraph 216 call for a legal conclusion and

   characterize Plaintiffs’ purported claims, to which no response is required, and on

   that basis Takata denies these allegations. To the extent any response is required,

   Takata denies the allegations in Paragraph 216 and denies that this action is

   appropriate for class certification.



         217.         Plaintiffs’ claims are typical of the claims of the members of the

   Classes, and Plaintiffs will fairly and adequately protect the interests of the

   Classes. Plaintiffs and all members of the Classes are similarly affected by

   Defendants’ wrongful conduct because they paid artificially inflated prices for

   Occupant Safety Restraint Systems purchased indirectly from Defendants or their

   co-conspirators.

         ANSWER: The allegations in Paragraph 217 call for a legal conclusion and

   characterize Plaintiffs’ purported claims, to which no response is required, and on

   that basis Takata denies these allegations. To the extent any response is required,

   Takata denies the allegations in Paragraph 217 and denies that this action is

   appropriate for class certification.



                                             131
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                              PageID.1750   Page 132 of 262



          218.      Plaintiffs’ claims arise out of the same common course of conduct

   giving rise to the claims of the other members of the Classes. Plaintiffs’ interests

   are coincident with, and not antagonistic to, those of the other members of the

   Classes. Plaintiffs are represented by counsel who are competent and experienced

   in the prosecution of antitrust and class action litigation.

          ANSWER: The allegations in Paragraph 218 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 218

   regarding purported class members. Takata denies the allegations in Paragraph

   218 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          219.      The questions of law and fact common to the members of the

   Classes predominate over any questions affecting only individual members,

   including legal and factual issues relating to liability and damages.

          ANSWER: The allegations in Paragraph 219 call for a legal conclusion and

   characterize Plaintiffs’ purported claims, to which no response is required, and on

   that basis Takata denies these allegations. To the extent any response is required,

   Takata denies the allegations in Paragraph 219 and denies that this action is
                                             132
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1751    Page 133 of 262



   appropriate for class certification.



         220.       Class action treatment is a superior method for the fair and

   efficient adjudication of the controversy, in that, among other things, such

   treatment will permit a large number of similarly situated persons to prosecute

   their common claims in a single forum simultaneously, efficiently and without the

   unnecessary duplication of evidence, effort, and expense that numerous individual

   actions would engender. The benefits of proceeding through the class mechanism

   provide injured entities with a method for obtaining redress for claims that might

   not be practicable to pursue individually and substantially outweigh any difficulties

   that may arise in the management of this class action.

         ANSWER: The allegations in Paragraph 220 call for a legal conclusion and

   characterize Plaintiffs’ purported claims, to which no response is required, and on

   that basis Takata denies these allegations. To the extent any response is required,

   Takata denies the allegations in Paragraph 220 and denies that this action is

   appropriate for class certification.



         221.       The prosecution of separate actions by individual members of the

   Classes would create a risk of inconsistent or varying adjudications, establishing

   incompatible standards of conduct for Defendants.
                                           133
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                       PageID.1752    Page 134 of 262



         ANSWER: The allegations in Paragraph 221 call for a legal conclusion and

   characterize Plaintiffs’ purported claims, to which no response is required, and on

   that basis Takata denies these allegations. To the extent any response is required,

   Takata denies the allegations in Paragraph 221 and denies that this action is

   appropriate for class certification.



         222.       Defendants’ price-fixing conspiracy had the following effects,

   among others: (a) Price competition has been restrained or eliminated with respect

   to Occupant Safety Restraint Systems; (b) The prices of Occupant Safety Restraint

   Systems have been fixed, raised, maintained, or stabilized at artificially inflated

   levels; (c) Defendants charged purchasers of their Occupant Safety Restraint

   Systems inflated, fixed and stabilized prices for such Occupant Safety Restraint

   Systems; (d) Having paid higher prices for components of the cars they sold to

   Plaintiffs and the Classes and the Occupant Safety Restraint Systems they sold to

   Plaintiffs and the Classes, firms who sold Defendants’ Occupant Safety Restraint

   Systems and vehicles to Plaintiffs and the Classes passed Defendants’ overcharges

   on to them; (e) Defendants’ overcharges passed through each level of distribution

   as they traveled to Plaintiffs and the Classes; and (f) Automobile dealers

   purchasing Occupant Safety Restraint Systems and vehicles containing Occupant

   Safety Restraint Systems have been deprived of free and open competition.
                                          134
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                           PageID.1753     Page 135 of 262



         ANSWER:         Takata denies the allegations in Paragraph 222 to the extent

   they are directed at Takata or intended to reference actions taken by or on behalf of

   Takata. Takata denies that this action is appropriate for class certification, and

   Takata therefore denies all allegations in Paragraph 222 regarding purported class

   members. Takata denies the allegations in Paragraph 222 for lack of knowledge or

   information sufficient to form a belief as to their truth in all other respects.



         223.       During the Class Period, Plaintiffs and the members of the Classes

   paid supracompetitive prices for Occupant Safety Restraint Systems, as a result of

   Defendants’ conspiracy.

         ANSWER: Takata denies the allegations in Paragraph 223 to the extent

   they are directed at Takata or intended to reference actions taken by or on behalf of

   Takata. Takata denies that this action is appropriate for class certification, and

   Takata therefore denies all allegations in Paragraph 223 regarding purported class

   members. Takata denies the allegations in Paragraph 223 for lack of knowledge or

   information sufficient to form a belief as to their truth in all other respects.



         224.       An increase in the prices of Occupant Safety Restraint Systems

   caused an increase in the price of vehicles during the Class Period.

         ANSWER: Takata denies the allegations in Paragraph 224 to the extent
                                              135
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                           PageID.1754     Page 136 of 262



   they are directed at Takata or intended to reference actions taken by or on behalf of

   Takata. Takata denies the allegations in Paragraph 224 for lack of knowledge or

   information sufficient to form a belief as to their truth in all other respects.



          225.      The market for Occupant Safety Restraint Systems and the market

   for cars are inextricably linked and intertwined because the market for Occupant

   Safety Restraint Systems exists to serve the vehicle market. Without the vehicles,

   the Occupant Safety Restraint Systems have little to no value because they have no

   independent utility and must be inserted into vehicles to serve any function.

   Indeed, the demand for vehicles creates the demand for Occupant Safety Restraint

   Systems.

          ANSWER: Takata denies that there is a legally meaningful or cognizable

   “market for Occupant Safety Restraint Systems”, and denies the allegations in

   Paragraph 225 for lack of knowledge or information sufficient to form a belief as

   to their truth in all other respects.



          226.      Occupant Safety Restraint Systems are identifiable, discrete

   physical products that remain essentially unchanged when incorporated into a

   vehicle and are not altered during the manufacturing process. As a result, Occupant

   Safety Restraint Systems follow a traceable physical chain of distribution from the
                                              136
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                            PageID.1755   Page 137 of 262



   Defendants to Plaintiffs and the members of the Classes, and any costs attributable

   to Occupant Safety Restraint Systems can be traced through the chain of

   distribution to Plaintiffs and the members of the Classes.

         ANSWER:          Takata denies that this action is appropriate for class

   certification and denies the allegations in Paragraph 226.



         227.       Just as Occupant Safety Restraint Systems can be physically traced

   through the supply chain, so can their price be traced to show that changes in the

   prices paid by direct purchasers of Occupant Safety Restraint Systems affect prices

   paid by indirect purchasers of new motor vehicles containing Occupant Safety

   Restraint Systems.

         ANSWER: Takata denies the allegations in Paragraph 227.



         228.       Occupant Safety Restraint Systems have their own part numbers,

   which permit them to be tracked.

         ANSWER: Takata admits seat belts, airbags, steering wheels, and other

   products that may be encompassed in Plaintiffs’ term “Occupant Safety Restraint

   Systems” sometimes have part numbers, and denies the allegations in Paragraph

   228 in all other respects.



                                            137
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1756     Page 138 of 262



          229.      Occupant Safety Restraint Systems are pieces of sophisticated

   equipment that are necessary to operate a vehicle.

          ANSWER: Takata admits seat belts, airbags, steering wheels, and other

   products that may be encompassed in Plaintiffs’ term “Occupant Safety Restraint

   Systems” are sophisticated pieces of equipment. Takata admits steering wheels are

   necessary to operate a vehicle. Takata denies the allegations in Paragraph 229 for

   lack of knowledge or information sufficient to form a belief as to their truth.



          230.      Occupant Safety Restraint Systems are found in every modern

   vehicle and can be removed from a finished vehicle and replaced.

          ANSWER: Takata admits seat belts, airbags, steering wheels, and other

   products that may be encompassed in Plaintiffs’ term “Occupant Safety Restraint

   Systems” can be removed from a finished vehicle and replaced and denies the

   allegations in Paragraph 230 for lack of knowledge or information sufficient to

   form a belief as to their truth in all other respects.



          231.      The Occupant Safety Restraint Systems subject to Defendants’

   conspiracy and at issue in this lawsuit only have one use: to be inserted into

   vehicles. Whether Occupant Safety Restraint Systems are sold by themselves or in

   vehicles, their purpose is to be inserted into vehicles to protect drivers and
                                              138
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1757     Page 139 of 262



   passengers from bodily harm.

         ANSWER: Takata denies that it was involved in the conspiracy as alleged

   in Plaintiffs’ complaint and denies the allegations in the first sentence of Paragraph

   231 to the extent they are directed at Takata or intended to reference actions taken

   by or on behalf of Takata, and denies the allegations in the first sentence of

   Paragraph 231 for lack of knowledge or information sufficient to form a belief as

   to their truth in all other respects. Takata admits that seat belts, airbags, steering

   wheels, and other products that may be encompassed in Plaintiffs’ term “Occupant

   Safety Restraint Systems” are automotive parts with specific functions, some of

   which relate to occupant safety, and denies the allegations in Paragraph 231 in all

   other respects.



         232.        Occupant Safety Restraint Systems comprise a not insignificant

   portion of the cost of a vehicle.

         ANSWER: Takata denies the allegations in Paragraph 232 for lack of

   knowledge or information sufficient to form a belief as to their truth.



         233.        The purpose of the conspiratorial conduct of the Defendants and

   their coconspirators was to raise, fix, rig, or stabilize the price of Occupant Safety

   Restraint Systems and, as a direct and foreseeable result, the price of new motor
                                            139
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1758    Page 140 of 262



   vehicles containing Occupant Safety Restraint Systems and the price of Occupant

   Safety Restraint Systems purchased for repair purposes. Economists have

   developed techniques to isolate and understand the relationship between one

   “explanatory” variable and a “dependent” variable in those cases when changes in

   the dependent variable are explained by changes in a multitude of variables, even

   when all such variables may be changing simultaneously. That analysis—called

   regression analysis—is commonly used in the real world and in litigation to

   determine the impact of a price increase on one cost in a product or service that is

   an assemblage of costs. Thus, it is possible to isolate and identify only the impact

   of an increase in the price of Occupant Safety Restraint Systems on prices for new

   motor vehicles even though such products contain a number of other components

   whose prices may be changing over time. A regression model can explain how

   variation in the price of Occupant Safety Restraint Systems affects changes in the

   price of new motor vehicles. In such models, the price of Occupant Safety

   Restraint Systems would be treated as an independent or explanatory variable. The

   model can isolate how changes in the price of Occupant Safety Restraint Systems

   impact the price of new motor vehicles containing Occupant Safety Restraint

   Systems while controlling for the impact of other price-determining factors.

         ANSWER: Takata denies that it was involved in the conspiracy as alleged

   in Plaintiffs’ complaint and denies the allegations in the first sentence of Paragraph
                                            140
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1759     Page 141 of 262



   233 to the extent they are directed at Takata or intended to reference actions taken

   by or on behalf of Takata and denies the allegations in the first sentence of

   Paragraph 233 for lack of knowledge or information sufficient to form a belief as

   to their truth in all other respects. Takata denies the allegations in Paragraph 233

   in all other respects.



          234.      The precise amount of the overcharge impacting the prices of new

   motor vehicles containing Occupant Safety Restraint Systems can be measured and

   quantified. Commonly used and well-accepted economic models can be used to

   measure both the extent and the amount of the supra-competitive charge passed

   through the chain of distribution. Thus, the economic harm to Plaintiffs and

   members of the Classes can be quantified.

          ANSWER: Takata denies the allegations in Paragraph 234 for lack of

   knowledge or information sufficient to form a belief as to their truth.



          235.      By reason of the alleged violations of the antitrust laws, Plaintiffs

   and the members of the Classes have sustained injury to their businesses or

   property, having paid higher prices for Occupant Safety Restraint Systems than

   they would have paid in the absence of Defendants’ illegal contract, combination,

   or conspiracy, and, as a result, have suffered damages in an amount presently
                                            141
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1760     Page 142 of 262



   undetermined. This is an antitrust injury of the type that the antitrust laws were

   meant to punish and prevent and Plaintiffs’ and Class members’ damages are

   measureable.

         ANSWER: The allegations in Paragraph 235 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 235

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 235 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations for lack of

   knowledge or information sufficient to form a belief as to their truth in all other

   respects.



         236.      Plaintiffs repeat and reallege the allegations set forth above.

         ANSWER: Takata incorporates by reference its responses set forth above

   and adopts the same as though fully set forth herein.



         237.      Plaintiffs and the members of the Classes had no knowledge of the

   combination or conspiracy alleged herein, or of facts sufficient to place them on
                                            142
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1761    Page 143 of 262



   inquiry notice of the claims set forth herein, until the public announcements of

   Autoliv’s agreement to plead guilty, on June 6, 2012. Plaintiffs and Class members

   did not have knowledge of Toyoda Gosei’s participation in the conspiracy until

   September, 2014, when the DOJ announced that Toyoda Gosei had agreed to plead

   guilty to participating in the OSS conspiracy.

          ANSWER: The allegations in Paragraph 237 call for a legal conclusion, to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 237

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 237 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   237 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          238.      Plaintiffs and the members of the Classes are automobile dealers

   who purchased automobiles or purchased Occupant Safety Restraint Systems to

   replace or repair damaged or defective Occupant Safety Restraint Systems.

          ANSWER:           Takata denies that this action is appropriate for class
                                            143
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1762    Page 144 of 262



   certification, and Takata therefore denies all allegations in Paragraph 238 regarding

   purported class members. Takata denies the allegations in Paragraph 238 for lack

   of knowledge or information sufficient to form a belief as to their truth in all other

   respects.



         239.      They had no direct contact or interaction with any of the

   Defendants in this case and had no means from which they could have discovered

   the combination and conspiracy described in this Complaint before the public

   announcements of Autoliv’s agreement to plead guilty, on June 6, 2012 or the

   participation of Toyoda Gosei before September, 2014.

         ANSWER:         Takata denies that this action is appropriate for class

   certification, and Takata therefore denies all allegations in Paragraph 239 regarding

   purported class members. Takata denies that it was involved in the conspiracy as

   alleged in Plaintiffs’ complaint and denies the allegations in Paragraph 239 to the

   extent they are directed at Takata or intended to reference actions taken by or on

   behalf of Takata. Takata denies the allegations in Paragraph 239 for lack of

   knowledge or information sufficient to form a belief as to their truth in all other

   respects.



         240.      No information in the public domain was available to the Plaintiffs
                                            144
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1763     Page 145 of 262



   and the members of the Classes prior to the public announcements of Autoliv’s

   agreement to plead guilty, on June 6, 2012, that revealed sufficient information to

   suggest that any one of the Defendants was involved in a criminal conspiracy to

   price-fix and rig bids for Occupant Safety Restraint Systems. Plaintiffs and the

   members of the Classes had no means of obtaining any facts or information

   concerning any aspect of Defendants’ dealings with OEMs or other direct

   purchasers, much less the fact that they had engaged in the combination and

   conspiracy alleged herein.

         ANSWER:         Takata denies that this action is appropriate for class

   certification, and Takata therefore denies all allegations in Paragraph 240 regarding

   purported class members. Takata denies that it was involved in the conspiracy as

   alleged in Plaintiffs’ complaint and denies the allegations in Paragraph 240 to the

   extent they are directed at Takata or intended to reference actions taken by or on

   behalf of Takata. Takata denies the allegations in Paragraph 240 for lack of

   knowledge or information sufficient to form a belief as to their truth in all other

   respects.



         241.      For these reasons, the statute of limitations as to Plaintiffs’ and the

   Classes’ claims did not begin to run, and has been tolled with respect to the claims

   that Plaintiffs and the members of the Classes have alleged in this Complaint.
                                            145
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1764    Page 146 of 262



          ANSWER: The allegations in Paragraph 241 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 241

   regarding purported class members. Takata denies the allegations in Paragraph

   241 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          242.      In the alternative, application of the doctrine of fraudulent

   concealment tolled the statute of limitations on the claims asserted herein by

   Plaintiffs and the Classes. Plaintiffs and the members of the Classes did not

   discover, and could not discover through the exercise of reasonable diligence, the

   existence of the conspiracy alleged herein until the public announcement of

   Autoliv’s agreement to plead guilty, on June 6, 2012. Plaintiffs and Class members

   could not have discovered Toyoda Gosei’s participation in the conspiracy, until

   September, 2014.

          ANSWER: The allegations in Paragraph 242 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 242
                                            146
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1765    Page 147 of 262



   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 242 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   242 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          243.      Because Defendants’ agreements, understandings, and conspiracies

   were kept secret until June 6, 2012, Plaintiffs and members of the Classes before

   that time were unaware of Defendants’ unlawful conduct, and they did not know

   before then that they were paying supracompetitive prices for Occupant Safety

   Restraint Systems throughout the United States during the Class Period.

          ANSWER: The allegations in Paragraph 243 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 243

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 243 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph
                                            147
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1766    Page 148 of 262



   243 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          244.      Defendants had secret communications to collusively fix prices, rig

   bids and allocate markets for Occupant Safety Restraint Systems.

          ANSWER: Takata denies that there is a legally meaningful or cognizable

   “market for Occupant Safety Restraint Systems.”          Takata denies that it was

   involved in the conspiracy as alleged in Plaintiffs’ complaint and denies the

   allegations in Paragraph 244 to the extent they are directed at Takata or intended to

   reference actions taken by or on behalf of Takata. Takata denies the allegations in

   Paragraph 244 for lack of knowledge or information sufficient to form a belief as

   to their truth in all other respects.



          245.      Defendants also concealed their conspiracy by submitting bids to

   OEMs, to give the appearance of competition, despite having already determined,

   among themselves, who would win each bid.

          ANSWER: Takata denies that it was involved in the conspiracy as alleged

   in Plaintiffs’ complaint and denies the allegations in Paragraph 245 to the extent

   they are directed at Takata or intended to reference actions taken by or on behalf of

   Takata. Takata denies the allegations in Paragraph 245 for lack of knowledge or
                                            148
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                           PageID.1767     Page 149 of 262



   information sufficient to form a belief as to their truth in all other respects.



          246.      The affirmative acts of the Defendants alleged herein, including

   acts in furtherance of the conspiracy, were wrongfully concealed and carried out in

   a manner that precluded detection.

          ANSWER: The allegations in Paragraph 246 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 246 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   246 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          247.      By its very nature, Defendants’ anticompetitive conspiracy was

   inherently selfconcealing. Occupant Safety Restraint Systems are not exempt from

   antitrust regulation, and thus, before June 6, 2012, Plaintiffs reasonably considered

   it to be a competitive industry. Accordingly, a reasonable person under the

   circumstances would not have been alerted to begin to investigate the legitimacy of

   Defendants’ Occupant Safety Restraint Systems’ prices before June 6, 2012 and a
                                              149
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1768    Page 150 of 262



   reasonable person would not have been alerted to file claims against Toyoda Gosei

   until September 2014.

          ANSWER: The allegations in Paragraph 247 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 247 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   247 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          248.      Plaintiffs and the members of the Classes could not have

   discovered the alleged contract, conspiracy, or combination at an earlier date by

   the exercise of reasonable diligence because of the deceptive practices and

   techniques of secrecy employed by the Defendants and their co-conspirators to

   avoid detection of, and fraudulently conceal, their contract, combination, or

   conspiracy.

          ANSWER: The allegations in Paragraph 248 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate
                                            150
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1769    Page 151 of 262



   for class certification, and Takata therefore denies all allegations in Paragraph 248

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 248 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   248 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          249.      Because the alleged conspiracy was both self-concealing and

   affirmatively concealed by Defendants and their co-conspirators, Plaintiffs and

   members of the Classes had no knowledge of the alleged conspiracy, or of any

   facts or information that would have caused a reasonably diligent person to

   investigate whether a conspiracy existed, until June 6, 2012, when the DOJ

   announced that Autoliv had agreed to plead guilty to the conspiracy. Plaintiffs and

   members of the Classes had no knowledge of Toyoda Gosei’s participation in the

   conspiracy, or of any facts or information that would have caused a reasonably

   diligent person to investigate whether it had participated in the conspiracy until

   September 2014.

          ANSWER: The allegations in Paragraph 249 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.
                                            151
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1770    Page 152 of 262



   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 249

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the remaining allegations

   in Paragraph 249 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   249 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          250.      As a result of Defendants’ fraudulent concealment of their

   conspiracy, the running of any statute of limitations has been tolled with respect to

   any claims that Plaintiffs and the members of the Classes have alleged in this

   Complaint.

          ANSWER: The allegations in Paragraph 250 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 250

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the remaining allegations

   in Paragraph 250 to the extent they are directed at Takata or intended to reference
                                            152
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1771    Page 153 of 262



   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   250 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          251.      Defendants and unnamed conspirators entered into and engaged in

   a contract, combination, or conspiracy in unreasonable restraint of trade in

   violation of Section 1 of the Sherman Act (15 U.S.C. § 1).

          ANSWER: The allegations in Paragraph 251 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 251 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   251 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          252.      The acts done by each of the Defendants as part of, and in

   furtherance of, their contract, combination, or conspiracy were authorized, ordered,

   or done by their officers, agents, employees, or representatives while actively

   engaged in the management of Defendants’ affairs.
                                            153
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                            PageID.1772     Page 154 of 262



       ANSWER: Takata denies that it was involved in the conspiracy as alleged in

   Plaintiffs’ complaint and denies the allegations in Paragraph 252 to the extent they

   are directed at Takata or intended to reference actions taken by or on behalf of

   Takata. Takata denies the allegations in Paragraph 252 for lack of knowledge or

   information sufficient to form a belief as to their truth in all other respects.



         253.       At least as early as January 2003, and continuing until at least the

   filing of this Complaint, the exact dates being unknown to Plaintiffs, Defendants

   and their co-conspirators entered into a continuing agreement, understanding, and

   conspiracy in restraint of trade to artificially fix, raise, stabilize, and control prices

   for Occupant Safety Restraint Systems, thereby creating anticompetitive effects.

         ANSWER: Takata denies that it was involved in the conspiracy as alleged

   in Plaintiffs’ complaint and denies the allegations in Paragraph 253 to the extent

   they are directed at Takata or intended to reference actions taken by or on behalf of

   Takata. Takata denies the allegations in Paragraph 253 for lack of knowledge or

   information sufficient to form a belief as to their truth in all other respects.



         254.       The anticompetitive acts were intentionally directed at the United

   States market for Occupant Safety Restraint Systems and had a substantial and

   foreseeable effect on interstate commerce by raising and fixing prices for Occupant
                                              154
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                           PageID.1773   Page 155 of 262



   Safety Restraint Systems throughout the United States.

          ANSWER: The allegations in Paragraph 254 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that there is a legally

   meaningful or cognizable “market for Occupant Safety Restraint Systems,” denies

   that it was involved in the conspiracy as alleged in Plaintiffs’ complaint and denies

   the remaining allegations in Paragraph 254 to the extent they are directed at Takata

   or intended to reference actions taken by or on behalf of Takata. Takata denies the

   allegations in Paragraph 254 for lack of knowledge or information sufficient to

   form a belief as to their truth in all other respects.



          255.      The    conspiratorial     acts   and    combinations   have   caused

   unreasonable restraints in the market for Occupant Safety Restraint Systems.

          ANSWER: The allegations in Paragraph 255 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that there is a legally

   meaningful or cognizable “market for Occupant Safety Restraint Systems,” denies

   that it was involved in the conspiracy as alleged in Plaintiffs’ complaint and denies

   the remaining allegations in Paragraph 255 to the extent they are directed at Takata

   or intended to reference actions taken by or on behalf of Takata. Takata denies the
                                              155
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1774    Page 156 of 262



   allegations in Paragraph 255 for lack of knowledge or information sufficient to

   form a belief as to their truth in all other respects.



          256.      As a result of Defendants’ unlawful conduct, Plaintiffs and other

   similarly situated indirect purchasers in the Nationwide Class who purchased

   Occupant Safety Restraint Systems have been harmed by being forced to pay

   inflated, supracompetitive prices for Occupant Safety Restraint Systems and

   vehicles containing Occupant Safety Restraint Systems.

          ANSWER: The allegations in Paragraph 256 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 256

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 256 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   256 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          257.      In formulating and carrying out the alleged agreement,
                                              156
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                           PageID.1775     Page 157 of 262



   understanding, and conspiracy, Defendants and their co-conspirators did those

   things that they combined and conspired to do, including but not limited to the

   acts, practices, and course of conduct set forth herein.

       ANSWER: Takata denies that it was involved in the conspiracy as alleged in

   Plaintiffs’ complaint and denies the allegations in Paragraph 257 to the extent they

   are directed at Takata or intended to reference actions taken by or on behalf of

   Takata. Takata denies the allegations in Paragraph 257 for lack of knowledge or

   information sufficient to form a belief as to their truth in all other respects.



         258.       Defendants’ conspiracy had the following effects, among others:

   (a) Price competition in the market for Occupant Safety Restraint Systems has

   been restrained, suppressed, and/or eliminated in the United States; (b) Prices for

   Occupant Safety Restraint Systems sold by Defendants and their coconspirators

   have been fixed, raised, maintained, and stabilized at artificially high,

   noncompetitive levels throughout the United States; (c) Prices for vehicles

   purchased by Plaintiffs and the members of the Nationwide Class containing

   Occupant Safety Restraint Systems manufactured by Defendants and their

   coconspirators were inflated; and (d) Plaintiffs and members of the Nationwide

   Class who purchased Occupant Safety Restraint Systems indirectly from

   Defendants have been deprived of the benefits of free and open competition.
                                              157
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1776    Page 158 of 262



          ANSWER: Takata denies that there is a legally meaningful or cognizable

   “market for Occupant Safety Restraint Systems.”         Takata denies that it was

   involved in the conspiracy as alleged in Plaintiffs’ complaint and denies the

   allegations in Paragraph 258 to the extent they are directed at Takata or intended to

   reference actions taken by or on behalf of Takata. Takata denies that this action is

   appropriate for class certification, and Takata therefore denies all allegations in

   Paragraph 258 regarding purported class members. Takata denies the allegations

   in Paragraph 258 for lack of knowledge or information sufficient to form a belief

   as to their truth in all other respects.



          259.      Plaintiffs and members of the Nationwide Class have been injured

   and will continue to be injured in their business and property by paying more for

   Occupant Safety Restraint Systems and vehicles containing Occupant Safety

   Restraint Systems than they would have paid and will pay in the absence of the

   conspiracy.

          ANSWER:          Takata denies that this action is appropriate for class

   certification, and Takata therefore denies all allegations in Paragraph 259 regarding

   purported class members. Takata denies that it was involved in the conspiracy as

   alleged in Plaintiffs’ complaint and denies the allegations in Paragraph 259 to the

   extent they are directed at Takata or intended to reference actions taken by or on
                                              158
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1777     Page 159 of 262



   behalf of Takata. Takata denies the allegations in Paragraph 259 for lack of

   knowledge or information sufficient to form a belief as to their truth.



         260.      Plaintiffs and members of the Nationwide Class will continue to be

   subject to Defendants’ price-fixing, bid-rigging, and market allocations, which will

   deprive Plaintiffs and members of the Nationwide Class of the benefits of free

   competition, including competitively priced Occupant Safety Restraint Systems

   and vehicles containing Occupant Safety Restraint Systems.

         ANSWER:         Takata denies that this action is appropriate for class

   certification, and Takata therefore denies all allegations in Paragraph 260 regarding

   purported class members. Takata denies that it was involved in the conspiracy as

   alleged in Plaintiffs’ complaint and denies the allegations in Paragraph 260 to the

   extent they are directed at Takata or intended to reference actions taken by or on

   behalf of Takata. Takata denies the allegations in Paragraph 260 for lack of

   knowledge or information sufficient to form a belief as to their truth in all other

   respects.



         261.      Plaintiffs and members of the Nationwide Class will continue to

   lose funds due to overpayment for Occupant Safety Restraint Systems and vehicles

   containing Occupant Safety Restraint Systems because they are required to
                                            159
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1778    Page 160 of 262



   purchase vehicles and Occupant Safety Restraint Systems to continue to operate

   their businesses.

         ANSWER:         Takata denies that this action is appropriate for class

   certification, and Takata therefore denies all allegations in Paragraph 261 regarding

   purported class members. Takata denies that it was involved in the conspiracy as

   alleged in Plaintiffs’ complaint and denies the allegations in Paragraph 261 to the

   extent they are directed at Takata or intended to reference actions taken by or on

   behalf of Takata. Takata denies the allegations in Paragraph 261 for lack of

   knowledge or information sufficient to form a belief as to their truth in all other

   respects.



         262.      Plaintiffs and members of the Nationwide Class continue to

   purchase vehicles and Occupant Safety Restraint Systems, on a regular basis.

         ANSWER:         Takata denies that this action is appropriate for class

   certification, and Takata therefore denies all allegations in Paragraph 262 regarding

   purported class members. Takata denies the allegations in Paragraph 262 for lack

   of knowledge or information sufficient to form a belief as to their truth in all other

   respects.



         263.      Vehicles and Occupant Safety Restraint Systems continue to be
                                            160
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                           PageID.1779     Page 161 of 262



   sold at inflated and supracompetitive prices.

          ANSWER: Takata denies that it was involved in the conspiracy as alleged

   in Plaintiffs’ complaint and denies the allegations in Paragraph 263 to the extent

   they are directed at Takata or intended to reference actions taken by or on behalf of

   Takata. Takata denies the allegations in Paragraph 263 for lack of knowledge or

   information sufficient to form a belief as to their truth in all other respects.



          264.      The alleged contract, combination, or conspiracy is a per se

   violation of the federal antitrust laws.

          ANSWER: The allegations in Paragraph 264 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 264 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   264 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          265.      Plaintiffs and members of the Nationwide Class will be at the

   mercy of Defendants’ unlawful conduct until the Court orders an injunction.
                                              161
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1780    Page 162 of 262



         ANSWER:         Takata denies that this action is appropriate for class

   certification, and Takata therefore denies all allegations in Paragraph 265 regarding

   purported class members. Takata denies that it was involved in the conspiracy as

   alleged in Plaintiffs’ complaint and denies the allegations in Paragraph 265 to the

   extent they are directed at Takata or intended to reference actions taken by or on

   behalf of Takata. Takata denies the allegations in Paragraph 265 for lack of

   knowledge or information sufficient to form a belief as to their truth in all other

   respects.



         266.      Plaintiffs and members of the Nationwide Class are entitled to an

   injunction against Defendants preventing and restraining the violations alleged

   herein.

         ANSWER: The allegations in Paragraph 266 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 266

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 266 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph
                                           162
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1781    Page 163 of 262



   266 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          267.      Plaintiffs incorporate by reference the allegations in the preceding

   paragraphs.

          ANSWER: Takata incorporates by reference its responses set forth above

   and adopts the same as though fully set forth herein.



          268.      From as early as January 2003 until at least the filing of this

   Complaint, Defendants and their co-conspirators engaged in a continuing contract,

   combination, or conspiracy with respect to the sale of Occupant Safety Restraint

   Systems in unreasonable restraint of trade and commerce and in violation of the

   various state antitrust statutes set forth below.

          ANSWER: The allegations in Paragraph 268 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 268 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   268 for lack of knowledge or information sufficient to form a belief as to their truth
                                              163
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1782    Page 164 of 262



   in all other respects.



          269.      The contract, combination, or conspiracy consisted of an

   agreement among the Defendants and their co-conspirators to fix, raise, inflate,

   stabilize and/or maintain artificially supracompetitive prices for Occupant Safety

   Restraint Systems, to rig bids for the sale of Occupant Safety Restraint Systems

   and to allocate customers for Occupant Safety Restraint Systems in the United

   States.

          ANSWER: The allegations in Paragraph 269 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 269 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   269 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          270.      In formulating and effectuating this conspiracy, Defendants and

   their coconspirators performed acts in furtherance of the combination and

   conspiracy, including: (a) participating in meetings and conversations among
                                            164
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1783    Page 165 of 262



   themselves in the United States and elsewhere during which they agreed to price

   Occupant Safety Restraint Systems at certain levels, and otherwise to fix, increase,

   inflate, maintain, or stabilize effective prices paid by Plaintiffs and members of the

   Damages Class with respect to Occupant Safety Restraint Systems sold in the

   United States; (b) allocating customers and markets for Occupant Safety Restraint

   Systems in the United States in furtherance of their agreements; and (c)

   participating in meetings and conversations among themselves in the United States

   and elsewhere to implement, adhere to, and police the unlawful agreements they

   reached.

          ANSWER: The allegations in Paragraph 270 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that there is a legally

   meaningful or cognizable “market for Occupant Safety Restraint Systems,” denies

   that it was involved in the conspiracy as alleged in Plaintiffs’ complaint and denies

   the allegations in Paragraph 270 to the extent they are directed at Takata or

   intended to reference actions taken by or on behalf of Takata. Takata denies the

   allegations in Paragraph 270 for lack of knowledge or information sufficient to

   form a belief as to their truth in all other respects.



          271.      Defendants and their co-conspirators engaged in the actions
                                              165
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1784    Page 166 of 262



   described above for the purpose of carrying out their unlawful agreements to fix,

   maintain, decrease, or stabilize prices and to allocate customers with respect to

   Occupant Safety Restraint Systems.

          ANSWER: The allegations in Paragraph 271 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 271 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   271 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          272.      Defendants’ anticompetitive acts described above were knowing,

   willful, and constitute violations or flagrant violations of the following state

   antitrust statutes.

          ANSWER: The allegations in Paragraph 272 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 272 to the extent they are directed at Takata or intended to reference
                                            166
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1785    Page 167 of 262



   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   272 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          273.      Defendants have entered into an unlawful agreement in restraint of

   trade in violation of the Arizona Revised Statutes, §§ 44-1401, et seq. (a)

   Defendants’ combinations or conspiracies had the following effects: (1) Occupant

   Safety Restraint Systems price competition was restrained, suppressed, and

   eliminated throughout Arizona; (2) Occupant Safety Restraint Systems prices were

   raised, fixed, maintained, and stabilized at artificially high levels throughout

   Arizona; (3) Plaintiffs and members of the Damages Class were deprived of free

   and open competition; and (4) Plaintiffs and members of the Damages Class paid

   supracompetitive, artificially inflated prices for Occupant Safety Restraint Systems

   and vehicles containing Occupant Safety Restraint Systems. (b) During the Class

   Period, Defendants’ illegal conduct substantially affected Arizona commerce. (c)

   As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

   members of the Damages Class have been injured in their business and property

   and are threatened with further injury.

          ANSWER: The allegations in Paragraph 273 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.
                                             167
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1786    Page 168 of 262



   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 273

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 273 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   273 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          274.      Defendants have entered into an unlawful agreement in restraint of

   trade in violation of the California Business and Professions Code, §§ 16700, et

   seq. (a) During the Class Period, Defendants and their co-conspirators entered into

   and engaged in a continuing unlawful trust in restraint of the trade and commerce

   described above in violation of Section 16720 of the California Business and

   Professions Code. Defendants, each of them, have acted in violation of Section

   16720 to fix, raise, stabilize, and maintain prices of, and allocate markets for,

   Occupant Safety Restraint Systems at supracompetitive levels. (b) The aforesaid

   violations of Section 16720, California Business and Professions Code, consisted,

   without limitation, of a continuing unlawful trust and concert of action among the

   Defendants and their co-conspirators the substantial terms of which were to fix,
                                            168
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1787    Page 169 of 262



   raise, maintain, and stabilize the prices of, and to allocate markets for, Occupant

   Safety Restraint Systems. (c) For the purpose of forming and effectuating the

   unlawful trust, the Defendants and their co-conspirators have done those things

   which they combined and conspired to do, including but in no way limited to the

   acts, practices and course of conduct set forth above and the following: (1) Fixing,

   raising, stabilizing, and pegging the price of Occupant Safety Restraint Systems;

   and (2) Allocating among themselves the production of Occupant Safety Restraint

   Systems. (d) The combination and conspiracy alleged herein has had, inter alia, the

   following effects upon the commerce of California: (1) Price competition in the

   sale of Occupant Safety Restraint Systems has been restrained, suppressed, and/or

   eliminated in the State of California; (2) Prices for Occupant Safety Restraint

   Systems sold by Defendants and their co-conspirators have been fixed, raised,

   stabilized, and pegged at artificially high, non-competitive levels in the State of

   California and throughout the United States; and (3) Those who purchased

   Occupant Safety Restraint Systems or vehicles containing Occupant Safety

   Restraint Systems manufactured by Defendants and their co-conspirators have

   been deprived of the benefit of free and open competition. (e) As a direct and

   proximate result of Defendants’ unlawful conduct, Plaintiffs and members of the

   Damages Class have been injured in their business and property in that they paid

   more for Occupant Safety Restraint Systems than they otherwise would have paid
                                           169
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1788    Page 170 of 262



   in the absence of Defendants’ unlawful conduct. As a result of Defendants’

   violation of Section 16720 of the California Business and Professions Code,

   Plaintiffs and members of the Damages Class seek treble damages and their cost of

   suit, including a reasonable attorney’s fee, pursuant to Section 16750(a) of the

   California Business and Professions Code.

          ANSWER: The allegations in Paragraph 274 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 274

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 274 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   274 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          275.      Defendants have entered into an unlawful agreement in restraint of

   trade in violation of the District of Columbia Official Code §§ 28-4501, et seq. (a)

   Defendants’ combinations or conspiracies had the following effects: (1) Occupant

   Safety Restraint Systems price competition was restrained, suppressed, and
                                            170
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                       PageID.1789    Page 171 of 262



   eliminated throughout the District of Columbia; (2) Occupant Safety Restraint

   Systems prices were raised, fixed, maintained, and stabilized at artificially high

   levels throughout the District of Columbia; (3) Plaintiffs and members of the

   Damages Class, including those who resided in the District of Columbia and/or

   purchased Occupant Safety Restraint Systems or vehicles in the District of

   Columbia, were deprived of free and open competition, including in the District of

   Columbia; and (4) Plaintiffs and members of the Damages Class, including those

   who resided in the District of Columbia and/or purchased Occupant Safety

   Restraint Systems or vehicles in the District of Columbia, paid supracompetitive,

   artificially inflated prices for Occupant Safety Restraint Systems and vehicles

   containing Occupant Safety Restraint Systems, including in the District of

   Columbia. (b) During the Class Period, Defendants’ illegal conduct substantially

   affected District of Columbia commerce. (c) As a direct and proximate result of

   Defendants’ unlawful conduct, Plaintiffs and members of the Damages Class have

   been injured in their business and property and are threatened with further injury.

   (d) By reason of the foregoing, Defendants have entered into agreements in

   restraint of trade in violation of District of Columbia Code Ann. §§ 28-4501, et

   seq. Accordingly, Plaintiffs and members of the Damages Class seek all forms of

   relief available under District of Columbia Code Ann. §§ 28-4501, et seq.

         ANSWER: The allegations in Paragraph 275 call for a legal conclusion to
                                          171
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1790    Page 172 of 262



   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 275

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 275 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   275 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          276.      Defendants have entered into an unlawful agreement in restraint of

   trade in violation of the Hawaii Revised Statutes Annotated §§ 480-1, et seq. (a)

   Defendants’ unlawful conduct had the following effects: (1) Occupant Safety

   Restraint Systems’ price competition was restrained, suppressed, and eliminated

   throughout Hawaii; (2) Occupant Safety Restraint Systems’ prices were raised,

   fixed, maintained, and stabilized at artificially high levels throughout Hawaii; (3)

   Plaintiff and members of the Damages Class were deprived of free and open

   competition; and (4) Plaintiff and members of the Damages Class paid

   supracompetitive, artificially inflated prices for Occupant Safety Restraint Systems

   and vehicles containing Occupant Safety Restraint Systems. (b) During the Class
                                            172
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1791    Page 173 of 262



   Period, Defendants’ illegal conduct substantially affected Hawaii commerce. (c)

   As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff and

   members of the Damages Class have been injured in their business and property

   and are threatened with further injury.

          (d) By reason of the foregoing, Defendants have entered into agreements in

   restraint of trade in violation of Hawaii Revised Statutes Annotated §§ 480-4, et

   seq. Accordingly, Plaintiffs and members of the Damages Class seek all forms of

   relief available under Hawaii Revised Statutes Annotated §§ 480-4, et seq.

          ANSWER: The allegations in Paragraph 276 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 276

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 276 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   276 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          277.      Defendants have entered into an unlawful agreement in restraint of
                                             173
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1792    Page 174 of 262



   trade in violation of the Iowa Code §§ 553.1, et seq.

         (a) Defendants’ combinations or conspiracies had the following effects: (1)

   Occupant Safety Restraint Systems price competition was restrained, suppressed,

   and eliminated throughout Iowa; (2) Occupant Safety Restraint Systems prices

   were raised, fixed, maintained, and stabilized at artificially high levels throughout

   Iowa; (3) Plaintiffs and members of the Damages Class were deprived of free and

   open competition; and (4) Plaintiffs and members of the Damages Class paid

   supracompetitive, artificially inflated prices for Occupant Safety Restraint Systems

   and vehicles containing Occupant Safety Restraint Systems.

         (b) During the Class Period, Defendants’ illegal conduct substantially

   affected Iowa commerce.

         (c) As a direct and proximate result of Defendants’ unlawful conduct,

   Plaintiffs and members of the Damages Class have been injured in their business

   and property and are threatened with further injury.

         (d) By reason of the foregoing, Defendants have entered into agreements in

   restraint of trade in violation of Iowa Code §§ 553.1, et seq. Accordingly, Plaintiffs

   and members of the Damages Class seek all forms of relief available under Iowa

   Code §§ 553.1, et seq.

         ANSWER: The allegations in Paragraph 277 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.
                                            174
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1793    Page 175 of 262



   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 277

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 277 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   277 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          278.      Defendants have entered into an unlawful agreement in restraint of

   trade in violation of the Kansas Statutes Annotated, §§ 50-101, et seq. (b)

   Defendants’ combinations or conspiracies had the following effects: (1) Occupant

   Safety Restraint Systems price competition was restrained, suppressed, and

   eliminated throughout Kansas; (2) Occupant Safety Restraint Systems prices were

   raised, fixed, maintained, and stabilized at artificially high levels throughout

   Kansas; (3) Plaintiffs and members of the Damages Class were deprived of free

   and open competition; and (4) Plaintiffs and members of the Damages Class paid

   supracompetitive, artificially inflated prices for Occupant Safety Restraint Systems

   and vehicles containing Occupant Safety Restraint Systems.

   (c) During the Class Period, Defendants’ illegal conduct substantially affected
                                            175
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1794    Page 176 of 262



   Kansas commerce. (d) As a direct and proximate result of Defendants’ unlawful

   conduct, Plaintiffs and members of the Damages Class have been injured in their

   business and property and are threatened with further injury. (e) By reason of the

   foregoing, Defendants have entered into agreements in restraint of trade in

   violation of Kansas Stat. Ann. §§ 50-101, et seq. Accordingly, Plaintiffs and

   members of the Damages Class seek all forms of relief available under Kansas

   Stat. Ann. §§ 50-101, et seq.

          ANSWER: The allegations in Paragraph 278 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 278

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 278 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   278 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          279.      Defendants have entered into an unlawful agreement in restraint of

   trade in violation of the Maine Revised Statutes, Maine Rev. Stat. Ann. 10, §§
                                            176
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1795    Page 177 of 262



   1101, et seq.

         (a) Defendants’ combinations or conspiracies had the following effects: (1)

   Occupant Safety Restraint Systems price competition was restrained, suppressed,

   and eliminated throughout Maine; (2) Occupant Safety Restraint Systems prices

   were raised, fixed, maintained, and stabilized at artificially high levels throughout

   Maine; (3) Plaintiffs and members of the Damages Class were deprived of free and

   open competition: and (4) Plaintiffs and members of the Damages Class paid

   supracompetitive, artificially inflated prices for Occupant Safety Restraint Systems

   and vehicles containing Occupant Safety Restraint Systems.

         (b) During the Class Period, Defendants’ illegal conduct substantially

   affected Maine commerce.

         (c) As a direct and proximate result of Defendants’ unlawful conduct,

   Plaintiffs and members of the Damages Class have been injured in their business

   and property and are threatened with further injury.

         (d) By reason of the foregoing, Defendants have entered into agreements in

   restraint of trade in violation of Maine Rev. Stat. Ann. 10, §§ 1101, et seq.

   Accordingly, Plaintiffs and members of the Damages Class seek all relief available

   under Maine Rev. Stat. Ann. 10. §§ 1101, et seq.

         ANSWER: The allegations in Paragraph 279 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.
                                           177
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1796    Page 178 of 262



   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 279

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 279 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   279 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          280.      Defendants have entered into an unlawful agreement in restraint of

   trade in violation of the Michigan Compiled Laws Annotated §§ 445.771, et seq.

          (a) Defendants’ combinations or conspiracies had the following effects: (1)

   Occupant Safety Restraint Systems price competition was restrained, suppressed,

   and eliminated throughout Michigan; (2) Occupant Safety Restraint Systems prices

   were raised, fixed, maintained, and stabilized at artificially high levels throughout

   Michigan; (3) Plaintiffs and members of the Damages Class were deprived of free

   and open competition; and (4) Plaintiffs and members of the Damages Class paid

   supracompetitive, artificially inflated prices for Occupant Safety Restraint Systems

   and vehicles containing Occupant Safety Restraint Systems.

          (b) During the Class Period, Defendants’ illegal conduct substantially
                                            178
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1797    Page 179 of 262



   affected Michigan commerce.

          (c) As a direct and proximate result of Defendants’ unlawful conduct,

   Plaintiffs and members of the Damages Class have been injured in their business

   and property and are threatened with further injury.

          (d) By reason of the foregoing, Defendants have entered into agreements in

   restraint of trade in violation of Michigan Comp. Laws Ann. §§ 445.771, et seq.

   Accordingly, Plaintiffs and members of the Damages Class seek all relief available

   under Michigan Comp. Laws Ann. §§ 445.771, et seq.

          ANSWER: The allegations in Paragraph 280 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 280

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 280 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   280 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          281.      Defendants have entered into an unlawful agreement in
                                            179
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                       PageID.1798    Page 180 of 262



   unreasonable restraint of trade in violation of the Minnesota Statutes Annotated §§

   325D.49, et seq.

         (a) Defendants’ combinations or conspiracies had the following effects: (1)

   Occupant Safety Restraint Systems price competition was restrained, suppressed,

   and eliminated throughout Minnesota; (2) Occupant Safety Restraint Systems

   prices were raised, fixed, maintained, and stabilized at artificially high levels

   throughout Minnesota; (3) Plaintiffs and members of the Damages Class were

   deprived of free and open competition; and (4) Plaintiffs and members of the

   Damages Class paid supracompetitive, artificially inflated prices for Occupant

   Safety Restraint Systems and vehicles containing Occupant Safety Restraint

   Systems.

         (b) During the Class Period Defendants’ illegal conduct substantially

   affected Minnesota commerce.

         (c) As a direct and proximate result of Defendants’ unlawful conduct,

   Plaintiffs and members of the Damages Class have been injured in their business

   and property and are threatened with further injury.

         (d) By reason of the foregoing, Defendants have entered into agreements in

   restraint of trade in violation of Minnesota Stat. §§ 325D.49, et seq. Accordingly,

   Plaintiffs and members of the Damages Class seek all relief available under

   Minnesota Stat. §§ 325D.49, et seq.
                                           180
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1799    Page 181 of 262



          ANSWER: The allegations in Paragraph 281 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 281

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 281 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   281 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          282.      Defendants have entered into an unlawful agreement in restraint of

   trade in violation of the Mississippi Code Annotated §§ 75-21-1, et seq.

          (a) Defendants’ combinations or conspiracies had the following effects: (1)

   Occupant Safety Restraint Systems price competition was restrained, suppressed,

   and eliminated throughout Mississippi; (2) Occupant Safety Restraint Systems

   prices were raised, fixed, maintained, and stabilized at artificially high levels

   throughout Mississippi; (3) Plaintiffs and       members of the Damages Class,

   including those who resided in Mississippi and/or purchased Occupant Safety

   Restraint Systems or vehicles in Mississippi were deprived of free and open
                                            181
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1800    Page 182 of 262



   competition, including in Mississippi: and (4) Plaintiffs and members of the

   Damages Class, including those who resided in Mississippi and/or purchased

   Occupant    Safety   Restraint   Systems      or   vehicles   in   Mississippi   paid

   supracompetitive, artificially inflated prices for Occupant Safety          Restraint

   Systems, including in Mississippi.

         (b) During the Class Period, Defendants’ illegal conduct substantially

   affected Mississippi commerce.

          (c) As a direct and proximate result of Defendants’ unlawful conduct,

   Plaintiffs and members of the Damages Class have been injured in their business

   and property and are threatened with further injury.

         (d) By reason of the foregoing, Defendants have entered into agreements in

   restraint of trade in violation of Mississippi Code Ann. § 75-21-1, et seq.

   Accordingly, Plaintiffs and members of the Damages Class seek all relief available

   under Mississippi Code Ann. § 75-21-1, et seq.

         ANSWER: The allegations in Paragraph 282 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 282

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in
                                           182
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1801    Page 183 of 262



   Paragraph 282 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   282 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          283.      Defendants have entered into an unlawful agreement in restraint of

   trade in violation of the Nebraska Revised Statutes §§ 59-801, et seq.

          (a) Defendants’ combinations or conspiracies had the following effects: (1)

   Occupant Safety Restraint Systems price competition was restrained, suppressed,

   and eliminated     throughout Nebraska; (2) Occupant Safety Restraint Systems

   prices were raised, fixed, maintained, and stabilized at artificially high levels

   throughout Nebraska; (3) Plaintiffs and members of the Damages Class were

   deprived of free and open competition; and (4) Plaintiffs and members of the

   Damages Class paid supracompetitive, artificially inflated prices for Occupant

   Safety Restraint Systems and vehicles containing Occupant Safety Restraint

   Systems.

          (b) During the Class Period, Defendants’ illegal conduct substantially

   affected Nebraska commerce.

          (c) As a direct and proximate result of Defendants’ unlawful conduct,

   Plaintiffs and members of the Damages Class have been injured in their business
                                            183
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1802    Page 184 of 262



   and property and are threatened with further injury.

          (d) By reason of the foregoing, Defendants have entered into agreements in

   restraint of trade in violation of Nebraska Revised Statutes §§ 59-801, et seq.

   Accordingly, Plaintiffs and members of the Damages Class seek all relief available

   under Nebraska Revised Statutes §§ 59-801, et seq.

          ANSWER: The allegations in Paragraph 283 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 283

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 283 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   283 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          284.      Defendants have entered into an unlawful agreement in restraint of

   trade in violation of the Nevada Revised Statutes Annotated §§ 598A.010, et seq.

          (a) Defendants’ combinations or conspiracies had the following effects: (1)

   Occupant Safety Restraint Systems price competition was restrained, suppressed,
                                            184
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1803    Page 185 of 262



   and eliminated throughout Nevada; (2) Occupant Safety Restraint Systems prices

   were raised, fixed, maintained, and stabilized at artificially high levels throughout

   Nevada; (3) Plaintiffs and members of the Damages Class, including those who

   resided in Nevada and/or purchased Occupant Safety            Restraint Systems or

   vehicles in Nevada, were deprived of free and open competition including in

   Nevada; and (4) Plaintiffs and members of the Damages Class, including those

   who resided in Nevada and/or purchased Occupant Safety Restraint Systems or

   vehicles in Nevada, paid supracompetitive, artificially inflated prices for Occupant

   Safety Restraint Systems and vehicles         containing Occupant Safety Restraint

   Systems, including in Nevada.

         (b) During the Class Period, Defendants’ illegal conduct substantially

   affected Nevada commerce.

          (c) As a direct and proximate result of Defendants’ unlawful conduct,

   Plaintiffs and members of the Damages Class have been injured in their business

   and property and are threatened with further injury.

         (d) By reason of the foregoing, Defendants have entered into agreements in

   restraint of trade in violation of Nevada Rev. Stat. Ann. §§ 598A.060, et seq.

   Accordingly, Plaintiffs and     members of the Damages Class seek all relief

   available under Nevada Rev. Stat. Ann. §§ 598A.010, et seq.

         ANSWER: The allegations in Paragraph 284 call for a legal conclusion to
                                           185
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1804    Page 186 of 262



   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 284

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 284 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   284 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          285.       Defendants have entered into an unlawful agreement in restraint of

   trade in violation of the New Hampshire Revised Statutes §§ 356:1, et seq.

          (a) Defendants’ combinations or conspiracies had the following effects: (1)

   Occupant Safety Restraint Systems price competition was restrained, suppressed,

   and eliminated      throughout New Hampshire; (2) Occupant Safety Restraint

   Systems prices were raised, fixed, maintained, and stabilized at artificially high

   levels throughout New Hampshire; (3) Plaintiffs and members of the Damages

   Class were deprived of free and open competition; and (4) Plaintiffs and members

   of the Damages Class paid supracompetitive, artificially inflated prices          for

   Occupant Safety Restraint Systems and vehicles containing Occupant Safety
                                            186
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1805    Page 187 of 262



   Restraint Systems.

          (b) During the Class Period Defendants’ illegal conduct substantially

   affected New Hampshire commerce.

          (c) As a direct and proximate result of Defendants’ unlawful conduct,

   Plaintiffs and members of the Damages Class have been injured in their business

   and property and are threatened with further injury.

          (d) By reason of the foregoing, Defendants have entered into agreements in

   restraint of trade in violation of New Hampshire Revised Statutes §§ 356:1, et seq.

   Accordingly, Plaintiffs    and members of the Damages Class seek all relief

   available under New Hampshire Revised Statutes §§ 356:1, et seq.

          ANSWER: The allegations in Paragraph 285 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 285

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 285 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   285 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.
                                            187
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                       PageID.1806   Page 188 of 262




          286.     Defendants have entered into an unlawful agreement in restraint of

   trade in violation of the New Mexico Statutes Annotated §§ 57-1-1, et seq.

          (a) Defendants’ combinations or conspiracies had the following effects: (1)

   Occupant Safety Restraint Systems price competition was restrained, suppressed,

   and eliminated throughout New Mexico; (2) Occupant Safety Restraint Systems

   prices were raised, fixed, maintained, and stabilized at artificially high levels

   throughout New Mexico; (3) Plaintiffs and members of the Damages Class were

   deprived of free and open competition; and (4) Plaintiffs and members of the

   Damages Class paid supracompetitive, artificially inflated prices for Occupant

   Safety Restraint Systems and vehicles containing Occupant Safety Restraint

   Systems.

          (b) During the Class Period, Defendants’ illegal conduct substantially

   affected New Mexico commerce.

          (c) As a direct and proximate result of Defendants’ unlawful conduct,

   Plaintiffs and members of the Damages Class have been injured in their business

   and property and are threatened with further injury.

          (d) By reason of the foregoing, Defendants have entered into agreements in

   restraint   of trade in violation of New Mexico Stat. Ann. §§ 57-1-1, et seq.

   Accordingly, Plaintiffs and     members of the Damages Class seek all relief
                                           188
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1807    Page 189 of 262



   available under New Mexico Stat. Ann.§§ 57-1-1, et seq.

          ANSWER: The allegations in Paragraph 286 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 286

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 286 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   286 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          287.      Defendants have entered into an unlawful agreement in restraint of

   trade in violation of the New York General Business Laws §§ 340, et seq.

          (a) Defendants’ combinations or conspiracies had the following effects: (1)

   Occupant Safety Restraint Systems price competition was restrained, suppressed,

   and eliminated throughout New York; (2) Occupant Safety Restraint Systems

   prices were raised, fixed, maintained, and stabilized at artificially high levels

   throughout New York; (3) Plaintiffs and          members of the Damages Class,

   including those who resided in New York and/or purchased Occupant Safety
                                            189
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1808    Page 190 of 262



   Restraint Systems or vehicles in New York, were deprived of free and open

   competition, including in New York; and (4) Plaintiffs and members of the

   Damages Class, including those who resided in New York, paid supracompetitive,

   artificially inflated prices for   Occupant Safety Restraint Systems when they

   purchased, including in New York, Occupant Safety Restraint Systems or vehicles

   containing Occupant Safety Restraint Systems, or purchased, including in New

   York, Occupant Safety Restraint Systems or vehicles that were otherwise of lower

   quality, than would have been absent the conspirators’ illegal acts, or were unable

   to purchase Occupant Safety Restraint Systems or vehicles that they would have

   otherwise have purchased absent the illegal conduct.

         (b) During the Class Period, Defendants’ illegal conduct substantially

   affected New York commerce.

         (c) As a direct and proximate result of Defendants’ unlawful conduct,

   Plaintiffs and members of the Damages Class have been injured in their business

   and property and are threatened with further injury.

         (d) By reason of the foregoing, Defendants have entered into agreements in

   restraint of trade in violation of the New York Donnelly Act, §§ 340, et seq. The

   conduct set forth above is a per se violation of the Act. Accordingly, Plaintiffs and

   members of the Damages Class seek all relief available under New York Gen. Bus.

   Law §§ 340, et seq.
                                           190
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1809    Page 191 of 262



          ANSWER: The allegations in Paragraph 287 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 287

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 287 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   287 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          288.      Defendants have entered into an unlawful agreement in restraint of

   trade in violation of the North Carolina General Statutes §§ 75-1, et seq.

          (a) Defendants’ combinations or conspiracies had the following effects: (1)

   Occupant Safety Restraint Systems price competition was restrained, suppressed,

   and eliminated throughout North Carolina; (2) Occupant Safety Restraint Systems

   prices were raised, fixed, maintained, and stabilized at artificially high levels

   throughout North Carolina; (3) Plaintiffs and members of the Damages Class,

   including those who resided in North Carolina and/or purchased Occupant Safety

   Restraint Systems or vehicles in North Carolina, were deprived of free and open
                                            191
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1810     Page 192 of 262



   competition, including in North Carolina; and (4) Plaintiffs and members of the

   Damages Class, including those who resided in North Carolina and/or purchased

   Occupant Safety Restraint        Systems or vehicles in North Carolina, paid

   supracompetitive, artificially inflated prices for      Occupant Safety Restraint

   Systems and vehicles including in North Carolina.

          (b) During the Class Period, Defendants’ illegal conduct substantially

   affected North Carolina commerce. As a direct and proximate result of

   Defendants’ unlawful conduct, Plaintiffs and members of the Damages Class have

   been injured in their business and property and are threatened with further injury.

          (c) By reason of the foregoing, Defendants have entered into agreements in

   restraint   of trade in violation of North Carolina Gen. Stat. §§ 75-1, et seq.

   Accordingly, Plaintiffs and     members of the Damages Class seek all relief

   available under North Carolina Gen. Stat. §§ 75-1, et seq.

          ANSWER: The allegations in Paragraph 288 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 288

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 288 to the extent they are directed at Takata or intended to reference
                                            192
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1811    Page 193 of 262



   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   288 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          289.      Defendants have entered into an unlawful agreement in restraint of

   trade in violation of the North Dakota Century Code §§ 51-08.1-01, et seq.

          (a) Defendants’ combinations or conspiracies had the following effects: (1)

   Occupant Safety Restraint Systems price competition was restrained, suppressed,

   and eliminated throughout North Dakota; (2) Occupant Safety Restraint Systems

   prices were raised, fixed, maintained, and stabilized at artificially high levels

   throughout North Dakota; (3) Plaintiffs and members of the Damages Class were

   deprived of free and open competition; and (4) Plaintiffs and members of the

   Damages Class paid supracompetitive, artificially inflated prices for Occupant

   Safety Restraint Systems and vehicles containing Occupant Safety Restraint

   Systems.

          (b) During the Class Period, Defendants’ illegal conduct had a substantial

   effect on North Dakota commerce.

          (c) As a direct and proximate result of Defendants’ unlawful conduct,

   Plaintiffs and members of the Damages Class have been injured in their business

   and property and are threatened with further injury.
                                            193
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1812    Page 194 of 262



          (d) By reason of the foregoing, Defendants have entered into agreements in

   restraint of trade in violation of North Dakota Cent. Code §§ 51-08.1-01, et seq.

   Accordingly, Plaintiffs and members of the Damages Class seek all relief available

   under North Dakota Cent. Code §§ 51-08.1-01, et seq.

          ANSWER: The allegations in Paragraph 289 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 289

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 289 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   289 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          290.      Defendants have entered into an unlawful agreement in restraint of

   trade in violation of the Oregon Revised Statutes §§ 646.705, et seq.

          (a) Defendants’ combinations or conspiracies had the following effects: (1)

   Occupant Safety Restraint Systems price competition was restrained, suppressed,

   and eliminated throughout Oregon; (2) Occupant Safety Restraint Systems prices
                                            194
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1813    Page 195 of 262



   were raised, fixed, maintained, and stabilized at artificially high levels throughout

   Oregon; (3) Plaintiffs and members of the Damages Class were deprived of free

   and open competition; and (4) Plaintiffs and members of the Damages Class paid

   supracompetitive, artificially inflated prices for      Occupant Safety Restraint

   Systems and vehicles containing Occupant Safety Restraint Systems.

         (b) During the Class Period Defendants’ illegal conduct had a substantial

   effect on Oregon commerce.

         (c) As a direct and proximate result of Defendants’ unlawful conduct,

   Plaintiffs and members of the Damages Class have been injured in their business

   and property and are threatened with further injury.

         (d) By reason of the foregoing, Defendants have entered into agreements in

   restraint of trade in violation of Oregon Revised Statutes §§ 646.705, et seq.

   Accordingly, Plaintiffs and members of the Damages Class seek all relief available

   under Oregon Revised Statutes §§ 646.705, et seq.

         ANSWER: The allegations in Paragraph 290 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 290

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in
                                           195
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1814    Page 196 of 262



   Paragraph 290 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   290 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          291.      Defendants have entered into an unlawful agreement in restraint of

   trade in violation of the South Dakota Codified Laws §§ 37-1-3.1., et seq.

          (a) Defendants’ combinations or conspiracies had the following effects: (1)

   Occupant Safety Restraint Systems price competition was restrained, suppressed,

   and eliminated throughout South Dakota; (2) Occupant Safety Restraint Systems

   prices were raised, fixed, maintained, and stabilized at artificially high levels

   throughout South Dakota; (3) Plaintiffs and members of the Damages Class,

   including those who resided in South Dakota and/or purchased Occupant Safety

   Restraint Systems or vehicles in South Dakota, were deprived of free and open

   competition including in South Dakota; and (4) Plaintiffs and members of the

   Damages Class, including those who resided in South Dakota and/or purchased

   vehicles or Occupant Safety Restraint Systems in South Dakota, paid

   supracompetitive, artificially inflated prices for      Occupant Safety Restraint

   Systems and vehicles containing Occupant Safety Restraint Systems including in

   South Dakota.
                                            196
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1815    Page 197 of 262



          (b) During the Class Period, Defendants’ illegal conduct had a substantial

   effect on South Dakota commerce.

          (c) As a direct and proximate result of Defendants’ unlawful conduct,

   Plaintiffs and members of the Damages Class have been injured in their business

   and property and are threatened with further injury.

          (d) By reason of the foregoing, Defendants have entered into agreements in

   restraint of trade in violation of South Dakota Codified Laws Ann. §§ 37-1, et seq.

   Accordingly, Plaintiffs    and members of the Damages Class seek all relief

   available under South Dakota Codified Laws Ann. §§ 37-1, et seq.

          ANSWER: The allegations in Paragraph 291 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 291

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 291 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   291 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



                                            197
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                           PageID.1816   Page 198 of 262



         292.      Defendants have entered into an unlawful agreement in restraint of

   trade in violation of the Tennessee Code Annotated §§ 47-25-101, et seq.

         (a) Defendants’ combinations or conspiracies had the following effects: (1)

   Occupant Safety Restraint Systems price competition was restrained, suppressed,

   and eliminated throughout Tennessee; (2) Occupant Safety Restraint Systems

   prices were raised, fixed, maintained, and stabilized at artificially high levels

   throughout Tennessee; (3) Plaintiffs and            members of the Damages Class,

   including those who resided in Tennessee and/or purchased Occupant Safety

   Restraint Systems or vehicles in Tennessee, were deprived of free and open

   competition including in Tennessee; and (4) Plaintiffs and members of the

   Damages Class,        including those who resided in Tennessee, and/or purchased

   Occupant     Safety     Restraint   Systems    or    vehicles   in   Tennessee,   paid

   supracompetitive, artificially inflated prices for Occupant Safety Restraint Systems

   and vehicles containing Occupant Safety Restraint Systems including in

   Tennessee.

         (b) During the Class Period, Defendants’ illegal conduct had a substantial

   effect on Tennessee commerce. As a direct and proximate result of Defendants’

   unlawful conduct, Plaintiffs and members of the Damages Class have been injured

   in their business and property and are threatened with further injury.

         (c) By reason of the foregoing, Defendants have entered into agreements in
                                            198
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1817    Page 199 of 262



   restraint of trade in violation of Tennessee Code Ann. §§ 47-25-101, et seq.

   Accordingly, Plaintiffs and members of the Damages Class seek all relief available

   under Tennessee Code Ann. §§ 47-25- 101, et seq.

          ANSWER: The allegations in Paragraph 292 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 292

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 292 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   292 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          293.      Defendants have entered into an unlawful agreement in restraint of

   trade in violation of the Utah Code Annotated §§ 76-10-911, et seq.

          (a) Defendants’ combinations or conspiracies had the following effects: (1)

   Occupant Safety Restraint Systems price competition was restrained, suppressed,

   and eliminated throughout Utah; (2) Occupant Safety Restraint Systems prices

   were raised, fixed, maintained, and stabilized at artificially high levels throughout
                                            199
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1818    Page 200 of 262



   Utah; (3) Plaintiffs and members of the Damages Class were deprived of free and

   open competition; and (4) Plaintiffs and members of the Damages Class paid

   supracompetitive, artificially inflated prices for Occupant Safety         Restraint

   Systems and vehicles containing Occupant Safety Restraint Systems.

         (b) During the Class Period, Defendants’ illegal conduct had a substantial

   effect on Utah commerce.

         (c) As a direct and proximate result of Defendants’ unlawful conduct,

   Plaintiffs and members of the Damages Class have been injured in their business

   and property and are threatened with further injury.

         (d) By reason of the foregoing, Defendants have entered into agreements in

   restraint of trade in violation of Utah Code Annotated §§ 76-10-911, et seq.

   Accordingly, Plaintiffs and members of the Damages Class seek all relief available

   under Utah Code Annotated §§ 76-10-911, et seq.

         ANSWER: The allegations in Paragraph 293 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 293

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 293 to the extent they are directed at Takata or intended to reference
                                           200
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1819    Page 201 of 262



   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   293 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          294.      Defendants have entered into an unlawful agreement in restraint of

   trade in violation of the 9 Vermont Stat. Ann. §§ 2451, et seq.

          (a) Defendants’ combinations or conspiracies had the following effects: (1)

   Occupant Safety Restraint Systems price competition was restrained, suppressed,

   and eliminated throughout Vermont; (2) Occupant Safety Restraint Systems prices

   were raised, fixed, maintained, and stabilized at artificially high levels throughout

   Vermont; (3) Plaintiffs and members of the Damages Class were deprived of free

   and open competition; and (4) Plaintiffs and members of the Damages Class paid

   supracompetitive, artificially inflated prices for      Occupant Safety Restraint

   Systems and vehicles containing Occupant Safety Restraint Systems.

          (b) During the Class Period Defendants’ illegal conduct had a substantial

   effect on Vermont commerce.

          (c) As a direct and proximate result of Defendants’ unlawful conduct,

   Plaintiffs and members of the Damages Class have been injured in their business

   and property and are threatened with further injury.

          (d) By reason of the foregoing, Defendants have entered into agreements in
                                            201
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                          PageID.1820    Page 202 of 262



   restraint of trade in violation of 9 Vermont Stat. Ann. §§ 2451, et seq. Plaintiffs are

   entitled to relief pursuant to 9 Vermont Stat. Ann. § 2465 and any other applicable

   authority. Accordingly, Plaintiffs and members of the Damages Class seek all

   relief available under 9 Vermont Stat. Ann. §§ 2451, et seq.

          ANSWER: The allegations in Paragraph 294 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 294

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 294 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   294 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          295.      Defendants have entered into an unlawful agreement in restraint of

   trade in violation of the West Virginia Code §§ 47-18-1, et seq.

          (a) Defendants’ combinations or conspiracies had the following effects: (1)

   Occupant Safety Restraint Systems price competition was restrained, suppressed,

   and eliminated throughout West Virginia; (2) Occupant Safety Restraint Systems
                                            202
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                       PageID.1821   Page 203 of 262



   prices were raised, fixed, maintained, and stabilized at artificially high levels

   throughout West Virginia; (3) Plaintiffs and members of the Damages Class,

   including those who resided in West Virginia and/or purchased Occupant Safety

   Restraint Systems or vehicles in West Virginia, were deprived of free and open

   competition including in West Virginia; and (4) Plaintiffs and members of the

   Damages Class, including those who resided in West Virginia and/or purchased

   vehicles or Occupant Safety         Restraint Systems in West Virginia, paid

   supracompetitive, artificially inflated prices for     Occupant Safety Restraint

   Systems and vehicles containing Occupant Safety Restraint Systems including in

   West Virginia.

         (b) During the Class Period, Defendants’ illegal conduct had a substantial

   effect on West Virginia commerce.

         (c) As a direct and proximate result of Defendants’ unlawful conduct,

   Plaintiffs and members of the Damages Class have been injured in their business

   and property and are threatened with further injury.

         (d) By reason of the foregoing, Defendants have entered into agreements in

   restraint of trade in violation of West Virginia §§ 47-18-1, et seq. Accordingly,

   Plaintiffs and members of the Damages Class seek all relief available under West

   Virginia §§ 47-18-1, et seq.

         ANSWER: The allegations in Paragraph 295 call for a legal conclusion to
                                           203
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1822    Page 204 of 262



   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 295

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 295 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   295 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          296.      Defendants have entered into an unlawful agreement in restraint of

   trade in violation of the Wisconsin Statutes §§ 133.01, et seq.

          (a) Defendants’ combinations or conspiracies had the following effects: (1)

   Occupant Safety Restraint Systems price competition was restrained, suppressed,

   and eliminated throughout Wisconsin; (2) Occupant Safety Restraint Systems

   prices were raised, fixed, maintained, and stabilized at artificially high levels

   throughout Wisconsin; (3) Plaintiffs and members of the Damages Class were

   deprived of free and open competition; and (4) Plaintiffs and members of the

   Damages Class paid supracompetitive, artificially inflated prices for Occupant

   Safety Restraint Systems and vehicles containing Occupant Safety Restraint
                                            204
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1823    Page 205 of 262



   Systems.

          (b) During the Class Period Defendants’ illegal conduct had a substantial

   effect on Wisconsin commerce.

          (c) As a direct and proximate result of Defendants’ unlawful conduct,

   Plaintiffs and members of the Damages Class have been injured in their business

   and property and are threatened with further injury.

          (d) By reason of the foregoing, Defendants have entered into agreements in

   restraint of trade in violation of Wisconsin Stat. §§ 133.01, et seq. Accordingly,

   Plaintiffs and members of the Damages Class seek all relief available under

   Wisconsin Stat. §§ 133.01, et seq.

          ANSWER: The allegations in Paragraph 296 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 296

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 296 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   296 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.
                                            205
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1824    Page 206 of 262




          297.      Plaintiffs and members of the Damages Class in each of the above

   states have been injured in their business and property by reason of Defendants’

   unlawful combination, contract, conspiracy, and agreement. Plaintiffs and

   members of the Damages Class have paid more for Occupant Safety Restraint

   Systems and vehicles containing Occupant Safety Restraint Systems than they

   otherwise would have paid in the absence of Defendants’ unlawful conduct. This

   injury is of the type the antitrust laws of the above states were designed to prevent

   and flows from that which makes Defendants’ conduct unlawful.

          ANSWER: The allegations in Paragraph 297 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 297

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 297 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   297 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



                                            206
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1825    Page 207 of 262



          298.      In addition, Defendants have profited significantly from the

   aforesaid conspiracy.    Defendants’ profits derived from their anticompetitive

   conduct come at the expense and detriment of the Plaintiffs and the members of the

   Damages Class

          ANSWER: The allegations in Paragraph 298 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 298

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 298 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   298 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          299.       Accordingly, Plaintiffs and the members of the Damages Class in

   each of the above jurisdictions seek damages (including statutory damages where

   applicable), to be trebled or otherwise increased as permitted by a particular

   jurisdiction’s antitrust law, and costs of suit, including reasonable attorneys’ fees,

   to the extent permitted by the above state laws.
                                            207
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                           PageID.1826     Page 208 of 262



         ANSWER: Takata admits Plaintiffs seeks damages as stated in Paragraph

   299. Takata denies that this action is appropriate for class certification, and Takata

   therefore denies all allegations in Paragraph 299 regarding purported class

   members. Takata denies that it was involved in the conspiracy as alleged in

   Plaintiffs’ complaint and denies the allegations in Paragraph 299 to the extent they

   are directed at Takata or intended to reference actions taken by or on behalf of

   Takata. Takata denies the allegations in Paragraph 299 for lack of knowledge or

   information sufficient to form a belief as to their truth in all other respects.



         300.       Plaintiffs incorporate and reallege, as though fully set forth herein,

   each and every allegation set forth in the preceding paragraphs of this Complaint.

         ANSWER: Takata incorporates by reference its responses set forth above

   and adopts the same as though fully set forth herein.



         301.       Defendants knowingly engaged in unlawful, unfair competition or

   unfair, unconscionable, deceptive, or fraudulent acts or practices in violation of the

   state consumer protection and unfair competition statutes listed below.

         ANSWER: The allegations in Paragraph 301 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that it was involved in the
                                              208
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                          PageID.1827    Page 209 of 262



   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 301 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   301 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



            302.     Defendants have knowingly entered into an unlawful agreement in

   restraint of trade in violation of the Arkansas Code Annotated, § 4-88-101.

            (a) Defendants knowingly agreed to, and did in fact, act in restraint of trade

   or   commerce by affecting, fixing, controlling, and/or maintaining at non-

   competitive and artificially inflated levels, the prices at which Occupant Safety

   Restraint Systems were sold, distributed, or obtained in Arkansas and took efforts

   to conceal their agreements from Plaintiffs and members of the Damages Class.

            (b) The aforementioned conduct on the part of the Defendants constituted

   “unconscionable” and “deceptive” acts or practices in violation of Arkansas Code

   Annotated, § 4-88-107(a)(10).

            (c) Defendants’ unlawful conduct had the following effects: (1) Occupant

   Safety     Restraint Systems price competition was restrained, suppressed, and

   eliminated throughout Arkansas; (2) Occupant Safety Restraint Systems prices

   were raised, fixed, maintained, and stabilized at artificially high levels throughout
                                              209
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1828    Page 210 of 262



   Arkansas; (3) Plaintiffs and the members of the Damages Class were deprived of

   free and open competition; and (4) Plaintiffs and the members of the Damages

   Class paid supracompetitive, artificially inflated prices for Occupant Safety

   Restraint Systems and vehicles containing Occupant Safety Restraint Systems.

          (d) During the Class Period, Defendants’ illegal conduct substantially

   affected Arkansas commerce and consumers.

         (e) As a direct and proximate result of the unlawful conduct of the

   Defendants, Plaintiffs and the members of the Damages Class have been injured in

   their business and property and are threatened with further injury.

         (f) Defendants have engaged in unfair competition or unfair or deceptive

   acts or practices in violation of Arkansas Code Annotated, § 4-88-107(a)(10) and,

   accordingly, Plaintiffs and the members of the Damages Class seek all relief

   available under that statute.

         ANSWER: The allegations in Paragraph 302 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 302

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 302 to the extent they are directed at Takata or intended to reference
                                           210
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1829    Page 211 of 262



   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   302 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          303.      Defendants have engaged in unfair competition or unfair,

   unconscionable, deceptive or fraudulent acts or practices in violation of California

   Business and Professions Code § 17200, et seq.

          (a) During the Class Period, Defendants marketed, sold, or distributed

   Occupant Safety Restraint Systems in California, and committed and continue to

   commit acts of unfair competition, as defined by Sections 17200, et seq. of the

   California Business and Professions Code, by engaging in the acts and practices

   specified above.

          (b) During the Class Period, Defendants’ illegal conduct substantially

   affected California commerce and consumers.

          (c) This claim is instituted pursuant to Sections 17203 and 17204 of the

   California Business and Professions Code, to obtain restitution from these

   Defendants for acts, as alleged herein, that violated Section 17200 of the California

   Business and Professions Code, commonly known as the Unfair Competition Law.

          (d) The Defendants’ conduct as alleged herein violated Section 17200. The

   acts, omissions, misrepresentations, practices, and non-disclosures of Defendants,
                                            211
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                          PageID.1830    Page 212 of 262



   as alleged herein, constituted a common, continuous, and continuing course of

   conduct of unfair competition by means of unfair, unlawful, and/or fraudulent

   business acts or practices within the meaning of            California Business and

   Professions Code, Section 17200, et seq., including, but not limited to,          the

   following: (1) the violations of Section 1 of the Sherman Act, as set forth above;

   (2) the     violations of Section 16720, et seq., of the California Business and

   Professions Code, set forth above;

            (e) Defendants’ acts, omissions, misrepresentations, practices, and

   nondisclosures, as described above, whether or not in violation of Section 16720,

   et seq., of the California Business and Professions Code, and whether or not

   concerted or independent acts, are otherwise unfair, unconscionable, unlawful or

   fraudulent;

            (f) Defendants’ acts or practices are unfair to purchasers of Occupant Safety

   Restraint Systems (or vehicles containing them) in the State of California within

   the meaning of Section 17200, California Business and Professions Code; and

            (g) Defendants' unlawful conduct had the following effects: (1) Occupant

   Safety     Restraint Systems price competition was restrained, suppressed, and

   eliminated throughout California; (2) Occupant Safety Restraint Systems prices

   were raised, fixed, maintained, and stabilized at artificially high levels throughout

   California; (3) Plaintiffs and members of the Damages Class, including those who
                                             212
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                          PageID.1831    Page 213 of 262



   resided in California and/ or purchased Occupant Safety Restraint Systems or

   vehicles in California, were deprived of free and open competition, including in

   California; and (4) Plaintiffs and members of the Damages Class, including those

   who resided in California and/or purchased Occupant Safety Restraint Systems or

   vehicles in     California, paid supracompetitive, artificially inflated prices for

   Occupant Safety Restraint       Systems and vehicles containing Occupant Safety

   Restraint Systems, including in California.

           (h) Defendants’ acts and practices are unlawful, fraudulent or deceptive

   within the meaning of Section 17200 of the California Business and Professions

   Code.

           (i) The illegal conduct alleged herein is continuing and there is no indication

   that Defendants will not continue such activity into the future.

           (j) The unlawful, fraudulent, deceptive, and unfair business practices of

   Defendants, and each of them, as described above, have caused and continue to

   cause Plaintiffs and the members of the Damages Class to pay supracompetitive

   and artificially-inflated prices for Occupant Safety Restraint Systems (or vehicles

   containing them). Plaintiffs and the members of the Damages Class suffered injury

   in fact and lost money or property as a result of such unfair competition.

           (k) As alleged in this Complaint, Defendants and their co-conspirators have

   been unjustly enriched as a result of their wrongful conduct and by Defendants’
                                             213
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1832    Page 214 of 262



   unfair competition.      Plaintiffs and the members of the Damages Class are

   accordingly entitled to equitable relief including restitution and/or disgorgement

   of all revenues, earnings, profits, compensation, and benefits that may have been

   obtained by Defendants as a result of such business practices, pursuant to the

   California Business and Professions Code, Sections 17203 and 17204.

          ANSWER: The allegations in Paragraph 303 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 303

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 303 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   303 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          304.      Defendants have engaged in unfair competition or unlawful, unfair,

   unconscionable, or deceptive acts or practices in violation of the Florida Deceptive

   and Unfair Trade Practices Act, Fla. Stat. §§ 501.201, et seq.

          (a) Defendants’ unlawful conduct had the following effects: (1) Occupant
                                            214
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                       PageID.1833    Page 215 of 262



   Safety     Restraint Systems price competition was restrained, suppressed, and

   eliminated throughout Florida; (2) Occupant Safety Restraint Systems prices were

   raised, fixed, maintained, and    stabilized at artificially high levels throughout

   Florida; (3) Plaintiffs and members of the Damages Class were deprived of free

   and open competition; (4) Plaintiffs and members of the Damages Class paid

   supracompetitive, artificially inflated prices for Occupant Safety Restraint

   Systems; and (5) Reasonable purchasers in Florida were deceived into believing

   that they were paying competitive prices for their vehicles and Occupant Safety

   Restraint Systems.

            (b) During the Class Period, Defendants’ illegal conduct substantially

   affected Florida commerce and consumers.

            (c) As a direct and proximate result of Defendants’ unlawful conduct,

   Plaintiffs and members of the Damages Class have been injured in their business

   and property and are threatened with further injury.

            (d) Defendants have engaged in unfair competition or unlawful, unfair or

   deceptive acts or practices in violation of Florida Stat. § 501.201, et seq., and,

   accordingly, Plaintiffs and members of the Damages Class seek all relief available

   under that statute.

            ANSWER: The allegations in Paragraph 304 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.
                                           215
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1834    Page 216 of 262



   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 304

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 304 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   304 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          305.      Defendants have engaged in unfair competition or unfair,

   unconscionable, or deceptive acts or practices in violation of the New Mexico Stat.

   § 57-12-1, et seq.

          (a) Defendants agreed to, and did in fact, act in restraint of trade or

   commerce by affecting, fixing, controlling and/or maintaining at non-competitive

   and artificially inflated levels, the prices at which Occupant Safety Restraint

   Systems were sold, distributed, or obtained in New Mexico and took efforts to

   conceal their agreements from Plaintiffs and members of the Damages Class.

          (b) Plaintiffs were not aware of Defendants’ price-fixing conspiracy and

   were therefore unaware that they were being unfairly and illegally overcharged.

   There was a gross disparity of bargaining power between the parties with respect to
                                            216
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                      PageID.1835    Page 217 of 262



   the price charged by Defendants for Occupant Safety Restraint Systems.

   Defendants had the sole power to set that price and Plaintiffs had no power to

   negotiate a lower price. Moreover, Plaintiffs lacked any meaningful choice in

   purchasing Occupant Safety Restraint Systems because they were unaware of the

   unlawful overcharge and because they had to purchase Occupant Safety Restraint

   Systems in order to be able to operate their vehicles. Defendants’ conduct with

   regard to sales of Occupant Safety Restraint Systems, including their illegal

   conspiracy to secretly fix the price of Occupant Safety Restraint Systems at

   supracompetitive   levels   and   overcharge   consumers,    was     substantively

   unconscionable because it was one-sided and unfairly benefited Defendants at the

   expense of Plaintiffs and the public. Defendants took grossly unfair advantage of

   Plaintiffs.

          (c) The aforementioned conduct on the part of the Defendants constituted

   “unconscionable trade practices,” in violation of N.M.S.A.§ 57-12-3, in that such

   conduct, inter alia, resulted in a gross disparity between the value received by

   Plaintiffs and the members of the Damages Class and the prices paid by them for

   Occupant Safety Restraint Systems as set forth in N.M.S.A. § 57-12-2E, due to the

   inflated prices paid by Plaintiffs and Class members for vehicles and Occupant

   Safety Restraint Systems.

          (d) Defendants’ unlawful conduct had the following effects: (1) Occupant
                                         217
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1836    Page 218 of 262



   Safety     Restraint Systems price competition was restrained, suppressed, and

   eliminated throughout New Mexico; (2) Occupant Safety Restraint Systems prices

   were raised, fixed, maintained, and stabilized at artificially high levels throughout

   New Mexico; (3) Plaintiffs and the members of the Damages Class were deprived

   of free and open competition; and (4) Plaintiffs and the members of the Damages

   Class paid supracompetitive, artificially inflated prices for Occupant        Safety

   Restraint Systems and vehicles containing Occupant Safety Restraint Systems.

            (e) During the Class Period, Defendants’ illegal conduct substantially

   affected New Mexico commerce and consumers.

            (f) As a direct and proximate result of the unlawful conduct of the

   Defendants, Plaintiffs and the members of the Damages Class have been injured in

   their business and property and are threatened with further injury.

            (g) Defendants have engaged in unfair competition or unfair or deceptive

   acts or practices in violation of New Mexico Stat. § 57-12-1, et seq., and,

   accordingly, Plaintiffs and the members of the Damages Class seek all relief

   available under that statute.

            ANSWER: The allegations in Paragraph 305 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 305
                                           218
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1837    Page 219 of 262



   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 305 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   305 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          306.      Defendants have engaged in unfair competition or unfair,

   unconscionable, or deceptive acts or practices in violation of N.Y. Gen. Bus. Law

   § 349, et seq.

          (a) Defendants agree to, and did in fact, act in restraint of trade or commerce

   by    affecting, fixing, controlling, and/or maintaining, at artificial and non-

   competitive levels, the prices at which Occupant Safety Restraint Systems were

   sold, distributed, or obtained in New      York and took efforts to conceal their

   agreements from Plaintiffs and members of the Damages Class.

          (b) Defendants deceptively led purchasers, such as Plaintiffs and Class

   members, to      believe that the Occupant Safety Restraint Systems they had

   purchased as replacements and inside vehicles had been sold at legal competitive

   prices, when they had in fact been sold at collusively obtained inflated prices, that

   were passed on to them. (c) The conduct of the Defendants described herein
                                            219
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1838    Page 220 of 262



   constitutes consumer-oriented deceptive acts or practices within the meaning of

   N.Y. Gen. Bus. Law § 349, which resulted in injuries to purchasers and broad

   adverse impact on the public at large, and harmed the public interest of New York

   State in an honest marketplace in which economic activity is conducted in a

   competitive manner.

            (d) Because of Defendants' unlawful trade practices in the State of New

   York, New York purchasers who indirectly purchased Occupant Safety Restraint

   Systems were misled to believe that they were paying a fair price for Occupant

   Safety Restraint Systems or the price increases for Occupant Safety Restraint

   Systems were for valid business reasons; and similarly situated purchasers were

   potentially affected by Defendants' conspiracy.

            (e) Defendants’ unlawful conduct had the following effects: (1) Occupant

   Safety     Restraint Systems price competition was restrained, suppressed, and

   eliminated throughout New York; (2) Occupant Safety Restraint Systems prices

   were raised, fixed, maintained, and stabilized at artificially high levels throughout

   New York; (3) Plaintiffs and members of the Damages Class, who resided in

   and/or made purchases of vehicles or Occupant Safety Restraint Systems in New

   York, were deprived of free and open competition and were subject to

   Defendants’ deceptive practices in New York; and (4) Plaintiffs and members of

   the Damages       Class, who resided in and/or made purchases of vehicles and
                                           220
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                       PageID.1839    Page 221 of 262



   Occupant Safety Restraint Systems        in New York, paid supracompetitive,

   artificially inflated prices for Occupant Safety Restraint Systems and vehicles

   containing Occupant Safety Restraint Systems, and were subjected to Defendants’

   deceptive practices.

         (f) Defendants knew that their unlawful trade practices with respect to

   pricing Occupant Safety Restraint Systems would have an impact on all purchasers

   in New York and not just the Defendants' direct customers.

          (g) Defendants knew that their unlawful trade practices with respect to

   pricing Occupant Safety Restraint Systems would have a broad impact, causing

   class members who indirectly purchased Occupant Safety Restraint Systems to be

   injured by paying more for Occupant Safety Restraint Systems than they would

   have paid in the absence of Defendants' unlawful trade acts and practices.

          (h) During the Class Period, Defendants marketed, sold, or distributed

   Occupant Safety Restraint Systems in New York and their illegal conduct

   substantially affected New York commerce and New York purchasers.

         (i) During the Class Period, each of the Defendants named herein, directly,

   or indirectly and through affiliates they dominated and controlled manufactured,

   sold, and/or distributed Occupant Safety Restraint Systems in New York.

         (j) Plaintiffs and members of the Damages Class seek all relief available

   pursuant to N.Y. Gen. Bus. Law § 349(h).
                                           221
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1840    Page 222 of 262



          ANSWER: The allegations in Paragraph 306 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 306

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 306 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   306 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          307.      Defendants have engaged in unfair competition or unfair,

   unconscionable, or deceptive acts or practices in violation of North Carolina Gen.

   Stat. § 75-1.1, et seq.

          (a) Defendants agree to, and did in fact, act in restraint of trade or commerce

   by    affecting, fixing, controlling, and/or maintaining, at artificial and non-

   competitive levels, the prices at which Occupant Safety Restraint Systems were

   sold, distributed, or obtained in North Carolina and took efforts to conceal their

   agreements from Plaintiffs and members of the Damages Class.

          (b) The conduct of the Defendants described herein constitutes consumer-
                                            222
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1841    Page 223 of 262



   oriented deceptive acts or practices within the meaning of North Carolina law,

   which resulted in injuries to purchasers of Occupant Safety Restraint Systems and

   vehicles, and broad adverse impact on the public at large, and harmed the public

   interest of North Carolina purchasers in an honest marketplace in which economic

   activity is conducted in a competitive manner.

         (c) Defendants’ unlawful conduct had the following effects upon purchasers

   of Occupant Safety Restraint Systems in North Carolina: (1) Occupant Safety

   Restraint Systems price competition was restrained, suppressed, and eliminated

   throughout North Carolina; (2) Occupant Safety Restraint Systems prices were

   raised, fixed, maintained, and stabilized at artificially high levels throughout North

   Carolina; (3) Plaintiffs and members of the Damages Class, including those who

   resided in North Carolina and/or purchased Occupant Safety Restraint Systems or

   vehicles in North Carolina, were deprived of free and open competition including

   in North Carolina; and (4) Plaintiffs and members of the Damages Class, including

   those who resided in North Carolina and/or purchased Occupant Safety Restraint

   Systems or vehicles in North Carolina, paid supracompetitive, artificially inflated

   prices for Occupant Safety Restraint Systems and vehicles containing Occupant

   Safety Restraint Systems including in North Carolina.

         (d) During the Class Period, Defendants’ illegal conduct substantially

   affected North Carolina commerce and purchasers of Occupant Safety Restraint
                                            223
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1842    Page 224 of 262



   Systems and vehicles.        Defendants’ price-fixing conspiracy could not have

   succeeded absent deceptive conduct by Defendants to cover up their illegal acts.

   Secrecy was integral to the formation, implementation and maintenance of

   Defendants’ price-fixing conspiracy. Defendants committed inherently deceptive

   and self-concealing actions, of which Plaintiffs could not possibly have been

   aware. Moreover, Defendants deceptively concealed their unlawful activities by

   conducting meetings and conversations in secret. (e) During the Class Period, each

   of the Defendants named herein, directly, or indirectly and through affiliates they

   dominated and controlled, manufactured, marketed, sold and/or distributed

   Occupant Safety Restraint Systems in North Carolina.

         (f) Plaintiffs and members of the Damages Class seek actual damages for

   their injuries caused by these violations in an amount to be determined at trial and

   are threatened with further injury. Defendants have engaged in unfair competition

   or unfair or deceptive acts or practices in violation of North Carolina Gen. Stat. §

   75-1.1, et seq., and, accordingly, Plaintiffs and members of the Damages Class

   seek all relief available under that statute.

         ANSWER: The allegations in Paragraph 307 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 307
                                              224
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1843    Page 225 of 262



   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 307 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   307 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          308.      Defendants have engaged in unfair competition or unfair,

   unconscionable, or deceptive acts or practices in violation of South Carolina Unfair

   Trade Practices Act, S.C. Code Ann. §§ 39-5-10, et seq.

          (a) Defendants’ combinations or conspiracies had the following effects: (1)

   Occupant Safety Restraint Systems price competition was restrained, suppressed,

   and eliminated throughout South Carolina; (2) Occupant Safety Restraint Systems

   prices were raised, fixed, maintained, and stabilized at artificially high levels

   throughout South Carolina; (3) Plaintiffs and members of the Damages Class were

   deprived of free and open competition; and (4) Plaintiffs and members of the

   Damages Class paid supracompetitive, artificially inflated prices for Occupant

   Safety Restraint Systems and vehicles containing Occupant Safety Restraint

   Systems.

          (b) During the Class Period, Defendants’ illegal conduct had a substantial
                                            225
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1844    Page 226 of 262



   effect on South Carolina commerce.

          (c) As a direct and proximate result of Defendants’ unlawful conduct,

   Plaintiffs and members of the Damages Class have been injured in their business

   and property and are threatened with further injury.

          (d) Defendants have engaged in unfair competition or unfair or deceptive

   acts or practices in violation of S.C. Code Ann. §§ 39-5-10, et seq., and,

   accordingly, Plaintiffs and the members of the Damages Class seek all relief

   available under that statute.

          ANSWER: The allegations in Paragraph 308 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 308

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 308 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   308 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          309.      Defendants have engaged in unfair competition or unfair,
                                            226
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                           PageID.1845    Page 227 of 262



   unconscionable, or deceptive acts or practices in violation of 9 Vermont § 2451, et

   seq. (a) Defendants agreed to, and did in fact, act in restraint of trade or commerce

   in a     market that includes Vermont, by affecting, fixing, controlling, and/or

   maintaining, at artificial and non-competitive levels, the prices at which Occupant

   Safety Restraint Systems were sold, distributed, or obtained in Vermont.

            (b) Defendants deliberately failed to disclose material facts to Plaintiffs and

   members of the Damages Class concerning Defendants’ unlawful activities and

   artificially inflated prices for Occupant Safety Restraint Systems. Defendants owed

   a duty to disclose such facts, and Defendants breached that duty by their silence.

   Defendants misrepresented to all purchasers during the Class Period that

   Defendants’ Occupant Safety Restraint Systems prices were competitive and fair.

            (c) Defendants’ unlawful conduct had the following effects: (1) Occupant

   Safety     Restraint Systems price competition was restrained, suppressed, and

   eliminated throughout Vermont; (2) Occupant Safety Restraint Systems prices

   were raised, fixed, maintained, and stabilized at artificially high levels throughout

   Vermont; (3) Plaintiffs and members of the Damages Class were deprived of free

   and open competition; and (4) Plaintiffs and members of the Damages Class paid

   supra-competitive, artificially inflated prices for Occupant Safety           Restraint

   Systems and vehicles containing Occupant Safety Restraint Systems.

            (d) As a direct and proximate result of the Defendants’ violations of law,
                                              227
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1846    Page 228 of 262



   Plaintiffs and members of the Damages Class suffered an ascertainable loss of

   money or property as a result of Defendants’ use or employment of unconscionable

   and deceptive commercial practices as set forth above. That loss was caused by

   Defendants’ willful and deceptive conduct, as described herein.

         (e) Defendants’ deception, including their affirmative misrepresentations

   and omissions concerning the price of Occupant Safety Restraint Systems, likely

   misled all purchasers acting reasonably under the circumstances to believe that

   they were purchasing Occupant Safety Restraint Systems at prices set by a free and

   fair market. Defendants’ misleading conduct and unconscionable activities

   constitute unfair competition or unfair or deceptive acts or practices in violation of

   9 Vermont § 2451, et seq., and, accordingly, Plaintiffs and members of the

   Damages Class seek all relief available under that statute.

         ANSWER: The allegations in Paragraph 309 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 309

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 309 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph
                                            228
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                          PageID.1847    Page 229 of 262



   309 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          310.       Plaintiffs incorporate by reference the allegations in the preceding

   paragraphs.

          ANSWER: Takata incorporates by reference its responses set forth above

   and adopts the same as though fully set forth herein.



          311.      Plaintiffs bring this claim under the laws of all states listed in the

   Second and Third Claims, supra, except California. Plaintiffs also bring this claim

   under the laws of Missouri, Illinois, Massachusetts and South Carolina, on behalf

   of the Plaintiffs who have their primary places of business in those states and the

   class members in those states.

          ANSWER: Takata admits Plaintiffs purport to bring the claims as stated in

   Paragraph 311. Takata denies that this action is appropriate for class certification,

   and Takata therefore denies all allegations in Paragraph 311 regarding purported

   class members.      Takata denies the allegations in Paragraph 311 for lack of

   knowledge or information sufficient to form a belief as to their truth in all other

   respects.



                                            229
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1848    Page 230 of 262



          312.      As a result of their unlawful conduct described above, Defendants

   have and will continue to be unjustly enriched. Defendants have been unjustly

   enriched by the receipt of, at a minimum, unlawfully inflated prices and unlawful

   profits on sales of Occupant Safety Restraint Systems.

          ANSWER: The allegations in Paragraph 312 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 312 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   312 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          313.      Defendants have benefited from their unlawful acts and it would be

   inequitable for Defendants to be permitted to retain any of the ill-gotten gains

   resulting from the overpayments made by Plaintiffs or the members of the

   Damages Class for Occupant Safety Restraint Systems.

          ANSWER: The allegations in Paragraph 313 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate
                                            230
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1849    Page 231 of 262



   for class certification, and Takata therefore denies all allegations in Paragraph 313

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 313 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   313 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          314.      Plaintiffs and the members of the Damages Class are entitled to the

   amount of Defendants’ ill-gotten gains resulting from their unlawful, unjust, and

   inequitable conduct. Plaintiffs and the members of the Damages Class are entitled

   to the establishment of a constructive trust consisting of all ill-gotten gains from

   which Plaintiffs and the members of the Damages Class may make claims on a pro

   rata basis.

          ANSWER: The allegations in Paragraph 314 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 314

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in
                                            231
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1850    Page 232 of 262



   Paragraph 314 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   314 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.



          315.      Pursuit of any remedies against the firms from whom Plaintiffs and

   the Class members purchased vehicles containing Occupant Safety Restraint

   Systems and Occupant Safety Restraint Systems subject to Defendants’ conspiracy

   would have been futile, given that those firms did not take part in Defendants’

   conspiracy.

          ANSWER: The allegations in Paragraph 315 call for a legal conclusion to

   which no response is required, and on that basis Takata denies these allegations.

   To the extent any response is required, Takata denies that this action is appropriate

   for class certification, and Takata therefore denies all allegations in Paragraph 315

   regarding purported class members. Takata denies that it was involved in the

   conspiracy as alleged in Plaintiffs’ complaint and denies the allegations in

   Paragraph 315 to the extent they are directed at Takata or intended to reference

   actions taken by or on behalf of Takata. Takata denies the allegations in Paragraph

   315 for lack of knowledge or information sufficient to form a belief as to their truth

   in all other respects.
                                            232
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                          PageID.1851   Page 233 of 262




         To the extent any response to Plaintiffs’ “Prayer for Relief” is required,

   Takata denies all allegations of that section and specifically denies that Plaintiffs,

   or any other person, are entitled to any relief sought in the complaint or to any

   other relief sought in this action.

         Takata expressly denies all allegations, claims, and other statements

   contained in the complaint that are not specifically admitted herein and denies that

   Plaintiffs are entitled to any of the requested relief.



              AFFIRMATIVE AND OTHER DEFENSES TO
        DEALERSHIP SECOND CONSOLIDATED CLASS COMPLAINT

        Takata states the following affirmative and other defenses without assuming

   the burden of proof for such defenses that would otherwise rest on Plaintiffs:

                           FIRST AFFIRMATIVE DEFENSE

                                 (Failure to State a Claim)

         Plaintiffs’ claims and those of the putative class should be dismissed because

   the complaint fails to state facts sufficient to plausibly suggest the conspiracy it

   alleges and also because Plaintiffs fail to state a claim under the relevant laws upon

   which relief may be granted.




                                              233
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                          PageID.1852    Page 234 of 262




                          SECOND AFFIRMATIVE DEFENSE

                                      (Lack of Injury)

            Plaintiffs’ claims and those of the putative class should be dismissed because

   Plaintiffs and/or one or more members of the proposed class have suffered no

   injury or damages as a result of the matters alleged in the complaint.

                            THIRD AFFIRMATIVE DEFENSE

                                   (Statute of Limitations)

            Plaintiffs’ claims and those of the putative class should be dismissed to the

   extent that they are barred, in whole or in part, by the applicable statute(s) of

   limitations.

                          FOURTH AFFIRMATIVE DEFENSE

                               (No Fraudulent Concealment)

            Plaintiffs’ claims and those of the putative class should be dismissed to the

   extent that they are barred, in whole or in part, because Plaintiffs and/or one of

   more members of the proposed class may not rely upon the doctrine of fraudulent

   concealment as they cannot show concealment, actual and reasonable reliance on

   such affirmative acts of concealment, and/or due diligence in discovery of their

   claim.

                            FIFTH AFFIRMATIVE DEFENSE

                                    (No Antitrust Injury)
                                              234
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1853     Page 235 of 262



         Plaintiffs’ claims and those of the putative class should be dismissed because

   Plaintiffs and/or one or more members of the proposed class have not suffered

   actual, cognizable antitrust injury of the type antitrust laws are intended to remedy.

                          SIXTH AFFIRMATIVE DEFENSE

                                (Uncertainty of Damages)

         Plaintiffs’ claims and those of the putative class should be dismissed because

   the alleged damages sought are too speculative and uncertain, and because of the

   impossibility of the proof of these alleged damages, and because these alleged

   damages cannot be practicably ascertained or allocated.

                        SEVENTH AFFIRMATIVE DEFENSE

                               (Lack of Proximate Cause)

         Plaintiffs’ claims and those of the putative class should be dismissed to the

   extent that they are barred, in whole or in part, due to the absence of any injury or

   damage for which Takata’s actions, conduct, or omissions were the proximate

   cause, including, without limitation, damages suffered due to the acts or omissions

   of others.

                         EIGHTH AFFIRMATIVE DEFENSE

                               (Adequate Remedy at Law)

         Plaintiffs’ claims and those of the putative class for injunctive relief should

   be dismissed because Plaintiffs and/or one or more members of the proposed class
                                            235
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1854    Page 236 of 262



   have available an adequate remedy at law.

                           NINTH AFFIRMATIVE DEFENSE

                                        (Privilege)

         Plaintiffs’ claims and those of the putative class should be dismissed to the

   extent that they are barred, in whole or in part, because any action taken by or on

   behalf of Takata was justified, constituted bona fide business competition, and was

   taken in pursuit of its own legitimate business and economic interests, and is

   therefore privileged.

                           TENTH AFFIRMATIVE DEFENSE

                    (Lack of Standing to Sue for Injuries Alleged)

         Plaintiffs’ claims and those of the putative class should be dismissed, in

   whole or in part, to the extent Plaintiffs and/or one or more members of the

   proposed class lack standing to sue for the injuries alleged in the complaint.

                       ELEVENTH AFFIRMATIVE DEFENSE

                                   (Improper Joinder)

         Plaintiffs’ claims and those of the putative class are improperly joined within

   the meaning of Rule 20 of the Federal Rules of Civil Procedure because they did

   not arise out of the same transaction, occurrence or series of transactions or

   occurrences, and/or do not involve questions of law or fact common to all

   Defendants.
                                            236
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                           PageID.1855     Page 237 of 262




                        TWELFTH AFFIRMATIVE DEFENSE

                                       (Due Process)

         Plaintiffs’ claims and those of the putative class are barred in whole or in

   part because an award of treble damages or punitive or exemplary damages against

   Takata based on the alleged conduct would be excessive and, therefore, violate the

   Due Process Clauses of the Fifth and Fourteenth Amendments of the Constitution

   of the United States. In addition, to the extent Plaintiffs’ claims would result in

   Takata paying damages to more than one claimant for the same alleged overcharge,

   they are barred because such multiple liability would violate rights guaranteed to

   Takata by the United States Constitution, including, without limitation, rights

   guaranteed under the Due Process Clause of the Fourteenth Amendment.

                      THIRTEENTH AFFIRMATIVE DEFENSE

                                        (Ultra Vires)

         Plaintiffs’ claims and those of the putative class are barred to the extent that

   such conduct was committed by any individual acting ultra vires.

                     FOURTEENTH AFFIRMATIVE DEFENSE

                                    (Duty to Arbitrate)

         Plaintiffs’ claims and those of the putative class are barred, in whole or in

   part, to the extent that any Plaintiff has an agreement to arbitrate its claims.

                       FIFTEENTH AFFIRMATIVE DEFENSE
                                             237
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                             PageID.1856   Page 238 of 262




                              (Failure to Mitigate Damages)

         Without admitting liability, Plaintiffs and/or one or more of the members of

   the proposed class cannot recover damages, in whole or in part, because and to the

   extent of, their failure to mitigate their alleged damages.

                       SIXTEENTH AFFIRMATIVE DEFENSE

                               (Competition Not Harmed)

         Plaintiffs’ claims and those of the putative class should be dismissed to the

   extent that they are barred, in whole or in part, because Takata’s actions did not

   lessen competition in any relevant properly defined market.

                    SEVENTEENTH AFFIRMATIVE DEFENSE

                  (Intervening or Superseding Acts of Third Parties)

         The damages of Plaintiffs and/or one or more members of the proposed

   class, if any, resulted from the acts or omissions of third parties over whom Takata

   had no control or responsibility.       The acts of such third parties constitute

   intervening or superseding causes of harm, if any, suffered by Plaintiffs and/or one

   or more members of the proposed class.

                     EIGHTEENTH AFFIRMATIVE DEFENSE

                   (Injury or Damages Offset by Benefits Received)

         Plaintiffs’ claims and those of the putative class should be dismissed to the

   extent that they are barred, in whole or in part, because any claimed injury or
                                             238
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1857   Page 239 of 262



   damage has been offset by benefits received by Plaintiffs and/or one or more

   members of the proposed class with respect to the challenged conduct.

                      NINETEENTH AFFIRMATIVE DEFENSE

                                            (Set Off)

          Without admitting that Plaintiffs and/or one or members of the proposed

   class are entitled to recover damages in this matter, Takata is entitled to set off

   from any recovery Plaintiffs and/or one or more members of the proposed class

   may obtain against Takata any amount paid to Plaintiffs and/or one or more

   members of the proposed class by any other Defendants who have settled, or do

   settle, Plaintiffs’ claims in this matter.

                       TWENTIETH AFFIRMATIVE DEFENSE

                                    (Lack of Jurisdiction)

          Plaintiffs’ claims and those of the putative class should be dismissed to the

   extent that they are barred, in whole or in part, because any alleged conduct of

   Takata occurred outside of the jurisdiction of the Court. Among other things, the

   Court lacks subject matter jurisdiction because the claims relate to conduct outside

   the jurisdiction of the United States and individual states based on the application

   of the Foreign Trade Antitrust Improvement Act, comity and other principles of

   law.

                     TWENTY-FIRST AFFIRMATIVE DEFENSE
                                                239
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1858    Page 240 of 262




                     (Other Defenses Incorporated by Reference)

         Takata adopts and incorporates by reference any and all other additional or

   affirmative defenses asserted or to be asserted by any other Defendant in this

   proceeding to the extent that Takata may share in such affirmative defenses.

                   TWENTY-SECOND AFFIRMATIVE DEFENSE

                   (Failure to Meet Requirements for Class Action)

         Plaintiffs’ request for class certification is barred because Plaintiffs cannot

   meet the requirements for class certification under Fed. R. Civ. P. 23 and any

   applicable state laws.

                   TWENTY-THIRD AFFIRMATIVE DEFENSE

                                (Personal Jurisdiction)

         Takata asserts that, to the extent that Plaintiffs and/or one or more members

   of the proposed class seek to assert claims outside of the Eastern District of

   Michigan, such claims should be dismissed and barred for lack of personal

   jurisdiction.

                   TWENTY-FOURTH AFFIRMATIVE DEFENSE

                                        (Venue)

         Takata asserts that, to the extent that Plaintiffs and/or one or more members

   of the proposed class seek to assert claims outside of the Eastern District of

   Michigan, such claims should be dismissed and barred for improper venue.
                                           240
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1859    Page 241 of 262




                    TWENTY-FIFTH AFFIRMATIVE DEFENSE

                                 (Duplicative Recovery)

         Plaintiffs’ claims and those of the putative class should be dismissed to the

   extent that they are barred, in whole or in part, because they would constitute

   duplicative recovery.

                    TWENTY-SIXTH AFFIRMATIVE DEFENSE

                              (Indirect Purchasers Barred)

         Plaintiffs’ claims and those of the putative class are barred, in whole or in

   part, by the direct-purchaser requirement of Illinois Brick Co. v. Illinois, 431 U.S.

   720 (1977).

                 TWENTY-SEVENTH AFFIRMATIVE DEFENSE

                           (Commerce Clause/Constitutionality)

         Some or all of Plaintiffs’ claims and those of the putative class cannot be

   applied extraterritorially to conduct by Takata without violating the Commerce

   Clause and Takata’s due process rights and equal protection of laws guaranteed by

   the United States Constitution. Plaintiffs’ claims and those of the putative class are

   barred in whole or in part because an award of treble damages or punitive or

   exemplary damages against Takata based on the alleged conduct would be

   excessive and, therefore, violate the Due Process Clauses of the Fifth and

   Fourteenth Amendments of the Constitution of the United States. In addition, to
                                            241
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                          PageID.1860   Page 242 of 262



   the extent Plaintiffs’ and those of the putative class claims would result in Takata

   paying damages to more than one claimant for the same alleged overcharge, they

   are barred because such multiple liability would violate rights guaranteed to Takata

   by the United States Constitution, including, without limitation, rights guaranteed

   under the Due Process Clause of the Fourteenth Amendment.

                   TWENTY-EIGHTH AFFIRMATIVE DEFENSE

                     (Waiver, Estoppel, Good Faith, and/or Laches)

         Plaintiffs’ claims and those of the putative class should be dismissed to the

   extent that they are barred, in whole or in part, by the doctrines of waiver, good

   faith, unclean hands, failure to mitigate, estoppel, and/or laches.

                    TWENTY-NINTH AFFIRMATIVE DEFENSE

                                      (Failure to Join)

         Plaintiffs’ claims and those of the putative class are barred, in whole or in

   part, for failure to join indispensable parties.

                       THIRTIETH AFFIRMATIVE DEFENSE

                                     (Passed on Injury)

         Plaintiffs’ claims for damages and those of the putative class are barred, in

   whole or in part, to the extent that injury or damage alleged in the complaint was

   absorbed by, passed on to, or incurred by third parties, including direct or indirect

   purchasers of Occupant Safety Restraint System Products.
                                              242
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                          PageID.1861    Page 243 of 262




                     THIRTY-FIRST AFFIRMATIVE DEFENSE

                                 (Acts of Other Defendants)

         Plaintiffs’ claims and those of the putative class are barred, in whole or in

   part, because Takata is not liable for the acts of any other Defendant.

                   THIRTY-SECOND AFFIRMATIVE DEFENSE

                               (Insufficiently Alleged Market)

         Plaintiffs’ claims and those of the putative class are barred, in whole or in

   part, because the complaint has insufficiently alleged a product and geographic

   market, and is so vague and ambiguous as to deny Takata notice of the markets

   alleged by Plaintiffs.

                     THIRTY-THIRD AFFIRMATIVE DEFENSE

                            (Withdrawal from Alleged Conspiracy)

         Without admitting liability, Plaintiffs’ claims and those of the putative class

   are barred, in whole or in part, because to the extent that Takata is deemed to have

   joined any conspiracy alleged in the complaint, it withdrew from such conspiracy.

                   THIRTY-FOURTH AFFIRMATIVE DEFENSE

                                     (Duty to Minimize)

         Plaintiffs and/or one or more members of the proposed class had a duty to

   take reasonable action to minimize any damage, injury, or loss allegedly sustained

   as a result of the conduct alleged in the complaint, and they are barred from
                                            243
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1862   Page 244 of 262



   recovering any damages that might have been reasonably avoided.

                    THIRTY-FIFTH AFFIRMATIVE DEFENSE

                                  (Doctrine of Release)

         Plaintiffs’ claims and those of the putative class are barred, in whole or in

   part, by the doctrines of release and/or accord and satisfaction.

                    THIRTY-SIXTH AFFIRMATIVE DEFENSE

                                     (Settled Claims)

         The claims asserted in the complaint are barred to the extent that they have

   been settled, compromised, released, or otherwise discharged.

                  THIRTY-SEVENTH AFFIRMATIVE DEFENSE

                                  (Interstate Commerce)

         Plaintiffs’ claims and those of the putative class are barred, in whole or in

   part, to the extent that they are based on alleged acts, conduct, or statements that

   did not affect interstate commerce.

                   THIRTY-EIGHTH AFFIRMATIVE DEFENSE

                                     (Remote Injury)

         Plaintiffs’ claims and those of the putative class are barred, in whole or in

   part, because the alleged injury is indirect and too remote.

                    THIRTY-NINTH AFFIRMATIVE DEFENSE

                             (Independent Entities Market)
                                            244
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                          PageID.1863    Page 245 of 262



         To the extent any actionable conduct occurred, it occurred by entities

   independent from and not controlled by Takata.

                       FORTIETH AFFIRMATIVE DEFENSE

                                       (Injunction)

         Plaintiffs and/or one or more members of the proposed class have failed to

   state a claim for injunctive relief insofar as Plaintiffs seek to enjoin alleged events

   that already have transpired without the requisite showing of threatened harm or

   continuing harm.

                      FORTY-FIRST AFFIRMATIVE DEFENSE

                              (Acts or Omissions of Others)

         Any damages suffered by Plaintiffs and/or by one or more members of the

   proposed class were caused, in whole or in part, by the acts or omissions of persons

   or entities other than Takata, and Takata is entitled to a reduction of the damages,

   if any, to which it may be liable to the extent such damages were the result of the

   acts or omissions of persons or entities other than Takata.

                    FORTY-SECOND AFFIRMATIVE DEFENSE

                                         (Tolling)

         Plaintiffs’ claims and those of the putative class are barred because Plaintiffs

   cannot prove the requisite elements of fraudulent concealment, equitable estoppel,

   statutory tolling provisions, or any other theory under which Plaintiffs seek to toll
                                            245
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1864     Page 246 of 262



   the applicable statute of limitations.

                     FORTY-THIRD AFFIRMATIVE DEFENSE

                                       (Ratification)

         Plaintiffs’ claims and those of the putative class are barred, in whole or in

   part, by reason of Plaintiffs’ ratification of, acquiescence in, agreement with, or

   consent to Takata’s conduct, and/or by reason of same by one or more members of

   the proposed class.

                    FORTY-FOURTH AFFIRMATIVE DEFENSE

                           (Waiver to Seek Certain Remedies)

         Plaintiffs’ claims and those of the putative class are barred, in whole or in

   part, to the extent that they and/or one or more members of the proposed class have

   waived, under any applicable contract, their rights to seek certain remedies,

   including but not limited to, treble damages and attorneys’ fees.

                     FORTY-FIFTH AFFIRMATIVE DEFENSE

                                      (Unclean Hands)

         Plaintiffs’ claims and those of the putative class should be dismissed to the

   extent that they are barred, in whole or in part, by the doctrine of unclean hands.

                     FORTY-SIXTH AFFIRMATIVE DEFENSE

                                 (Reservation of Defenses)

         Takata has not knowingly or intentionally waived any applicable defenses,
                                            246
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                            PageID.1865     Page 247 of 262



   and it reserves the right to assert and rely upon other applicable defenses that may

   become available or apparent during discovery in this matter. Takata reserves the

   right to amend or seek to amend its Answer and/or affirmative defenses.

                     FORTY-SEVENTH AFFIRMATIVE DEFENSE

       (Failure to Plead Fraud and/or Fraudulent Concealment With Particularity)

           Plaintiffs have failed to allege fraud and/or fraudulent concealment with

   particularity.

                      FORTY-EIGHTH AFFIRMATIVE DEFENSE

                                     (Comparative Fault)

           Plaintiffs’ claims are barred, in whole or in part, to the extent the injuries

   alleged in the Complaint, the fact and extent of which are expressly denied by

   Takata, were directly and proximately caused by or contributed to by the

   statements, acts or omissions of third persons or entities unaffiliated with Takata.

                       FORTY-NINTH AFFIRMATIVE DEFENSE

                               (Failure To Exhaust Remedies)

           Plaintiffs’ claims for unjust enrichment are barred, in whole or in part,

   because Plaintiffs failed to exhaust all remedies against the parties with whom each

   plaintiff is in privity.

                          FIFTIETH AFFIRMATIVE DEFENSE

                                   (No Benefit Conferred)
                                               247
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1866        Page 248 of 262



         Plaintiffs’ claim for unjust enrichment is barred, in whole or in part, because

   Plaintiffs did not confer a benefit on Takata.

                       FIFTY-FIRST AFFIRMATIVE DEFENSE

                                (No Retention of Benefit)

         Plaintiffs’ claim for unjust enrichment is barred, in whole or in part, because

   Takata did not retain any benefit allegedly conferred on it by Plaintiffs.

                      FIFTY-SECOND AFFIRMATIVE DEFENSE

                            (No Unjust Retention of Benefit)

         Plaintiffs’ claim for unjust enrichment is barred, in whole or in part, because

   any alleged retention of a benefit conferred by Plaintiffs on Takata was not unjust.

                      FIFTY-THIRD AFFIRMATIVE DEFENSE

                              (Dependent on Other Flaws)

         Plaintiffs’ claim for unjust enrichment is barred, in whole or in part, because

   Plaintiffs’ claim is dependent on the allegations supporting their state law antitrust

   claims and thus suffers from the same flaws that preclude Plaintiffs from stating an

   antitrust claim.

                      FIFTY-FOURTH AFFIRMATIVE DEFENSE

                                       (No Privity)

         Plaintiffs’ claim for unjust enrichment is barred, in whole or in part, because

   Plaintiffs do not and cannot allege that privity exists between Plaintiffs and Takata.
                                            248
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1867    Page 249 of 262




                     FIFTY-FIFTH AFFIRMATIVE DEFENSE

                                (Adequate Remedy at Law)

         Plaintiffs’ claim for unjust enrichment is barred, in whole or in part, because

   to the extent that Plaintiffs succeed on their statutory claims, Plaintiffs have an

   adequate remedy at law.

                     FIFTY-SIXTH AFFIRMATIVE DEFENSE

                                  (Consideration Given)

         Plaintiffs’ claim for unjust enrichment is barred, in whole or in part, because

   Takata gave consideration.

                   FIFTY-SEVENTH AFFIRMATIVE DEFENSE

                                   (No Pass Through)

         Plaintiffs’ antitrust claims under the laws of California, New Mexico,

   Hawaii, the District of Columbia, and any other applicable state claims for any

   illegal overcharge are barred, in whole or in part, to the extent that such

   overcharge, the existence of which Takata expressly denies, was absorbed, in

   whole or in part, by others, and was not passed through to plaintiffs or passed on

   by plaintiffs to other parties, so as to avoid the duplication of recovery of

   compensatory damages.

                    FIFTY-EIGHTH AFFIRMATIVE DEFENSE

                  (Alleged Conduct Was Not Consumer-Oriented)
                                           249
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1868    Page 250 of 262



          Plaintiffs’ antitrust claim under the law of New York should be dismissed to

   the extent that it is barred, in whole or in part, because Defendants’ alleged

   conduct was not ‘consumer-oriented’ within the meaning of N.Y. Gen. Bus. Law. §

   349.

                     FIFTY-NINTH AFFIRMATIVE DEFENSE

                             (No Fraudulent Concealment)

   Plaintiffs’ antitrust claims under the laws of Iowa, Michigan, Minnesota,

   Mississippi, New Hampshire, North Carolina, North Dakota, South Dakota,

   Tennessee, and West Virginia and consumer protection claims under the laws of

   Arkansas and Florida, and any other applicable state claims should be dismissed to

   the extent that they are barred, in whole or in part, because plaintiffs may not rely

   upon the doctrine of fraudulent concealment as they cannot show concealment,

   actual and reasonable reliance on such affirmative acts of concealment, or due

   diligence in discovery of their claim.

                        SIXTIETH AFFIRMATIVE DEFENSE

                                 (Duplicative Recovery)

          Plaintiffs’ antitrust claims under the laws of Arizona, Minnesota, Wisconsin,

   and any other applicable state claims should be dismissed to the extent that they

   are barred, in whole or in part, because they would constitute duplicative recovery

   in violation of applicable law.
                                            250
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                          PageID.1869    Page 251 of 262




                      SIXTY-FIRST AFFIRMATIVE DEFENSE

                                  (No Actionable Conduct)

         Plaintiffs’ antitrust claim under Wisconsin law should be dismissed to the

   extent that it is barred, in whole or in part, because no actionable conduct occurred

   within the state of Wisconsin and no alleged conduct had a substantial effect on the

   people of Wisconsin.

                    SIXTY-SECOND AFFIRMATIVE DEFENSE

                                 (No Substantial Effects)

         Plaintiffs’ antitrust claims under the laws of North Carolina, Tennessee,

   Wisconsin, and any other applicable state claims should be dismissed to the extent

   that they are barred, in whole or in part, because the conduct complained of did not

   have a substantial effect commerce within those states.

                     SIXTY-THIRD AFFIRMATIVE DEFENSE

                          (No Effect on Minnesota Commerce)

         Plaintiffs’ antitrust claim under Minnesota law should be dismissed to the

   extent that it is barred, in whole or in part, by Minn. Stat. § 325D.54, as no contract

   combination or conspiracy was created, formed, or entered into within the state of

   Minnesota nor did any contract combination or conspiracy that was allegedly

   created, formed, or entered into elsewhere affect commerce within the state of

   Minnesota.
                                            251
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1870   Page 252 of 262




                     SIXTY-FOURTH AFFIRMATIVE DEFENSE

                                    (Acts Not Flagrant)

           Plaintiffs’ request for treble damages under the Arizona Antitrust Act,

   Arizona Revised Statutes, §§ 44-1401, et seq., is barred on the ground that the

   alleged violations of that act are not flagrant.

                      SIXTY-FIFTH AFFIRMATIVE DEFENSE

                                 (No Intrastate Commerce)

           Plaintiffs’ antitrust claims under the laws of California, Mississippi,

   Tennessee, and any other applicable state claims, should be dismissed because the

   claims do not involve intrastate commerce within those states as required by the

   applicable state statutes.

                      SIXTY-SIXTH AFFIRMATIVE DEFENSE

                                     (No Class Action)

           Plaintiffs’ antitrust claim under Mississippi and Illinois law, consumer

   protection claim under South Carolina law, and any other applicable state claims,

   should be dismissed because class actions are barred under the applicable state

   laws.

                    SIXTY-SEVENTH AFFIRMATIVE DEFENSE

                                (Indirect Purchasers Barred)

           Plaintiffs’ antitrust claims under New Hampshire law should be dismissed
                                              252
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1871    Page 253 of 262



   because plaintiffs are indirect purchasers and indirect purchaser antitrust claims are

   barred under New Hampshire law.

                    SIXTY-EIGHTH AFFIRMATIVE DEFENSE

                               (Damages Not Recoverable)

         Plaintiffs’ claims under the Florida Deceptive & Unfair Trade Practices Act

   are barred to the extent that Plaintiffs seek to recover punitive, special,

   consequential, statutory, nominal, or incidental damages.

                     SIXTY-NINTH AFFIRMATIVE DEFENSE

                              (Other Defenses Incorporated)

         Takata incorporates all affirmative defenses alleged for any and all claims

   that are the predicate claims for any unlawful conduct claim brought by Plaintiffs

   under California Business & Professions Code Section 17200, et seq.

                     SEVENTIETH AFFIRMATIVE DEFENSE

                                     (Not Deceptive)

         To the extent that Plaintiffs’ claim of a violation of California Business &

   Professions Code Sections 17200, et seq., is based on any allegedly fraudulent

   conduct, Plaintiffs’ claim is barred because the conduct was not likely to deceive

   and/or was mere puffing.

                   SEVENTY-FIRST AFFIRMATIVE DEFENSE

                                       (Federalism)
                                            253
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1872    Page 254 of 262



         Plaintiffs’ state-law claims and those of the putative class are barred, in

   whole or in part, by the principle of federalism.

                    SEVENTY-SECOND AFFIRMATIVE DENSE

                               (No Intrastate Commerce)

         Plaintiffs’ state-law claims and those of the putative class are barred, in

   whole or in part, because, to the extent the alleged, unlawful conduct occurred

   predominantly or entirely outside the state at issue and/or predominantly outside

   the United States, and did not involve intrastate commerce.

                   SEVENTY-THIRD AFFIRMATIVE DEFENSE

                      (No Effect on People or Commerce in State)

         Plaintiffs’ state-law claims and those of the putative class are barred, in

   whole or in part, because the alleged conduct did not substantially affect the people

   or commerce of the respective states at issue.

                  SEVENTY-FOURTH AFFIRMATIVE DEFENSE

                   (No Application of State Laws to Class-Actions)

         Some or all of the respective state laws at issue cannot be, and were not

   intended to be, applied in the class-action context.

                   SEVENTY-FIFTH AFFIRMATIVE DEFENSE

                                (Not Efficient Enforcers)

         Plaintiffs are not efficient enforcers of the antitrust laws and other laws at
                                            254
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                          PageID.1873    Page 255 of 262



   issue.

                     SEVENTY-SIXTH AFFIRMATIVE DEFENSE

                             (Lawful and Legitimate Business)

            Plaintiffs’ claims and those of the putative class are barred, in whole or in

   part, because any and all of Takata’s conduct challenged by Plaintiffs was lawful,

   justified and pro-competitive; constituted a bona fide business practice consistent

   with the industry carried out in furtherance of legitimate business interests; and

   was an essential part of Takata’s lawful business operations.

                   SEVENTY-SEVENTH AFFIRMATIVE DEFENSE

                                 (Not Consumer Oriented)

            Plaintiffs’ claims and those of the putative class are barred, in whole or in

   part, because Takata’s alleged conduct was not “consumer oriented.”

                    SEVENTY-EIGHTH AFFIRMATIVE DEFENSE

                                 (Benefits Outweigh Harm)

            Plaintiffs’ claims and those of the putative class are barred, in whole or in

   part, because the benefits of the alleged conduct outweigh any possible harm,

   including, without limitation, harm to competition.

                     SEVENTY-NINTH AFFIRMATIVE DEFENSE

                                 (Economic Loss Doctrine)

            Plaintiffs’ claims and those of the putative class are barred, in whole or in
                                             255
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1874    Page 256 of 262



   part, by the economic loss doctrine, because Plaintiffs did not suffer any personal

   injury or property damage.

                      EIGHTIETH AFFIRMATIVE DEFENSE

                  (Not for Personal, Family or Household Purposes)

         Plaintiffs’ claims under applicable state laws are barred, in whole or in part,

   because Plaintiffs did not purchase any relevant products primarily for personal,

   family or household purposes.

                    EIGHTY-FIRST AFFIRMATIVE DEFENSE

                              (No Private Right of Action)

         Some or all of Plaintiffs’ state-law claims are barred, in whole or in part,

   because there is no private right of action to bring such claims. For instance, and

   without limitation, there is no private right of action for injunctive relief arising

   under the Arkansas Deceptive Trade Practices Act.

                   EIGHTY-SECOND AFFIRMATIVE DEFENSE

                              (Failure to Define a Market)

         Plaintiffs and any putative class members are barred from recovery of any

   damages because the Complaint fails to allege sufficiently or properly define any

   market for the purpose of asserting a claim against Takata.

                    EIGHTY-THIRD AFFIRMATIVE DEFENSE

                                        (FTAIA)

                                           256
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                          PageID.1875   Page 257 of 262



         Plaintiffs’ claims are barred, in whole or in part, by the Foreign Trade

   Antitrust Improvements Act of 1982, 15 U.S.C. § 6a.

                   EIGHTY-FOURTH AFFIRMATIVE DEFENSE

                                      (Not Flagrant)

         Plaintiffs’ request for treble damages under the Michigan Antitrust Reform

   Act, MCL 445.771, et seq., is barred on the ground that the alleged violations of

   that Act are not flagrant.

                     EIGHTY-FIFTH AFFIRMATIVE DEFENSE

                                   (No Treble Damages)

         Plaintiffs’ claims under the Mississippi Antitrust Act for treble damages and

   attorneys’ fees are barred because treble damages and attorneys’ fees may not be

   recovered under said statute.

                     EIGHTY-SIXTH AFFIRMATIVE DEFENSE

                            (No Affirmative False Statements)

         Plaintiffs’ claims under the New Mexico Unfair Practices Act are barred

   because plaintiffs have not alleged that Takata made any affirmative false

   statements with regard to the costs or pricing of the parts at issue.

                  EIGHTY-SEVENTH AFFIRMATIVE DEFENSE

                          (Full and Adequate Remedy at Law)

         Plaintiffs cannot seek equitable relief under Nevada law, because such
                                             257
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                          PageID.1876     Page 258 of 262



   claims are barred, in whole or in part, to the extent that plaintiffs possess a full and

   adequate remedy at law.

                   EIGHTY-EIGHTH AFFIRMATIVE DEFENSE

                                    (Lack of Standing)

         Plaintiffs lack standing to assert antitrust claims under Hawaii and North

   Dakota law because no named plaintiff resides in those states.

                    EIGHTY-NINTH AFFIRMATIVE DEFENSE

                             (Plaintiffs Are Not Consumers)

         Plaintiffs may not maintain their consumer protection claim under District of

   Columbia law because they are not consumers.

                       NINETIETH AFFIRMATIVE DEFENSE

                                 (No Retroactive Claim)

         Plaintiffs’ antitrust claims under New Hampshire and Utah law fail, in whole

   or in part, because they may not assert damages for alleged conduct that pre-dates

   the enactment of the respective statutes.

                     NINETY-FIRST AFFIRMATIVE DEFENSE

                                 (Benefit of the Bargain)

         Plaintiffs’ claims and those of the putative class are barred in whole or in

   part because they accepted the benefit of the bargain.

                   NINETY-SECOND AFFIRMATIVE DEFENSE
                                               258
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1877    Page 259 of 262




                                   (Motion to Dismiss)

          Takata incorporates by reference any affirmative defenses to Plaintiffs’ state

   law claims that it made in Defendants’ Collective Motion to Dismiss End-Payors’

   Consolidated Amended Class Action Complaint and the Automobile Dealers’

   Consolidated Class Complaint (Oct. 21, 2013).

                     NINETY-THIRD AFFIRMATIVE DEFENSE

                              (Order on Motion to Dismiss)

          Plaintiffs’ claims are barred, in whole or in part, to the extent they are

   inconsistent with Judge Battani’s Opinion and Order Granting in Part and Denying

   in Part Defendants’ Collective Motion to Dismiss Indirect Purchaser Actions (Sept.

   25, 2014).

                    NINETY-FOURTH AFFIRMATIVE DEFENSE

                               (No Harm to Competition)

          Plaintiffs’ claims and those of the putative class are barred, in whole or in

   part, because the alleged conduct did not cause harm to competition with respect to

   the Plaintiffs’ class.



                                  PRAYER FOR RELIEF

   WHEREFORE, Takata prays as follows:

          1.     That this suit be determined unable to be maintained as a class action;
                                            259
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                         PageID.1878      Page 260 of 262



          2.      That this action be dismissed with prejudice and that Plaintiffs take

   nothing by their complaint;

          3.      That judgment be entered in favor of Takata and against Plaintiffs

   with respect to the causes of action asserted in the complaint;

          4.     That Plaintiffs take nothing by the complaint;

          5.      That the Court award Takata reasonable costs and expenses,

   including, but not limited to, attorneys’ fees and costs of defense; and

          6.     That the Court award such other relief as may be appropriate.




                                    JURY DEMAND

          Takata admits that Plaintiffs purport to request a trial by jury for all of the

   claims asserted in the complaint so triable. Pursuant to the Seventh Amendment

   and Rule 38(b) of the Federal Rules of Civil Procedure, Takata demands a trial by

   jury of all issues so triable.

   Dated: December 22, 2014                Respectfully submitted,


                                            By: /s/ Robert J. Wierenga
                                            Robert J. Wierenga (P59785)
                                            Suzanne L. Wahl (P71364)
                                            Schiff Hardin LLP
                                            340 S. Main Street, Suite 210
                                            Ann Arbor, MI 48104
                                            260
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                   PageID.1879   Page 261 of 262



                                       734-222-1500
                                       Fax: 734-222-1501
                                       rwierenga@schiffhardin.com
                                       swahl@schiffhardin.com

                                       David M. Zinn
                                       John E. Schmidtlein
                                       Samuel Bryant Davidoff
                                       Williams & Connolly LLP
                                       725 Twelfth Street, N.W. Washington, DC
                                       20005
                                        202-434-5000
                                       Fax: 202-434-5029
                                       dzinn@wc.com
                                       jschmidtlein@wc.com 
                                       sdavidoff@wc.com

                                       Counsel for Defendants Takata
                                       Corporation and TK Holdings Inc.




                                       261
    
     2:12-cv-00602-MOB-MKM ECF No. 88 filed 12/22/14
Case                                                        PageID.1880    Page 262 of 262




                            CERTIFICATE OF SERVICE

   I hereby certify that on December 22, 2014 a copy of the foregoing was filed with

   the Court using the ECF system which will send notification of such filing to all

   attorneys of record.




                                             By: /s/ Robert W. Wierenga

                                             Robert W. Wierenga




                                           262
    
